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                                                         May 29, 2019
  Via ECF
  The Honorable Colleen McMahon
  United States District Court
  Southern District of New York
  500 Pearl Street, Room 2550
  New York, New York 10007

  RE:      In re Namenda Direct Purchaser Antitrust Litig., No. 15-cv-07488-CM-RWL
  Dear Judge McMahon,
          The only rationalization Forest’s counsel has offered for waiting five months to disclose
  the DRL Memo is that “at the time the parties were working toward court ordered mediation.”
  Reply Mem. in Supp. of Forest’s Mot. to Supplement, ECF No. 717 at 3. Not only does this
  explanation make no sense – e.g., Forest claims the DRL Memo enhances its litigation position,
  and collaterally its negotiating leverage – but it implicitly admits an even more egregious act of
  concealment. Forest’s counsel has conceded that they formulated a plan to use the DRL Memo
  before the March 6, 2019 mediation. Therefore, Forest’s counsel knew before the March 15,
  2019 status conference with this Court to set the trial schedule that they were contemplating
  supplementing Forest’s expert reports, which Forest’s counsel concedes will require additional
  discovery under any scenario. ECF No. 717 at 9. Yet, Forest’s counsel said nothing about the
  DRL Memo or their intention to petition this Court to supplement expert reports at the March
  15th status conference.
          Moreover, this Court was clear in its March 14, 2019 Order concerning the Direct
  Purchaser Plaintiffs’ (“DPPs”) motion to bind Forest to its privilege election (“Election”) that it
  would not tolerate the use of evidence at trial that had been withheld in discovery on privilege
  grounds. ECF No. 684. Forest’s Election expressly states that Forest does not “intend to
  affirmatively rely on its subjective beliefs to rebut any argument that [] its position in the patent
  case was weak.” ECF No. 714-1 at 5. In strict compliance with its Election, Forest steadfastly
  refused to provide discovery on that subject. Yet, at the March 15th status conference, Forest’s
  counsel seemed to disingenuously argue that Judge Francis’s Sept. 25, 2017 Order (ECF No.
  394) requiring Forest to produce five documents over which Forest’s Election expressly waived
  privilege, and which are wholly unrelated to patent merits, meant that Forest can now offer its
  purported subjective patent views concerning its patent, the patent suit and whether the patent
  strength dictated the generic entry date in its patent settlements. Tr. 7:9-16 (Mar. 15, 2019), ECF
  No. 689. That is nonsensical as demonstrated below. See also Pls.’ Opp’n to Defs.’ Mot. to
  Supplement at 3-5 (detailing Judge Francis’s privilege determinations). But most tellingly, and
  as mentioned above, at no point during the March 15th conference did Forest’s counsel suggest
  that Forest would seek to buttress the evidence of its subjective beliefs regarding patent strength
  with new expert opinion grounded on the DRL Memo, even though it already determined it
  would. Forest’s counsel deliberately concealed this strategy from the Court and DPPs.
        Forest’s disingenuousness is further apparent in its Mem. in Supp. of its Mot. to
Supplement its Expert Reports. There, Forest states that the DRL Memo “provides direct
evidence of the generic challengers’ views of the patent case,” and that it “show[s] that the generics
(like Forest) believed that the Markman doomed the patent challenge.” ECF No. 695 at 1, 7
(emphases added). DPPs’ Opp’n showed that this intended use violates the Election’s commitment
not to “rely on its subjective beliefs to rebut any argument that [] its position in the patent case
was weak,” and that Forest withheld its subjective patent views during discovery. ECF No. 713
at 1, 3-7. In its Reply, Forest tried to deny that it was using the DRL Memo as a proxy for its
and the generics’ subjective views of patent strength, and claiming instead that its use is solely to
support a purported objective analysis of what a reasonable litigant would have believed:
       2. There is No Risk of Unfair Prejudice Because Forest’s Experts Do Not
       Opine That the DRL Memo Reflects the Views of All Generics or of Forest.
       ...
       But these assertions – that Forest is somehow using the DRL Document to show
       what Forest and all of the other generics believed – are based on DPPs’ creative
       interpretation of a single sentence from Forest’s brief.
       ...
       [N]either Judge McKelvie nor Dr. Fowdur take the position that DRL’s
       assessments are the views of the other generic challengers or Forest[.]
ECF No. 717 at 6 (emphasis in original). This is another blatant misrepresentation. Dr.
Fowdur’s proposed supplement expressly states:
       The newly available Dr. Reddy’s document supports the view of Forest
       executives that the claim construction ruling made it highly likely that Forest
       would prevail in the patent litigation.
       ...
       The Dr. Reddy’s document also mirrors the view of Forest executives that the
       2009 Markman ruling was highly favorable to Forest.
ECF no. 696-7 at ¶¶ 5, 9 (emphases added).
        Dr. Fowdur provides no citation, but the only “Forest executives” who testified to their
alleged subjective beliefs that Forest had a strong patent, was likely to win, and thus would not
agree to earlier generic entry, were Charles Ryan and David Solomon. DPPs have separately
contested the admissibility of this testimony as contrary to the Election. See Pls’ Mot. in Limine
No. 1 at 13-16, ECF No. 739. The circumstances of this testimony are also highly suspect.
         As mentioned, Judge Francis required Forest to elect and identify for which state-of-mind
defenses it would waive or assert privilege. Order at 14-15 (ECF No. 249) (May 19, 2017).
Forest expressly waived privilege over the Lexapro Amendment’s “independence from the then-
pending litigation[] and respective settlement agreement[],” and whether “the Namenda IR patent
litigation settlement agreements provided the generic competitors any consideration beyond the
express terms of each of the final agreements.” Election at §§ A, C, ECF No. 714-1 at 4-5. Thus,
Judge Francis ruled that Forest had to produce five documents that “appear to link the Namenda
settlement[] with the side agreement[] with Mylan . . .” Order at 1 (Sept. 25, 2017), ECF No.
394. Critically, those documents are silent on patent strength or how it affected Forest’s
negotiating posture vis-a-vis Mylan as to Mylan’s entry date. But they are quite illuminating in
linking the consideration that Mylan received through the Lexapro Amendment to the settlement
                                                  2
of the Namenda patent litigation. See ECF No. 761-11 - 761-16.
        Forest then provided two post-discovery 1-hour 30(b)(6) depositions of Dr. Ryan and Mr.
Solomon limited to subsets of the five documents. During these depositions, Forest’s executives
gratuitously, for the first time, and not in response to DPPs’ wholly unrelated questions, asserted
their subjective beliefs that Forest’s patent was strong and that as a result, Forest allegedly would
not have agreed to earlier generic entry. See Pls’ Mot. in Limine No. 1 at 13-16, ECF No. 739.
        Here is Forest’s game in a nutshell: First, recognizing the implications of its decision to
preclude discovery concerning patent strength, Forest reversed course post-discovery after Judge
Francis ordered the production of damning documents establishing a link between the Lexapro
Amendment and Mylan’s Namenda patent settlement. It had its two designated witnesses testify
to Forest’s alleged subjective views of the patent – a subject over which Forest elected not to
waive the attorney-client privilege and repeatedly blocked discovery. Id. at 5-13. Then Forest
apparently arranged with DRL, its co-defendant in the EPP case and with whom it is now firmly
aligned in that case, to selectively disclose a single document, the DRL Memo, allegedly
showing DRL’s subjective views of the DRL patent case that DRL previously blocked Forest
and DPPs from discovering in the DPP case. See Pls.’ Opp. to Defs.’ Mot. to Supplement at 6,
ECF No. 713. Finally, Forest now attempts to use the DRL Memo as a pretext for its experts to
validate its executives’ purported subjective patent views, despite its commitment via the
Election not to disclose these subjective views as part of its defense. Despite its obvious
departure from its Election, Forest inexplicably has not revised its privilege log or produced any
of the hundreds or thousands of documents that would have to be produced if Forest were
permitted to change its Election because they are subject to the continuing production obligations
of Fed. R. Civ. P. 26(e). This deceitful gambit should not be countenanced.
        Further, contrary to Forest’s casual suggestion that the DRL Memo is probative in the
DPP action, it has at best de minimis relevance, but is highly prejudicial. Pls.’ Opp’n to Defs.’
Mot. to Supplement describes how the DRL Memo is not probative of either Forest’s or Mylan’s
subjective beliefs, and thus the inappropriateness of using it to bolster the testimony of Dr. Ryan
and Mr. Solomon as to Forest’s alleged subjective views of the patent strength. ECF No. 713 at
11-17. As mentioned supra, Dr. Fowdur’s proposed supplement flatly contradicts the claim in
Forest’s Reply that Forest is not trying to use the DRL Memo or the proposed supplemental
expert reports to demonstrate Forest’s subjective patent views. As to Forest’s other stated
purpose for the DRL Memo – to support its experts’ opinions on what a reasonable patent litigant
would have believed – the DRL Memo reflects the opinion of an unknown author, on an
unknown date, of at best one generic that settled with Forest in the middle-of-the-pack of 14 first
filers. Unlike the DPPs, the EPPs named the bulk of the generics as defendants, and our
understanding is that EPPs intend to prove that each agreement is an Actavis violation. Forest is
aligned with those defendants in the EPP case as jointly and severally liable co-conspirators,
with a common interest in having one generic (DRL) waive privilege and reveal evidence helpful
to them, while simultaneously having the other generics maintain privilege to conceal any
evidence to the contrary. Throughout discovery in the DPP case, those same generics, including
DRL, steadfastly asserted privilege on patent and settlement views (copious examples are
available at the Court’s request). Without full discovery of these generics, including DRL, DPPs
cannot determine whether the DRL Memo is truly representative of all generics’ patent and
settlement views or merely an outlier. Although Forest’s Reply Br. in Supp. of its Mot. to
Supplement suggests that this plain prejudice goes to the weight of the evidence (ECF No. 717 at
                                                  3
5, 8), it actually goes to the very reliability of the DRL Memo for the use that Forest intends.
        Forest has argued that any prejudice could be cured with limited discovery. DPPs beg to
differ. Forest’s proposal would prejudicially deprive DPPs of contextual evidence and evidence
potentially at odds with Forest’s assertions. Forest’s privilege log has more than 15,000 entries.
If Forest waived privilege beyond the explicit waivers in its Election, and is now made to
produce all the material it should have produced had it timely elected to argue its subjective
patent views, then DPPs would require massive new discovery. A special master would be
required to review at least 1,891 patent-related documents. See Exs. 1, 2 hereto (796 highly
likely, 1,095 likely). Motions to compel, and do-overs of many depositions and expert reports
would follow. And if the Court determines that the DRL Memo is even relevant despite its
silence as to Forest’s and Mylan’s state of mind, and despite Mylan’s vastly different negotiating
leverage and patent defenses (ECF No. 713 at 11-17), DPPs would need discovery from DRL in
light of its subject matter waiver (id. at 8-9), and possibly from the other similarly-situated
generics if they now want to waive the privilege as to their subjective views of the patent case.
        But it should not come to that. We urge that there is a better way forward – the way
Judge Francis mandated. Bilzerian and its progeny hold that a litigant cannot put its state of
mind at issue when it has withheld evidence of its state of mind from its adversary. United
States v. Bilzerian, 926 F.2d 1285, 1293 (2d Cir. 1991) (“Because defendant did not testify as to
his good faith, the privileged communications were not introduced at trial.”); id. (“. . . courts
cannot sanction the use of the privilege to prevent effective cross-examination on matters
reasonably related to those introduced in direct examination.”). The Bilzerian line of cases holds
that the cure for a late change in privilege tactics is preclusion, not more discovery. As Judge
Wood explained in a similar procedural context:
       Defendants argue that Plaintiffs’ motion in limine is “no more than a disguised
       and untimely motion to compel.” [] This argument can be rejected outright . . .
       Plaintiffs are not seeking privileged communications; rather they are seeking to
       preclude argument and testimony where Defendants have already blocked inquiry
       on the basis of privilege. In any event, a motion to compel is not a prerequisite to
       invoking the Bilzerian rule. Rather, Bilzerian provides that a party who intends to
       rely at trial on a good faith defense must make a full disclosure during discovery;
       failure to do so constitutes a waiver of that defense.
Arista Records LLC v. Lime Grp. LLC, 2011 U.S. Dist. LEXIS 42881, at *9 (S.D.N.Y. Apr. 14,
2011) (quotations omitted). Here, additional discovery cannot cure the harm unless the Court
can compel all generic defendants in the EPP case to waive privilege. And even if it could,
further discovery will only unduly delay the trial set for Oct. 21, 2019. Forest should be held to
its Election and the case should proceed to trial as scheduled. Based on this same rationale, DRL
should be held to the privilege objections that it asserted in this case and should not be allowed to
insert the DRL Memo, by and through Forest as its proxy, into this case.

                                                      Respectfully,

                                                      /s/ Bruce E. Gerstein

                                                      Bruce E. Gerstein

                                                 4
                                        Exhibit 1




LEGEND:

There are 15,481 documents responsive to Direct Purchaser Plaintiffs’ (“DPP”) requests for
production, but withheld from production, on Forest’s privilege log. On March 14, 2019,
Plaintiffs filed their motion to enforce Forest’s election not to waive privilege. Exhibit 10 to that
motion was a text-based search of Forest’s privilege log for documents potentially addressing
Forest’s subjective beliefs regarding the strength or weakness of its patent or patent litigation.
ECF No. 686-10. See also Pls.’ Motion in Limine No. 1, Ex. 10, ECF No. 761-10. That search
yielded roughly 6,000 hits. Since then, Plaintiffs have attempted to further narrow the field of
documents likely to contain Forest’s withheld subjective views regarding patent strength or
weakness. DPPs’ two searches appended here reflect that attempt.

First, DPPs narrowed the date range search of the privilege log from a time shortly before
generic drug companies were first entitled to file Paragraph IV certifications for the Namenda IR
NDA (i.e., October 16, 2007) until the time when Mylan’s stipulation of dismissal was filed in
the patent court (i.e., August 26, 2010). This yielded 3,818 hits. Second, through a review of the
3,818 document titles, authors and recipients, DPPs identified 1,927 documents that seemed less
likely to contain useful information. These documents were removed from the list. Of the
remaining 1,891 documents, DPPs divvied them into two sets: 796 documents that seemed
highly likely to contain useful information (this Exhibit 1) and 1,095 documents that are likely
(albeit less so) to contain useful information (Exhibit 2 hereto).

DPPs’ attempt to identify documents that would serve as a starting point for in camera review
should not be interpreted as waiving any right to in camera review with respect to other
documents. For example, DPPs’ identification is based on document titles provided by Forest
and do not necessarily reflect all of the issues addressed in a particular document. As another
example, it is possible that documents dated well after the Mylan settlement and stipulation of
dismissal are retrospective and reflect Forest’s subjective beliefs at the time of the settlement.
Accordingly, if the Court orders a reopening of discovery, DPPs reserve the right to identify
additional documents for in camera review.
                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date               Author                                All Recipients
                                                                                           charles triano, david solomon, debra marchese, elaine
1     ANDA Challenges for Memantine              10/15/2007     charles ryan               hochberg, frank perier, herschel weinstein, howard
                                                                                           solomon, ivan gergel, lawrence olanoff, william meury
      Namenda Pre-Litigation
2                                                10/15/2007     IT
      Timeline_(12155819_1) (2).DOC
      Namenda Pre-Litigation
3                                                10/15/2007     IT
      Timeline_(12155819_1).DOC
      FW: Namenda Preliminary Assessment
4                                                10/15/2007     charles ryan               eric agovino
      and Action List
5     FW: Namenda Pre-Litigation Timeline        10/15/2007     charles ryan               eric agovino
                                                                                           charles triano, david solomon, debra marchese, elaine
6     ANDA Challenges for Memantine              10/15/2007     charles ryan               hochberg, frank perier, herschel weinstein, howard
                                                                                           solomon, ivan gergel, lawrence olanoff, william meury
      Namenda Pre-Litigation
7                                                10/15/2007     IT
      Timeline_(12155819_1) (2).DOC
      FW: Namenda Preliminary Assessment
8                                                10/15/2007     charles ryan               eric agovino
      and Action List
      Namenda Pre-Litigation Assessment of
9     Possible Arguments and                     10/15/2007     IT
      Responses_(12155822_1).DOC
      Namenda Pre-Litigation Assessment of
10    Possible Arguments and                     10/15/2007     IT
      Responses_(12155822_1).DOC
      Namenda Pre-Litigation Assessment of
11    Possible Arguments and                     10/15/2007     IT
      Responses_(12155822_1).DOC
12    FW: ANDA Challenges for Memantine          10/18/2007     charles ryan               eric agovino
      Namenda Pre-Litigation
13                                               10/18/2007     IT
      Timeline_(12155819_1) (2).DOC
14    10-19-07 Para IV Memo-Final.doc            10/19/2007     lz
15    10-19-07 Para IV Memo - FINAL.pdf          10/22/2007     lzamot
16    Namenda Nullity Proceeding                  11/9/2007     gerald flattmann           lauren d'antuono


                                                                       1
                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                  Document Date               Author                               All Recipients
17    Namenda Nullity Proceeding                    11/9/2007     gerald flattmann          lauren d'antuono
      2007-09-04 Namenda Status
18                                                 11/30/2007     no Author
      Presentation.pdf
      2007-08-07 Letter from Sage to Wolff re
      Enclosed CDs Pertinent to Ã¢â‚¬Ëœ703,
19                                                  12/3/2007     no Author
      Ã¢â‚¬Ëœ059, and Application for
      Ã¢â‚¬Ëœ173 A2.pdf
      2007-11-02 Email from Jochum (Merz)
      to JonesDay, Kirkland of English Trans of
20                                                  12/3/2007     no Author
      MerzÃ¢â‚¬â„¢ Reply in the German
      Nullity Action.pdf
      2007-10-25 Email from Sage to Kirkland,
      Merz, Jones Day, Forest re Reception of
21                                                  12/3/2007     no Author
      ActavisÃ¢â‚¬â„¢ Paragraph IV
      Certification.pdf
      2007-08-22 Email from Sage to
      Flattmann re CMCC Additional
22                                                  12/3/2007     no Author
      Information Request and Common Legal
      Interest Agreement.pdf
23    12-7-07 Para IV Memo-Final.doc                12/7/2007     no Author
      Fw: 2007-12-06 Email from Agovino
      (Forest Labs) to Flattman, Cerrito (JD),
      Jochum (Merz) and Ryan (Forest Labs)
                                                                                            christopher meatto, joseph cali, steven wattenberg,
24    attaching 2007-12-05 Letter from              12/7/2007     wayne leblanc
                                                                                            wayne leblanc
      Rakoczy (Cobalt) to Merz and Forest
      Labs: Cobalt's Paragraph IV Notice letter
      (5 mg and 10 mg).
25    FW: Namenda Presentation (Final)              12/8/2007     eric agovino              michael ciraolo
                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito,
26    Fw: Namenda Presentation (Final)              12/8/2007     gerald flattmann
                                                                                            patrick jochum
      12_12_07 Client
27                                                  12/8/2007     installer
      Presentation_(12256742_8).PPT


                                                                         2
                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients
28    Re: Art cited by Orchid                     12/14/2007     andres sawicki             wayne leblanc
      Fw: Para IV Notification by Upsher-Smith
29                                                12/14/2007     gerald flattmann           wayne leblanc
      Laboratories
30    Fw: neuraxpharm Nullity Action              12/17/2007     gerald flattmann           wayne leblanc
      Nullity Action of neuraxpharm
31                                                12/17/2007     no Author
      _Briefs.pdf
32    Re: Reference Pull Request                  12/17/2007     john fitzgerald            #ny library services, christopher meatto, wayne leblanc
      Re: Reference Pull Request - some
33                                                12/17/2007     john fitzgerald            christopher meatto, wayne leblanc
      references are attached
      Rothman SM Trends in Neurosci 1987
34    Excitotoxicity and the MNDA                 12/17/2007     no Author
      receptor.pdf
      Stedmans Med Dict 26th ed 1995 p
35                                                12/17/2007     no Author
      894.pdf
36    CPY Document Subject                        12/17/2007     CPY Document Author
      Fleischacker WW Prog Neuro-
37    psychopharm Bio Psych 1986                  12/17/2007     no Author
      Memantine in the treatment 1986.pdf
      2007-12-19 Email w Attach from Jochum
      (Merz) to Flattmann (KE) re Summary of
38                                                12/19/2007     no Author
      Oral Hearing in the German Nullity
      Proceedings.pdf
      Fw: From Charles Ryan - Memantine
39                                                12/19/2007     gerald flattmann           wayne leblanc
      Para IV letters 2 of 2
      Fw: Summary of oral hearing in the
40                                                12/19/2007     gerald flattmann           wayne leblanc
      german nullity proceedings
      Summary of GenPharm and Mylan Para
41                                                12/19/2007     IT
      IV arguments.doc_(12310434_1).DOC
      Summary of Ranbaxy Para IV
42                                                12/19/2007     IT
      arguments_(12310466_1).DOC


                                                                        3
                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date               Author                                 All Recipients
      Summary of Lupin Para IV
43                                               12/19/2007     IT
      arguments_(12310586_1).DOC
      Summary of Upsher-Smith Para IV
44                                               12/19/2007     IT
      arguments.doc_(12309658_1).DOC
45    Fw: Para IV by Ranbaxy                     12/19/2007     wayne leblanc              wayne leblanc
      Fw: Summary of oral hearing in the
46                                               12/19/2007     wayne leblanc              wayne leblanc
      german nullity proceedings
      Summary of Ranbaxy Para IV
47                                               12/20/2007     IT
      arguments_(12310466_1).DOC
      Summary of Upsher-Smith Para IV
48                                               12/20/2007     IT
      arguments.doc_(12309658_1).DOC
      Summary of Lupin Para IV
49                                               12/20/2007     IT
      arguments_(12310586_1).DOC
      Summary of GenPharm and Mylan Para
50                                               12/20/2007     IT
      IV arguments.doc_(12310434_1).DOC
                                                                                           charles ryan, eric agovino, eric stops, f. dominic cerrito,
51    Namenda Notification Summaries             12/20/2007     gerald flattmann
                                                                                           melanie rupert, patrick jochum
      Summary of GenPharm and Mylan Para
52                                               12/20/2007     IT
      IV arguments.doc_(12310434_1).DOC
      Summary of Ranbaxy Para IV
53                                               12/20/2007     IT
      arguments_(12310466_1).DOC
      Summary of Lupin Para IV
54                                               12/20/2007     IT
      arguments_(12310586_1).DOC
      Summary of Upsher-Smith Para IV
55                                               12/20/2007     IT
      arguments.doc_(12309658_1).DOC
      Pragraph IV Notices - Master
56                                               12/21/2007     IT
      Summary_(12314652_1).DOC
      Pragraph IV Notices - Master
57                                               12/21/2007     IT
      Summary_(12314652_1).DOC




                                                                       4
                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                 All Recipients
      Pragraph IV Notices - Master
58                                                12/22/2007     IT
      Summary_(12314652_1).DOC
59    12-11-07 Para IV Memo-Final.doc              1/2/2008      no Author
      Paragraph IV Notices - Master
60                                                 1/2/2008      IT
      Summary.DOC
      RE: Board Meeting for Forest
61                                                 2/8/2008      eric agovino               charles ryan
      Laboratories Holdings Limited
                                                                                            charles ryan, debra marchese, elaine hochberg, erica
      FW: Collaboration with Forest on
62                                                 2/12/2008     david solomon              boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                            jackson, shashank mahashabde, william meury
      Forest-Merz meeting 2-22-08
63                                                 2/12/2008     Registered User
      (DRAFT).ppt
                                                                                            david solomon, debra marchese, elaine hochberg, erica
      RE: Collaboration with Forest on
64                                                 2/12/2008     charles ryan               boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                            jackson, shashank mahashabde, william meury
65    Fw: Namenda                                  2/13/2008     gerald flattmann           charles ryan
      Forest-Merz meeting 2-22-08
66                                                 2/14/2008     Registered User
      (DRAFT).ppt
                                                                                            charles ryan, eric agovino, f. dominic cerrito, gerald
67    Namenda: Proposed Settlements                2/18/2008     melanie rupert
                                                                                            flattmann, patrick jochum
      2_22_08 Namenda Client
68                                                 2/20/2008     Registered User
      Presentation_(12438520_7).PPT
                                                                                            charles ryan, eric agovino, gerald flattmann, patrick
69    Namenda Power Point Presentation             2/21/2008     melanie rupert
                                                                                            jochum
70    FW: Namenda Client Presentation              2/21/2008     eric agovino               christopher kibler
71    RE: Today's Legal Core Team Meeting          2/25/2008     eric agovino               charles ryan, darcelle gleason, peter venaglia
72    Memantine MR meeting (3-7-08).ppt            3/5/2008      Registered User
73    RE: MR meeting on Friday                     3/6/2008      eric agovino               charles ryan, debra marchese, rajiv janjikhel
                                                                                            charles ryan, daniel malone, eric agovino, eric stops, f.
      Fw: Ranbaxy's Revisions to Namenda
74                                                 3/28/2008     melanie rupert             dominic cerrito, gerald flattmann, jack b.blumenfeld,
      Settlement Proposal
                                                                                            maryellen noreika, patrick jochum


                                                                        5
                        Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                 Document Date              Author                                 All Recipients
                                                                                             charles ryan, eric agovino, f. dominic cerrito, gerald
75    Re: Ranbaxy Settlement Status                 4/1/2008      melanie rupert
                                                                                             flattmann, patrick jochum
      40844-25 Namenda --Fw: Forest
      Laboratories Inc. et al v. Cobalt
76                                                  4/8/2008      wayne leblanc              charles ryan, eric agovino, patrick jochum
      Laboratories Inc. et al (C.A. No. 08-21-
      GMS)
77    Memantine update                              4/9/2008      eric agovino               charles ryan
      RE: May 12th Board Meeting; Litigation
78                                                  5/6/2008      eric agovino               charles ryan
      Update
79    Litigation Status Report 3 3 08.doc           5/6/2008      VENAGLIA
      40844-25 Namenda --Fw: Forest
      Laboratories Inc. et al v. Cobalt                                                      charles ryan, eric agovino, jennifer fehrman, patrick
80                                                  5/19/2008     wayne leblanc
      Laboratories Inc. et al (C.A. No. 08-21-                                               jochum
      GMS-LPS)
81    FW: Namenda Experts: Dr. Schneider            6/2/2008      eric agovino               lucy zamot
      L. Schneider Expert Retention
82                                                  6/2/2008      IT
      Letter_(12883227_1).DOC
83    Namenda Experts: Dr. Schneider                6/2/2008      melanie rupert             charles ryan, eric agovino, gerald flattmann
84    RE: Namenda Experts: Dr. Schneider            6/3/2008      eric agovino               melanie rupert
85    Namenda Situational Analysis 2008.ppt         7/10/2008     no Author
                                                                                             charles ryan, daniel malone, eric agovino, eric stops, f.
      PRIVILEGED AND CONFIDENTIAL:
86                                                  7/18/2008     patrick jochum             dominic cerrito, gerald flattmann, melanie rupert,
      translated appeal brief
                                                                                             stephan guertler
87    Trans. Grounds of Appeal Draft 4.DOC          7/18/2008     uro
      RE: August 11 Board of Directors
88                                                  7/25/2008     eric agovino               charles ryan, jennifer fehrman
      Meeting; Litigation Update
89    Litigation Status Report 5 12 08 (2).doc      7/25/2008     VENAGLIA
      Fw: Forest Laboratories Inc. et al. v.
90    Cobalt Labs., Inc. et al.,Case No. 08-021     8/5/2008      melanie rupert             charles ryan, eric agovino, namendawg
      Consolidated
91    Bermuda -- Board Meeting for FLH              8/15/2008     ralph kleinman             david solomon, frank perier, herschel weinstein


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                 All Recipients
92    Bermuda -- Board Meeting for FLH             8/15/2008     ralph kleinman             david solomon, frank perier, herschel weinstein
93    RE: Bermuda -- Board Meeting for FLH         8/17/2008     david solomon              frank perier, herschel weinstein, ralph kleinman
94    RE: Bermuda -- Board Meeting for FLH         8/17/2008     david solomon              frank perier, herschel weinstein, ralph kleinman
95    Re: Bermuda -- Board Meeting for FLH         8/17/2008     ralph kleinman             david solomon, frank perier, herschel weinstein
      FY10 Strategy Planning Meeting Big
96                                                 8/26/2008     S&H
      Questions v4 (2).docx
                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito,
97    Namenda Litigation - Claim Construction      9/10/2008     alexander greenberg        gerald flattmann, jack b.blumenfeld, melanie rupert,
                                                                                            patrick jochum
98    FW: Portfolio Valuation Model Review         9/30/2008     eric agovino               michael ciraolo
      Namenda Litigation Update -                                                           charles ryan, eric agovino, gerald flattmann, john
99                                                10/17/2008     alexander greenberg
      Presentation Slides                                                                   desmarais, melanie rupert
      Abridged Namenda Client Presentation -
100                                               10/17/2008     IT
      October 21, 2008_(13503992_1).PPT
      Namenda Client Presentation - October
101                                               10/17/2008     IT
      21, 2008_(13503464_1).PPT
102   RE: Patent Questions                        10/27/2008     charles ryan               eric agovino
103   FY10 Strategic Options Presentation.doc      11/6/2008     no Author
      Fw: Forest Laboratories Inc. et al v.
                                                                                            charles ryan, eric agovino, gerald flattmann, patrick
104   Cobalt Laboratories Inc. et al (C.A. No. 08- 11/8/2008     melanie rupert
                                                                                            jochum
      21-GMS-LPS) (cons.)
105   Second Supplement to PTE.DOC                 11/13/2008    no Author
      RE: Board of Directors Meeting on
106   December 8, 2008; Litigation Status          11/25/2008    eric agovino               jennifer fehrman
      Update
      LITIGATION STATUS REPORT-AUGUST 11
107                                                11/25/2008    VENAGLIA
      2008.doc
108   Litigation status update                      12/1/2008    eric agovino               charles ryan
      LITIGATION STATUS REPORT-AUGUST 11
109                                                 12/1/2008    VENAGLIA
      2008.doc


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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date               Author                                 All Recipients
110   FW: Litigation status update                12/2/2008     eric agovino               charles ryan
      LITIGATION STATUS REPORT-AUGUST 11
111                                               12/2/2008     VENAGLIA
      2008.doc
                                                                                           dan goldwasser, geocoh@aol.com, howard solomon, ken
      Litigation Status Report; December 8                                                 goodman, lawrence olanoff, lessalans@att.net,
112                                               12/3/2008     herschel weinstein
      Board Meeting                                                                        nbasgoz@partners.org, phearon@partners.org,
                                                                                           wcandee@optonline.com
      LITIGATION STATUS REPORT- DECEMBER
113                                               12/3/2008     VENAGLIA
      8, 2008.doc
                                                                                           alexander greenberg, charles ryan, eric agovino, eric
114   Namenda - Draft Markman Presentation        12/9/2008     melanie rupert             stops, f. dominic cerrito, gerald flattmann, jack
                                                                                           b.blumenfeld, maryellen noreika, patrick jochum
115   Patent Litigation Timeline                  1/22/2009     jennifer fehrman           charles ryan, eric agovino
116   Litigation timeline.doc                     1/22/2009     jfehrman
117   RE: Litigation Timeline                     1/22/2009     eric agovino               jennifer fehrman
118   Memantine settlement meeting.ppt            1/30/2009     Registered User
      RE: Namenda - Call from Mylan                                                        eric agovino, f. dominic cerrito, gerald flattmann, melanie
119                                               2/10/2009     charles ryan
      regarding Settlement                                                                 rupert, patrick jochum
      RE: Namenda - Call from Mylan
120                                               2/10/2009     melanie rupert             charles ryan
      regarding Settlement
      Namenda - Call from Mylan regarding                                                  charles ryan, eric agovino, eric stops, f. dominic cerrito,
121                                               2/10/2009     melanie rupert
      Settlement                                                                           gerald flattmann, jack b.blumenfeld, patrick jochum
      Re: AW: Namenda - Call from Mylan                                                    charles ryan, eric agovino, f. dominic cerrito, gerald
122                                               2/11/2009     melanie rupert
      regarding Settlement                                                                 flattmann, patrick jochum
      AW: AW: Namenda - Call from Mylan                                                    charles ryan, eric agovino, f. dominic cerrito, gerald
123                                               2/11/2009     patrick jochum
      regarding Settlement                                                                 flattmann, melanie rupert
      RE: AW: Namenda - Call from Mylan                                                    eric agovino, f. dominic cerrito, gerald flattmann, melanie
124                                               2/11/2009     charles ryan
      regarding Settlement                                                                 rupert, patrick jochum
      Re: AW: Namenda - Call from Mylan                                                    charles ryan, eric agovino, gerald flattmann, melanie
125                                               2/11/2009     f. dominic cerrito
      regarding Settlement                                                                 rupert, patrick jochum




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                All Recipients
      AW: AW: Namenda - Call from Mylan                                                     charles ryan, eric agovino, f. dominic cerrito, gerald
126                                                2/11/2009     patrick jochum
      regarding Settlement                                                                  flattmann, melanie rupert
      RE: AW: Namenda - Call from Mylan                                                     eric agovino, f. dominic cerrito, gerald flattmann, melanie
127                                                2/11/2009     charles ryan
      regarding Settlement                                                                  rupert, patrick jochum
      Re: AW: AW: Namenda - Call from Mylan                                                 charles ryan, eric agovino, f. dominic cerrito, melanie
128                                                2/11/2009     gerald flattmann
      regarding Settlement                                                                  rupert, patrick jochum
      AW: Namenda - Call from Mylan                                                         charles ryan, eric agovino, f. dominic cerrito, gerald
129                                                2/11/2009     patrick jochum
      regarding Settlement                                                                  flattmann, melanie rupert
      AW: Namenda - Call from Mylan                                                         charles ryan, eric agovino, f. dominic cerrito, gerald
130                                                2/11/2009     patrick jochum
      regarding Settlement                                                                  flattmann, melanie rupert
      Re: AW: AW: Namenda - Call from Mylan                                                 charles ryan, eric agovino, f. dominic cerrito, melanie
131                                                2/11/2009     gerald flattmann
      regarding Settlement                                                                  rupert, patrick jochum
      Re: AW: Namenda - Call from Mylan                                                     charles ryan, eric agovino, f. dominic cerrito, gerald
132                                                2/11/2009     melanie rupert
      regarding Settlement                                                                  flattmann, patrick jochum
      RE: Board of Directors Meeting; March
133                                                2/19/2009     eric agovino               charles ryan
      2, 2009
134   LITIGATION STATUS REPORT.doc                 2/19/2009     VENAGLIA
                                                                                            charles ryan, claudia zumbro, f. dominic cerrito, gerald
135   RE: Term sheet                               2/20/2009     eric agovino
                                                                                            flattmann, melanie rupert, patrick jochum
136   Memantine Settlement Proposal                2/25/2009     david solomon              charles ryan, martin zuegel, patrick jochum
                                                                                            dan goldwasser, geocoh@aol.com, howard solomon, ken
137   Litigation Status Report                     2/26/2009     herschel weinstein         goodman, lawrence olanoff, lessalans@att.net,
                                                                                            nbasgoz@partners.org, wcandee@optonline.com
138   Litigation Status Report 3.2.09.doc          2/26/2009     no Author
139   RE: Memantine reexam                         3/3/2009      eric agovino               peter ludwig
140   RE: Memantine reexam                         3/3/2009      eric agovino               peter ludwig
141   RE: Memantine reexam                         3/3/2009      peter ludwig               eric agovino
142   RE: Memantine reexam                         3/3/2009      peter ludwig               eric agovino
143   Memantine reexam                             3/3/2009      eric agovino               peter ludwig
144   RE: FW: Memantine reexam                     3/3/2009      eric agovino               gregory morris, melanie rupert
145   Memantine reexam                             3/3/2009      eric agovino               peter ludwig
146   FW: Memantine reexam                         3/3/2009      eric agovino               gregory morris, melanie rupert


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                     Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title               Document Date                Author                               All Recipients
      Re: Namenda Settlement, Conversation
147   with Antitrust Counsel for                 3/7/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      FW: Namenda Settlement, Conversation
148   with Antitrust Counsel for                 3/7/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
149   with Antitrust Counsel for                 3/7/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
150   with Antitrust Counsel for                 3/7/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
151   with Antitrust Counsel for                 3/7/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
152   with Antitrust Counsel for                 3/7/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
153   with Antitrust Counsel for                 3/7/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential
      Re: Namenda Settlement, Conversation
154   with Antitrust Counsel for                 3/7/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
155   with Antitrust Counsel for                 3/7/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      FW: Namenda Settlement, Conversation
156   with Antitrust Counsel for                 3/7/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                               All Recipients
      RE: Namenda Settlement, Conversation
157   with Antitrust Counsel for                   3/9/2009      michael sohn               charles ryan, eric agovino
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
158   with Antitrust Counsel for                   3/9/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
159   with Antitrust Counsel for                   3/9/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
160   with Antitrust Counsel for                   3/9/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
      RE: Namenda Settlement, Conversation
161   with Antitrust Counsel for                   3/9/2009      eric agovino               charles ryan, michael sohn
      Merz/Privileged and Confidential
162   RE: Namenda Experts: Dr. Schneider           3/10/2009     melanie rupert             eric agovino
      RE: LCM - FRX: PTO patent term
      extension for Namenda to 2015 adds 1.5
163                                                3/10/2009     eric agovino               charles ryan, michael ciraolo
      yrs of sales to our model, helps stagger
      patent cliff; BUY
164   RE: Namenda Experts: Dr. Schneider           3/10/2009     eric agovino               melanie rupert
165   Namenda Experts: Dr. Schneider               3/10/2009     melanie rupert             eric agovino
166   RE: Namenda Experts: Dr. Schneider           3/10/2009     eric agovino               melanie rupert
      FW: FRX - Good News For FRX -
      Namenda Patent Extended Until April                                                   charles ryan, elaine hochberg, howard solomon, marco
167                                                3/10/2009     lawrence olanoff
      2015, 19 Extra Months - COWEN                                                         taglietti
      RESEARCH NOTE DISTRIBUTION
      FW: LCM - FRX: PTO patent term
      extension for Namenda to 2015 adds 1.5                                                charles ryan, david solomon, dirk thye, elaine hochberg,
168                                                3/10/2009     lawrence olanoff
      yrs of sales to our model, helps stagger                                              howard solomon, kevin walsh, marco taglietti
      patent cliff; BUY




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                         Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.                 Document Title                   Document Date              Author                              All Recipients
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      AW: Re: AW: Re: Forest, et al. v. Cobalt,
169                                                    3/11/2009     patrick jochum           eric stops, f. dominic cerrito, gerald flattmann, melanie
      et al. Correspondence
                                                                                              rupert
                                                                                              andres sawicki, daniel malone, eric agovino, eric stops, f.
      Re: AW: Re: Forest, et al. v. Cobalt, et al.
170                                                    3/11/2009     charles ryan             dominic cerrito, gerald flattmann, melanie rupert, patrick
      Correspondence
                                                                                              jochum
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      Re: Forest, et al. v. Cobalt, et al.
171                                                    3/11/2009     f. dominic cerrito       eric stops, gerald flattmann, melanie rupert, patrick
      Correspondence
                                                                                              jochum
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      Re: Forest, et al. v. Cobalt, et al.
172                                                    3/11/2009     gerald flattmann         eric stops, f. dominic cerrito, melanie rupert, patrick
      Correspondence
                                                                                              jochum
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      AW: Re: AW: Re: AW: Re: Forest, et al. v.
173                                                    3/11/2009     patrick jochum           eric stops, f. dominic cerrito, gerald flattmann, melanie
      Cobalt, et al. Correspondence
                                                                                              rupert
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      Re: AW: Re: AW: Re: Forest, et al. v.
174                                                    3/11/2009     gerald flattmann         eric stops, f. dominic cerrito, melanie rupert, patrick
      Cobalt, et al. Correspondence
                                                                                              jochum
      Re: AW: Re: Forest, et al. v. Cobalt, et al.
175                                                    3/11/2009     charles ryan             f. dominic cerrito
      Correspondence
                                                                                              charles ryan, daniel malone, eric agovino, eric stops, f.
      Fw: Forest, et al. v. Cobalt, et al.
176                                                    3/11/2009     andres sawicki           dominic cerrito, gerald flattmann, melanie rupert, patrick
      Correspondence
                                                                                              jochum
      Re: AW: Re: AW: Re: Forest, et al. v.
177                                                    3/11/2009     gerald flattmann         charles ryan
      Cobalt, et al. Correspondence
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      Re: AW: Re: Forest, et al. v. Cobalt, et al.
178                                                    3/11/2009     gerald flattmann         eric stops, f. dominic cerrito, melanie rupert, patrick
      Correspondence
                                                                                              jochum
                                                                                              andres sawicki, charles ryan, daniel malone, eric agovino,
      AW: Re: Forest, et al. v. Cobalt, et al.
179                                                    3/11/2009     patrick jochum           eric stops, f. dominic cerrito, gerald flattmann, melanie
      Correspondence
                                                                                              rupert




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                        Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                    Document Date              Author                             All Recipients
      Re: AW: Re: AW: Re: Forest, et al. v.
180                                                    3/11/2009     charles ryan            gerald flattmann
      Cobalt, et al. Correspondence
                                                                                             andres sawicki, charles ryan, daniel malone, eric agovino,
      Re: AW: Re: Forest, et al. v. Cobalt, et al.
181                                                    3/11/2009     f. dominic cerrito      eric stops, gerald flattmann, melanie rupert, patrick
      Correspondence
                                                                                             jochum
      FY10 Plan Executive Summary 4 10 09,
182                                                    4/10/2009     fmoser
      CH.docx
      FW: Withdrawal of Consent re '560
183   patent and Election of '703 patent for           4/14/2009     michael ciraolo         eric agovino
      PTE
      FW: Memantine Requests for Patent
184   Term Extension (Darby Ref:                       4/14/2009     michael ciraolo         eric agovino
      03269/8200177-000)
      Ryan - RPT PTE Extension of June 15,
185                                                    4/14/2009     no Author
      2007 (01141185).PDF
      FW: Withdrawal of Consent re '560
186   patent and Election of '703 patent for           4/14/2009     michael ciraolo         eric agovino
      PTE
187   RE: Board of Directors Meeting                   4/28/2009     eric agovino            charles ryan, jennifer fehrman
      Litigation Status Report (Patent
188                                                    4/28/2009     no Author
      Litigation).doc
189   RE: Board of Directors Meeting                   4/29/2009     charles ryan            eric agovino, herschel weinstein, melissa cooper
      Litigation Status Report (Patent
190                                                    4/29/2009     jfehrman
      Litigation).doc
                                                                                             dan goldwasser, geocoh@aol.com, howard solomon, ken
      Litigation Status Report; May 4 Board
191                                                    4/30/2009     herschel weinstein      goodman, lawrence olanoff, lessalans@att.net,
      Meeting
                                                                                             nbasgoz@partners.org, wcandee@optonline.com
192   Litigation Status Report v.2 4.30.09.doc         4/30/2009     no Author
193   Dr. Howard Fillit deposition summary             6/10/2009     eric agovino            charles ryan
      FW: Dr. Howard Fillit deposition                                                       david solomon, eric agovino, herschel weinstein, howard
194                                                    6/11/2009     charles ryan
      summary                                                                                solomon, lawrence olanoff


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                Document Date               Author                                All Recipients
195   Re: Forest Labs. v. Cobalt Labs.             6/21/2009     eric agovino               gregory morris
196   Namenda Presentation                         7/1/2009      alexander greenberg        eric agovino, melanie rupert
      Namenda Client Presentation - July 6
197                                                7/1/2009      IT
      2009_(14954039_2).PPT
198   Namenda MR Conversion Strategy.ppt           9/9/2009      James Finchen
                                                                                            charles ryan, eric agovino, eric stops, gerald flattmann,
      Re: Namenda -- Our Comments on
199                                               11/18/2009     evangeline shih            gregory morris, melanie rupert, nick cerrito, patrick
      Jones' Draft Doody Report
                                                                                            jochum, shane cortesi
      NYI_4229641_6_Doody Expert Report
200                                               11/18/2009     no Author
      Draft.DOC
201   Re: Banerjee deposition summary             11/19/2009     charles ryan               eric agovino
202   Banerjee deposition summary                 11/19/2009     eric agovino               charles ryan
      RE: Memantine Settlement conference
203                                               11/19/2009     eric agovino               charles ryan, peter armenio
      call
                                                                                            charles ryan, eric agovino, eric stops, evangeline shih, f.
      RE: Namenda -- Our Comments on
204                                               11/19/2009     shane cortesi              dominic cerrito, gerald flattmann, gregory morris,
      Jones' Draft Doody Report
                                                                                            melanie rupert, patrick jochum
      Draft Mylan Infringement Chart For
205                                               11/19/2009     IT
      Doody_(15883873_3) (3).DOC
      RE: Memantine Settlement conference
206                                               11/19/2009     peter armenio              charles ryan, eric agovino
      call
207   Banerjee deposition summary                 11/19/2009     eric agovino               charles ryan
      Fw: Forest Labs et al. v. Cobalt Labs et
208                                               11/23/2009     melanie rupert             eric agovino
      al., 1:08-cv-21-GMS-LPS
                                                                                            allyson gage, charles ryan, debra marchese, elaine
209   John W. Olney                               11/24/2009     eric agovino               hochberg, lawrence olanoff, marco taglietti, nikhil nayak,
                                                                                            pradeep banerjee, stephen graham, william meury

                                                                                            allyson gage, charles ryan, debra marchese, elaine
210   no Title                                    11/24/2009     eric agovino               hochberg, lawrence olanoff, marco taglietti, nikhil nayak,
                                                                                            pradeep banerjee, stephen graham, william meury



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                        Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date                Author                               All Recipients
211   JW Olney CV.pdf                              11/24/2009     lw8
                                                                                             allyson gage, charles lindamood, charles ryan, debra
                                                                                             marchese, elaine hochberg, eric agovino, marco taglietti,
212   RE: John W. Olney                            11/24/2009     lawrence olanoff
                                                                                             nikhil nayak, pradeep banerjee, stephen graham, william
                                                                                             meury
213   Fw: John W. Olney                            11/24/2009     william meury              debra marchese
                                                                                             allyson gage, charles ryan, debra marchese, elaine
214   John W. Olney                                11/24/2009     eric agovino               hochberg, lawrence olanoff, marco taglietti, nikhil nayak,
                                                                                             pradeep banerjee, stephen graham, william meury
                                                                                             allyson gage, charles lindamood, charles ryan, debra
                                                                                             marchese, elaine hochberg, eric agovino, marco taglietti,
215   RE: John W. Olney                            11/24/2009     lawrence olanoff
                                                                                             nikhil nayak, pradeep banerjee, stephen graham, william
                                                                                             meury
216   Fw: John W. Olney                            11/24/2009     william meury              debra marchese
                                                                                             allyson gage, charles ryan, debra marchese, elaine
217   John W. Olney                                11/24/2009     eric agovino               hochberg, lawrence olanoff, marco taglietti, nikhil nayak,
                                                                                             pradeep banerjee, stephen graham, william meury
218   JW Olney CV.pdf                              11/24/2009     lw8
                                                                                             allyson gage, charles lindamood, charles ryan, debra
                                                                                             marchese, elaine hochberg, eric agovino, marco taglietti,
219   RE: John W. Olney                            11/24/2009     lawrence olanoff
                                                                                             nikhil nayak, pradeep banerjee, stephen graham, william
                                                                                             meury
                                                                                             allyson gage, charles ryan, debra marchese, elaine
220   John W. Olney                                11/24/2009     eric agovino               hochberg, lawrence olanoff, marco taglietti, nikhil nayak,
                                                                                             pradeep banerjee, stephen graham, william meury
221   JW Olney CV.pdf                              11/24/2009     lw8
222   Re: John W. Olney                            11/25/2009     debra marchese             william meury
223   Re: John W. Olney                            11/25/2009     debra marchese             william meury
224   RE: Board of Directors Meeting               11/29/2009     eric agovino               charles ryan, jennifer fehrman


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                        Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date                Author                               All Recipients
225   Litigation Status Report.doc                 11/29/2009     no Author
226   Re: Namenda -- Commercial Success            11/30/2009     gregory morris             eric agovino
227   FW: Orchid Term Sheet                        11/30/2009     david solomon              david solomon
228   FW: Board of Directors Meeting               11/30/2009     eric agovino               emily wolkoff
229   Litigation Status Report.doc                 11/30/2009     no Author
230   Re: Namenda -- Commercial Success            11/30/2009     gregory morris             eric agovino
231   Re: Namenda -- Commercial Success            11/30/2009     eric agovino               gregory morris
      FW: Revised memantine settlement
232                                                11/30/2009     eric agovino               emily wolkoff
      agreement
233   Re: Namenda -- Commercial Success            11/30/2009     eric agovino               gregory morris
234   Re: Namenda -- Commercial Success             12/1/2009     eric agovino               gregory morris
235   RE: Namenda -- Commercial Success             12/1/2009     eric agovino               gregory morris
236   Re: Namenda -- Commercial Success             12/1/2009     eric agovino               gregory morris
237   RE: Namenda -- Commercial Success             12/1/2009     eric agovino               gregory morris
238   Re: Namenda -- Commercial Success             12/1/2009     gregory morris             eric agovino
239   Namenda -- Commercial Success                 12/1/2009     gregory morris             eric agovino
                                                                                             carrie furin, charles ryan, eric agovino, james demartino,
      IMPORTANT: Request from NICE to
                                                                                             james perhach, marco taglietti, michael ciraolo, michael
240   Lundbeck for Memantine studies                12/2/2009     puneet sachdev
                                                                                             niebo, robert jackson, serge stankovic, stephen graham,
      (response needed to Merz Tomorrow)
                                                                                             theresa fico
                                                                                             carrie furin, charles ryan, eric agovino, james demartino,
      RE: IMPORTANT: Request from NICE to
                                                                                             james perhach, marco taglietti, michael ciraolo, michael
241   Lundbeck for Memantine studies                12/2/2009     serge stankovic
                                                                                             niebo, puneet sachdev, robert jackson, stephen graham,
      (response needed to Merz Tomorrow)
                                                                                             theresa fico
242   Lipinskilet.DOC                               12/2/2009     IT
                                                                                             carrie furin, charles ryan, eric agovino, james demartino,
      RE: IMPORTANT: Request from NICE to
                                                                                             james perhach, marco taglietti, michael ciraolo, michael
243   Lundbeck for Memantine studies                12/2/2009     puneet sachdev
                                                                                             niebo, robert jackson, serge stankovic, stephen graham,
      (response needed to Merz Tomorrow)
                                                                                             theresa fico
                                                                                             charles ryan, eric agovino, evan diamond, gerald
244   Re: Telecom from Forest Attorney              12/2/2009     melanie rupert
                                                                                             flattmann




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                                All Recipients
      Litigation Status Report December 7,
245                                                12/3/2009     no Author
      2009 v.2.doc
246   RE: Expert Letters                           12/3/2009     eric agovino                jennifer fehrman, patrick jochum
                                                                                             carrie furin, charles ryan, eric agovino, james demartino,
      RE: IMPORTANT: Request from NICE to
                                                                                             james perhach, marco taglietti, michael ciraolo, michael
247   Lundbeck for Memantine studies               12/3/2009     theresa fico
                                                                                             niebo, puneet sachdev, robert jackson, serge stankovic,
      (response needed to Merz Tomorrow)
                                                                                             stephen graham
248   RE: Expert Letters                           12/3/2009     eric agovino                jennifer fehrman, patrick jochum
249   Re: Namenda -- Commercial Success            12/7/2009     eric agovino                gregory morris
250   FW: Signed Settlement Agreement              12/7/2009     eric agovino                jonathan gleklen, michael sohn
                                                                                             charles ryan, f. dominic cerrito, gerald flattmann, melanie
251   Fw: Signed Settlement Agreement              12/8/2009     eric agovino
                                                                                             rupert, peter armenio
252   Fw: Namenda case--Call at 5 pm eastern       12/9/2009     evan diamond                charles ryan, eric agovino, melanie rupert
      Draft Farlow Report
253                                                12/9/2009     IT
      (new)_(16024078_2).DOC
      RE: Namenda Dial-in Number for                                                         andres sawicki, charles ryan, eric agovino, f. dominic
254                                                12/9/2009     roberto malinow
      Teleconference                                                                         cerrito, gerald flattmann, melanie rupert
      Contemporaneous views on
255   excitotoxicity as a mechanism underlying     12/9/2009     rm
      AD.docx
      current views on excitotoxicity as a
256                                                12/9/2009     rm
      mechanism underlying AD.docx
      DRAFT Malinow
257                                                12/9/2009     IT
      Report_(15980494_4).DOC
258   FW: CONFIDENTIAL SETTLEMENT DRAFT           12/10/2009     charles ryan                eric agovino

259   Namenda settlement chart.doc                12/10/2009     Forest Laboratories, Inc.
260   FW: Lupin Agreement                         12/10/2009     charles ryan                eric agovino
261   FW: Memantine Settlement Agreement          12/11/2009     eric agovino                anne toker, benjamin lasky



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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date                Author                                All Recipients
262   FW: Lupin Settlement Agreement             12/11/2009     eric agovino               emily wolkoff
263   AW: Lupin Settlement Agreement             12/11/2009     patrick jochum             charles ryan, eric agovino, peter armenio
264   RE: Namenda -- Commercial Success          12/14/2009     kevin haney                julie snyder
265   Fw: Settlement Agreement                   12/14/2009     eric agovino               melanie rupert
266   2009-12-14 NAMENDA XR meeting.ppt          12/14/2009     Registered User
267   RE: Namenda -- Commercial Success          12/14/2009     julie snyder               kevin haney
268   RE: Namenda -- Commercial Success          12/14/2009     kevin haney                eric agovino, gregory morris, julie snyder
269   Namenda -- Commercial Success              12/14/2009     gregory morris             eric agovino
270   RE: Namenda -- Commercial Success          12/14/2009     eric agovino               gregory morris
      2009-12-14 NAMENDA XR meeting
271                                              12/14/2009     Registered User
      AM.ppt
272   RE: Namenda -- Commercial Success          12/14/2009     julie snyder               kevin haney
273   RE: Namenda -- Commercial Success          12/14/2009     kevin haney                eric agovino, gregory morris, julie snyder
      Re: Fw: Memantine Settlement
274                                              12/14/2009     melanie rupert             eric agovino
      Agreement
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
275   Draft Malinow Report                       12/14/2009     andres sawicki
                                                                                           flattmann, melanie rupert, patrick jochum
      DRAFT Malinow
276                                              12/14/2009     IT
      Report_(15980494_6).DOC
277   RE: Namenda -- Commercial Success          12/14/2009     julie snyder               kevin haney
278   RE: Namenda -- Commercial Success          12/14/2009     gregory morris             eric agovino, julie snyder, kevin haney
279   Namenda -- Commercial Success              12/14/2009     gregory morris             eric agovino, julie snyder, kevin haney
280   Namenda XR launch scenarios.doc            12/14/2009     no Author
281   Re: Memantine Settlement Agreement         12/15/2009     eric agovino               charles ryan
      Namenda--Current draft of Farlow                                                     charles ryan, eric agovino, f. dominic cerrito, gerald
282                                              12/15/2009     evan diamond
      report                                                                               flattmann, gregory morris, melanie rupert
283   Draft Farlow Report_(16056243_2).DOC       12/15/2009     IT
      Namenda -- Draft Murry Report for
284                                              12/15/2009     gregory morris             eric agovino, gerald flattmann, nick cerrito
      Today's Discussion




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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                 All Recipients
      DRAFT FOR 12_15 Meeting with J. Murry
285   Draft Commercial Success                   12/15/2009     Ellen Lin
      Report_(16062178_1).DOC
286   Re: Memantine Settlement Agreement         12/15/2009     eric agovino                charles ryan
      Namenda -- Draft of Doody Rebuttal                                                    charles ryan, eric agovino, f. dominic cerrito, gerald
287                                              12/15/2009     gregory morris
      Report                                                                                flattmann, melanie rupert, patrick jochum, shane cortesi
      DRAFT Doody Report For Commercial
288                                              12/15/2009     IT
      Success_(16045060_3).DOC
289   FW: Memantine Settlement Agreement         12/16/2009     eric agovino                charles ryan

290   FW: Memantine Settlement Agreement         12/16/2009     eric agovino                charles ryan
291   Re: Memantine Settlement Agreement         12/16/2009     frank murdolo               eric agovino
292   FW: Memantine Settlement Agreement         12/16/2009     charles ryan                david solomon, herschel weinstein
      SettlementmemotoHS 12-16-
293                                              12/16/2009     Forest Laboratories, Inc.
      09Update.doc
      Namenda -- Draft of Murry Commercial                                                  charles ryan, eric agovino, f. dominic cerrito, gerald
294                                              12/16/2009     gregory morris
      Success Report                                                                        flattmann, melanie rupert, shane cortesi
      12-15 J. Murry Draft Commercial Success
295                                              12/16/2009     Ellen Lin
      Report_(16067854_1).DOC
296   FW: Memantine Settlement Agreement         12/16/2009     eric agovino                frank murdolo
297   Lifecycle Update Nov30.ppt                 12/16/2009     psachdev
298   Re: Memantine Settlement Agreement         12/17/2009     charles ryan                david solomon, eric agovino, herschel weinstein
299   RE: comments                               12/17/2009     melanie rupert              eric agovino
      DRAFT Malinow
300                                              12/17/2009     IT
      Report_(15980494_7).DOC
      DRAFT Lipinski
301                                              12/17/2009     IT
      Report_(16025226_6).DOC




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                                 All Recipients

302   Draft Farlow Report_(16056243_3).DOC        12/17/2009     IT
                                                                 david solomon, herschel
303   Re: Memantine Settlement Agreement          12/17/2009                             charles ryan, eric agovino
                                                                 weinstein
304   FW: comments                                12/17/2009     eric agovino            emily wolkoff
      DRAFT Lipinski
305                                               12/17/2009     IT
      Report_(16025226_6).DOC
306   Draft Farlow Report_(16056243_3).DOC        12/17/2009     IT
      DRAFT Malinow
307                                               12/17/2009     IT
      Report_(15980494_7).DOC
                                                                 charles ryan, herschel
308   RE: Memantine Settlement Agreement          12/17/2009                                 david solomon
                                                                 weinstein
309   RE: Timeline slide                          12/17/2009     eric agovino                nikhil nayak
310   Namenda XR launch scenarios.doc             12/17/2009     no Author
      Fw: DONE - Draft Murry Report
311                                               12/18/2009     gregory morris              eric agovino
      BLACKLINE
      2009-12-17 J. Murry Draft Commercial
312   Success Report (blackline version 1 vs      12/18/2009     APampine
      2)_(16083257_1).DOCX
      FW: Defendants' Responsive Expert
313                                               12/21/2009     eric agovino                emily wolkoff
      Report - John Olney, M.D.
314   RE: memo                                    12/21/2009     eric agovino                jennifer fehrman
315   TaskSummaries2009-2 (2).doc                 12/21/2009     Forest Laboratories, Inc.
                                                                                             charles ryan, eric agovino, f. dominic cerrito, gerald
316   Plaintiffs' Responsive Expert Reports       12/21/2009     melanie rupert
                                                                                             flattmann, patrick jochum
      Defendants' Responsive Expert Report -                                                 charles ryan, eric agovino, f. dominic cerrito, gerald
317                                               12/21/2009     melanie rupert
      John Olney, M.D.                                                                       flattmann, patrick jochum
      Namenda--Memo re Responsive Expert                                                     charles ryan, eric agovino, f. dominic cerrito, gerald
318                                               12/22/2009     evan diamond
      Reports                                                                                flattmann, melanie rupert, patrick jochum




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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date                Author                                All Recipients
      Memo re_ Responsive Expert
319                                              12/22/2009     installer
      Reports_(16094366_2).DOC
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
320   Namenda--Status Presentation                1/4/2010      evan diamond
                                                                                           flattmann, john desmarais, melanie rupert
321   Draft Namenda Status Presentation.pptx      1/4/2010      IT
322   Memantine                                   1/4/2010      robert carnevale           herschel weinstein, rachel mears
      RE: Patent Portfolio Management and IP
323                                               1/4/2010      eric agovino               charles ryan
      Diligence 2009 Review
324   Final Namenda Status Presentation.pptx      1/5/2010      IT
                                                                                           charles ryan, evan diamond, f. dominic cerrito, gerald
325   RE: Namenda--Final Presentation             1/5/2010      eric agovino
                                                                                           flattmann, john desmarais, melanie rupert
326   Final Namenda Status Presentation.pptx      1/5/2010      IT
                                                                                           eric agovino, f. dominic cerrito, gerald flattmann, john
327   Namenda--Final Presentation                 1/5/2010      evan diamond
                                                                                           desmarais, melanie rupert
328   Final Namenda Status Presentation.pptx      1/5/2010      IT

329   Final Namenda Status Presentation.pptx      1/5/2010      IT
330   NAMENDA XR meeting.ppt                      1/6/2010      Registered User
331   DRAFT Namenda XR presentation               1/6/2010      eric agovino               charles ryan
332   XR Timeline Options.ppt                     1/7/2010      Christine Huelster
333   REVISED Namenda XR slides                   1/7/2010      eric agovino               charles ryan
334   2009-01-08 NAMENDA XR meeting.ppt           1/7/2010      Registered User
335   2009-01-08 NAMENDA XR meeting.ppt           1/7/2010      Registered User
336   RE: XR Timeline Meeting tomorrow            1/7/2010      eric agovino               charles ryan, nikhil nayak, william meury
337   XR Timeline Meeting tomorrow                1/7/2010      nikhil nayak               charles ryan, eric agovino, william meury
338   XR Timeline Options.ppt                     1/7/2010      Christine Huelster
      RE: Payments required under
339                                               1/7/2010      eric agovino               sylvia striker
      memantine settlement agreements


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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      FW: Payments required under
340                                               1/8/2010      sylvia striker              david feit, michael piacquadio, rita weinberger
      memantine settlement agreements
      Re: Namenda Expert Deposition
341                                               1/8/2010      melanie rupert              charles ryan, eric agovino, gerald flattmann
      Scheduling
      Re: Namenda Expert Deposition
342                                               1/8/2010      melanie rupert              charles ryan, eric agovino, gerald flattmann
      Scheduling
      Re: Namenda Expert Deposition
343                                               1/8/2010      gerald flattmann            charles ryan, eric agovino, melanie rupert
      Scheduling
      RE: Payments required under
344                                               1/8/2010      rita weinberger             sylvia striker
      memantine settlement agreements
      Re: Namenda Expert Deposition
345                                               1/8/2010      eric agovino                melanie rupert
      Scheduling
      FW: Payments required under
346                                               1/8/2010      sylvia striker              david feit, michael piacquadio, rita weinberger
      memantine settlement agreements
      Re: Namenda Expert Deposition
347                                               1/8/2010      eric agovino                melanie rupert
      Scheduling
      2009-01-08 NAMENDA XR meeting
348                                               1/8/2010      Registered User
      New.ppt
349   RE: Memantine settlement agreement          1/12/2010     ken viola                   nandranie singh
350   RE: Stipulation of Dismissal - Lupin        1/12/2010     eric agovino                melanie rupert
351   RE: Stipulation of Dismissal - Lupin        1/12/2010     eric agovino                melanie rupert
352   RE: Memantine settlement agreement          1/12/2010     nandranie singh             ken viola
353   Eric's Namenda meeting notes 1-14.doc       1/14/2010     Forest Laboratories, Inc.
      Re: Potential Settlement of Namenda
354                                               1/15/2010     charles ryan                herschel weinstein
      Patent Litigation with Mylan
                                                                                            eric agovino, f. dominic cerrito, gerald flattmann, shane
355   Boghigian Outline                           1/15/2010     melanie rupert
                                                                                            cortesi
      Boghigian Dep
356                                               1/15/2010     IT
      Outline_(16140231_7).DOC
      Re: Potential Settlement of Namenda
357                                               1/15/2010     charles ryan                herschel weinstein
      Patent Litigation with Mylan


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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date                Author                               All Recipients
      Potential Settlement of Namenda Patent
358                                               1/15/2010     herschel weinstein         charles ryan, michael sohn, rachel mears
      Litigation with Mylan
359   Mylan Deal Concept 1-15-10 (2).doc          1/15/2010     no Author
      FW: Mylan Deal Concept - Escitalopram
360   Authorized Generic/Memantine                1/15/2010     robert carnevale           james finchen
      Litigation
361   Mylan Deal Concept 1-15-10.doc              1/15/2010     David Solomon
      FW: Mylan Deal Concept - Escitalopram
362   Authorized Generic/Memantine                1/15/2010     robert carnevale           james finchen
      Litigation
363   Mylan Deal Concept 1-15-10.doc              1/15/2010     David Solomon
      Fw: Potential Settlement of Namenda
364                                               1/15/2010     charles ryan               eric agovino
      Patent Litigation with Mylan
365   Mylan Deal Concept 1-15-10 (2).doc          1/15/2010     David Solomon
      Mylan Deal Concept - Escitalopram
366   Authorized Generic/Memantine                1/15/2010     rachel mears               david solomon, herschel weinstein, robert carnevale
      Litigation
367   Mylan Deal Concept 1-15-10.doc              1/15/2010     David Solomon
368   Orchid New Language 1_15.doc                1/15/2010     no Author
      Re: Attorney-Client Privileged --
369   Potential Settlement of Namenda Patent      1/16/2010     peter armenio              charles ryan
      Litigation with Mylan
370   Orchid New Language 1_15.doc                1/16/2010     dsolomon
371   Fw: Prescribing information                 1/18/2010     eric agovino               evan diamond, gerald flattmann
      RE: Potential Settlement of Namenda
372                                               1/18/2010     michael sohn               charles ryan, herschel weinstein, rachel mears
      Patent Litigation with Mylan
373   FW: Mylan Mtg Next Week                     1/19/2010     james finchen              rachel mears, robert carnevale
374   RE: Mylan Mtg Next Week                     1/19/2010     ditra walsh                david solomon, rachel mears, robert carnevale
375   Fw: Prescribing information                 1/19/2010     eric agovino               evan diamond, gerald flattmann
376   RE: Mylan Mtg Next Week                     1/19/2010     james finchen              rachel mears, robert carnevale
377   FW: Mylan Mtg Next Week                     1/19/2010     david solomon              ditra walsh, rachel mears, robert carnevale




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No.              Document Title                Document Date                Author                                All Recipients
      Re: Potential Settlement of Namenda
378                                               1/19/2010     charles ryan               herschel weinstein, michael sohn
      Patent Litigation with Mylan
379   Re: Mylan Mtg Next Week                     1/19/2010     david solomon              ditra walsh, rachel mears, robert carnevale
380   RE: Prescribing information                 1/19/2010     kelin lopez                eric agovino, lauren dowling
381   FW: Mylan Mtg Next Week                     1/19/2010     robert carnevale           laurie claeys
382   Mylan Term Sheet                            1/20/2010     rachel mears               david solomon, robert carnevale
383   Mylan Deal Concept 1-20-10.doc              1/20/2010     David Solomon
384   Mylan Term Sheet                            1/20/2010     rachel mears               david solomon, robert carnevale
385   Mylan Deal Concept 1-20-10.doc              1/20/2010     David Solomon
386   Mylan Term Sheet                            1/20/2010     rachel mears               david solomon, robert carnevale
387   Mylan Deal Concept 1-20-10.doc              1/20/2010     David Solomon
388   Buccafusco deposition summary               1/20/2010     eric agovino               charles ryan
389   RE: Mylan Term Sheet                        1/20/2010     robert carnevale           david solomon, rachel mears
                                                                                           charles ryan, david solomon, eric agovino, robert
390   Mylan Meeting tomorrow                      1/20/2010     rachel mears
                                                                                           carnevale
391   FW: Memantine expert depositions            1/20/2010     charles ryan               eric agovino
392   Mylan Term Sheet                            1/20/2010     rachel mears               david solomon, robert carnevale
393   Mylan Deal Concept 1-20-10.doc              1/20/2010     David Solomon
      Fw: Letter to JPML Panel Withdrawing                                                 charles ryan, eric agovino, eric stops, f. dominic cerrito,
394                                               1/20/2010     andres sawicki
      Motion to Consolidate Namenda Actions                                                gerald flattmann, melanie rupert, patrick jochum

      Re: Letter to JPML Panel Withdrawing                                                 andres sawicki, charles ryan, eric agovino, eric stops,
395                                               1/20/2010     f. dominic cerrito
      Motion to Consolidate Namenda Actions                                                gerald flattmann, melanie rupert, patrick jochum

                                                                                           david solomon, elaine hochberg, frank perier, herschel
396   Memantine expert depositions                1/20/2010     charles ryan
                                                                                           weinstein, howard solomon, lawrence olanoff
397   Boghigian deposition summary                1/20/2010     eric agovino               charles ryan
398   RE: Mylan Mtg Next Week                     1/20/2010     james finchen              rachel mears, robert carnevale
399   Fishman deposition summary                  1/20/2010     eric agovino               charles ryan




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No.              Document Title                Document Date                Author                                All Recipients

      Re: Letter to JPML Panel Withdrawing                                                 andres sawicki, eric agovino, eric stops, f. dominic cerrito,
400                                               1/20/2010     charles ryan
      Motion to Consolidate Namenda Actions                                                gerald flattmann, melanie rupert, patrick jochum

      Re: Letter to JPML Panel Withdrawing                                                 andres sawicki, charles ryan, eric stops, f. dominic cerrito,
401                                               1/20/2010     eric agovino
      Motion to Consolidate Namenda Actions                                                gerald flattmann, melanie rupert, patrick jochum
402   Farlow deposition summary                   1/20/2010     eric agovino               charles ryan
                                                                                           david solomon, elaine hochberg, frank perier, herschel
403   Memantine expert depositions                1/20/2010     charles ryan
                                                                                           weinstein, howard solomon, lawrence olanoff
404   Boghigian deposition summary                1/20/2010     eric agovino               charles ryan
      Re: Letter to JPML Panel Withdrawing                                                 charles ryan, eric agovino, eric stops, f. dominic cerrito,
405                                               1/20/2010     andres sawicki
      Motion to Consolidate Namenda Actions                                                gerald flattmann, melanie rupert, patrick jochum
406   RE: Mylan Mtg Next Week                     1/20/2010     robert carnevale           james finchen, rachel mears
407   Re: Mylan Meeting tomorrow                  1/20/2010     eric agovino               eric agovino
                                                                                           charles ryan, david solomon, eric agovino, robert
408   Mylan Meeting tomorrow                      1/20/2010     rachel mears
                                                                                           carnevale
      AW: Letter to JPML Panel Withdrawing                                                 andres sawicki, charles ryan, eric agovino, eric stops, f.
409                                               1/20/2010     patrick jochum
      Motion to Consolidate Namenda Actions                                                dominic cerrito, gerald flattmann, melanie rupert

      Re: Letter to JPML Panel Withdrawing                                                 andres sawicki, charles ryan, eric stops, f. dominic cerrito,
410                                               1/20/2010     eric agovino
      Motion to Consolidate Namenda Actions                                                gerald flattmann, melanie rupert, patrick jochum
411   Buccafusco deposition summary               1/20/2010     eric agovino               charles ryan
412   Farlow deposition summary                   1/20/2010     eric agovino               charles ryan
      Re: Namenda tentative approval by                                                    frank murdolo, frank perier, herschel weinstein, lawrence
413                                               1/21/2010     charles ryan
      Lupin                                                                                olanoff
414   Fw: Quick call at 2:30pm?                   1/21/2010     eric agovino               shane cortesi
415   RE: Mylan Meeting tomorrow                  1/21/2010     robert carnevale           eric agovino
416   Re: Quick call at 2:30pm?                   1/21/2010     eric agovino               kevin haney




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No.               Document Title                Document Date                Author                               All Recipients

417   RE: Mylan Meeting tomorrow                   1/21/2010     david solomon              charles ryan, eric agovino, rachel mears, robert carnevale
418   Fw: Mylan Meeting tomorrow                   1/21/2010     rachel mears               david solomon
419   FW: Mylan Term Sheet                         1/21/2010     david solomon              rachel mears, robert carnevale
420   Mylan Deal Concept 1-20-10.doc               1/21/2010     David Solomon
421   FW: Mylan Term Sheet                         1/21/2010     david solomon              rachel mears, robert carnevale
422   Mylan Deal Concept 1-20-10.doc               1/21/2010     David Solomon
                                                                                            charles ryan, david solomon, rachel mears, robert
423   Re: Mylan Meeting tomorrow                   1/21/2010     eric agovino
                                                                                            carnevale
424   RE: Quick call at 2:30pm?                    1/21/2010     kevin haney                eric agovino
                                                                                            charles ryan, david solomon, rachel mears, robert
425   RE: Mylan Meeting tomorrow                   1/21/2010     eric agovino
                                                                                            carnevale
                                                                                            andrew feinstein, james finchen, josh way, laurie claeys,
426   FW: Mylan Term Sheet                         1/25/2010     robert carnevale
                                                                                            severina kraner
427   Paul Fishman Namenda documents               1/25/2010     evan diamond               eric agovino, gerald flattmann, melanie rupert
      Memo re_ Defendants' Expert
428                                                1/25/2010     installer
      Reports_(15961275_1).DOC
      RE: Namenda--Memo re Mylan's PTE
429                                                1/26/2010     eric agovino               charles ryan
      Defense
430   Weiffenbach report.pdf                       1/26/2010     no Author
      Namenda--Memo re Mylan's PTE                                                          charles ryan, eric agovino, gerald flattmann, melanie
431                                                1/26/2010     evan diamond
      Defense                                                                               rupert
      Memo re Mylan's PTE
432                                                1/26/2010     installer
      Defenses_(16211751_1).DOC
      RE: Namenda--Memo re Mylan's PTE
433                                                1/26/2010     eric agovino               charles ryan
      Defense
      Namenda--Memo re Mylan's PTE                                                          charles ryan, eric agovino, gerald flattmann, melanie
434                                                1/26/2010     evan diamond
      Defense                                                                               rupert
      Memo re Mylan's PTE
435                                                1/26/2010     no Author
      Defenses_(16211751_1).DOC
436   Fw: ANDA Litigation Update                   1/27/2010     david solomon              ditra walsh
437   ANDALitigationReport.pdf                     1/27/2010     no Author


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                        Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                  Document Date                Author                               All Recipients
438   Jan 27 2010.ppt                               1/27/2010     no Author
                                                                                             david solomon, elaine hochberg, eric agovino, frank
439   ANDA Litigation Update                        1/27/2010     charles ryan               murdolo, frank perier, herschel weinstein, howard
                                                                                             solomon, lawrence olanoff, michael ciraolo
      RE: Namenda Draft PTO Body and                                                         charles ryan, eric agovino, gerald flattmann, melanie
440                                                 1/28/2010     andres sawicki
      Uncontested Facts                                                                      rupert
      RE: Namenda Draft PTO Body and                                                         andres sawicki, charles ryan, gerald flattmann, melanie
441                                                 1/28/2010     eric agovino
      Uncontested Facts                                                                      rupert
      RE: Namenda Draft PTO Body and                                                         andres sawicki, charles ryan, gerald flattmann, melanie
442                                                 1/28/2010     eric agovino
      Uncontested Facts                                                                      rupert
      RE: december 2009 10q disclosure                                                       elaine hochberg, frank perier, herschel weinstein,
443                                                 1/29/2010     marco taglietti
      committee draft.doc                                                                    lawrence olanoff, rita weinberger
      Re: Forest v. Lupin Distribution -
      01/29/2010 Westin Email to Rupert re
444                                                 1/29/2010     eric agovino               melanie rupert
      Scheduling of Lipinski and Greenberg
      Depositions
445   Fw: Namenda--Due Diligence Memo               1/29/2010     eric agovino               david mott, michael ciraolo
      Namenda IND Due Diligence
446                                                 1/29/2010     ediamond
      Timeline.pdf
      Memo re Mylan's PTE Defenses (Mylan's
447                                                 1/29/2010     installer
      view of law).doc
                                                                                             charles ryan, eric agovino, gerald flattmann, melanie
448   Namenda--Due Diligence Memo                   1/29/2010     evan diamond
                                                                                             rupert
      Namenda IND Due Diligence
449                                                 1/29/2010     ediamond
      Timeline.pdf
      Memo re Mylan's PTE Defenses (Mylan's
450                                                 1/29/2010     installer
      view of law).doc
      Fw: Forest v. Lupin Distribution -
      01/29/2010 Westin Email to Rupert re
451                                                 1/29/2010     melanie rupert             eric agovino
      Scheduling of Lipinski and Greenberg
      Depositions
452   FW: ANDA Litigation Update                    1/31/2010     elaine hochberg            marie markowski


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title               Document Date                Author                                All Recipients
                                                                                            charles ryan, eric agovino, f. dominic cerrito, gerald
453   Fw: Forest v Orchid (D.N.J.)                 2/1/2010      evan diamond
                                                                                            flattmann, melanie rupert, patrick jochum
454   FW: ANDA Litigation Update                   2/1/2010      david solomon              rachel mears
      Memantine expert deposition
455                                                2/1/2010      eric agovino               charles ryan
      summaries
                                                                                            charles ryan, eric agovino, f. dominic cerrito, gerald
456   Fw: Forest v Orchid (D.N.J.)                 2/1/2010      evan diamond
                                                                                            flattmann, melanie rupert, patrick jochum
      Memantine expert deposition
457                                                2/1/2010      eric agovino               charles ryan
      summaries
458   FW: Paul Fishman Namenda documents           2/2/2010      eric agovino               julie snyder
                                                                                            charles ryan, david solomon, herschel weinstein, howard
459   Memantine expert depositions                 2/2/2010      eric agovino
                                                                                            solomon, lawrence olanoff
      Re: Memantine expert deposition
460                                                2/2/2010      charles ryan               eric agovino
      summaries
                                                                                            charles ryan, david solomon, herschel weinstein, howard
461   Memantine expert depositions                 2/2/2010      eric agovino
                                                                                            solomon, lawrence olanoff
                                                                                            charles ryan, david solomon, herschel weinstein, howard
462   Memantine expert depositions                 2/2/2010      eric agovino
                                                                                            solomon, lawrence olanoff
463   FW: Memantine expert depositions             2/2/2010      herschel weinstein         joanne mentz
464   RE: Litigation Status Report                 2/2/2010      eric agovino               jennifer fehrman
      LITIGATION STATUS REPORT01-29-10
465                                                2/2/2010      VENAGLIA
      (EMA edits).doc
466   Namenda FY11 Strat Ops.ppt                   2/3/2010      Christine Huelster
      RE: Namenda--Pretrial Order Docs for                                                  charles ryan, evan diamond, f. dominic cerrito, gerald
467                                                2/3/2010      eric agovino
      Feb. 3 exchange                                                                       flattmann, melanie rupert, patrick jochum
      RE: Namenda--Pretrial Order Docs for                                                  charles ryan, evan diamond, f. dominic cerrito, gerald
468                                                2/3/2010      eric agovino
      Feb. 3 exchange                                                                       flattmann, melanie rupert, patrick jochum
      Re: Namenda--Pretrial Order Docs for
469                                                2/3/2010      evan diamond               eric agovino
      Feb. 3 exchange
      AW: Namenda--Pretrial Order Docs for                                                  charles ryan, eric agovino, evan diamond, f. dominic
470                                                2/3/2010      patrick jochum
      Feb. 3 exchange                                                                       cerrito, gerald flattmann, melanie rupert


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                                All Recipients
471   Re: Namenda--Due Diligence Memo              2/4/2010      gerald flattmann           eric agovino, evan diamond, melanie rupert
      december 2009 10q BOD and certs
472                                                2/4/2010      rweinber
      draft.pdf
      Updated presentation for Mylan
473                                                2/8/2010      eric agovino               charles ryan, john desmarais
      meeting
474   Forest- Mylan meeting.ppt                    2/8/2010      Registered User
      Updated presentation for Mylan
475                                                2/8/2010      eric agovino               charles ryan, john desmarais
      meeting
476   Forest-Mylan meeting.ppt                     2/8/2010      Registered User
477   Forest-Mylan pre-meeting.ppt                 2/8/2010      Registered User
478   RE: Mylan Mtg                                2/8/2010      eric agovino               charles ryan
479   Forest- Mylan meeting.ppt                    2/8/2010      Registered User
                                                                                            charles ryan, gerald flattmann, john desmarais, melanie
480   RE: Slides for Mylan meeting                 2/9/2010      eric agovino
                                                                                            rupert
481   Forest-Mylan meeting.ppt                     2/9/2010      Registered User
      RE: Namenda--Statement of
482                                                2/9/2010      evan diamond               eric agovino, gerald flattmann, melanie rupert
      Uncontested Facts
483   Forest-Mylan meeting.ppt                     2/9/2010      Registered User
                                                                                            charles ryan, gerald flattmann, john desmarais, melanie
484   Slides for Mylan meeting                     2/9/2010      eric agovino
                                                                                            rupert
485   Forest-Mylan meeting.ppt                     2/9/2010      Registered User
      RE: Namenda--Statement of                                                             eric agovino, eric stops, evan diamond, f. dominic cerrito,
486                                                2/9/2010      charles ryan
      Uncontested Facts                                                                     gerald flattmann, melanie rupert, patrick jochum

      RE: Namenda--Statement of                                                             charles ryan, eric agovino, eric stops, f. dominic cerrito,
487                                                2/9/2010      evan diamond
      Uncontested Facts                                                                     gerald flattmann, melanie rupert, patrick jochum
      FW: Namenda--Plaintiffs' Findings of
488                                                2/10/2010     eric agovino               emily wolkoff
      Fact and Conclusions of Law
489   Namenda FY11 Strat Ops v 5.ppt               2/10/2010     Christine Huelster
      FW: Namenda--Plaintiffs' Findings of
490                                                2/10/2010     eric agovino               emily wolkoff
      Fact and Conclusions of Law


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                  Document Date              Author                                All Recipients
      Fw: Namenda--Plaintiffs' Findings of Fact
491                                                 2/10/2010     evan diamond                eric agovino
      and Conclusions of Law
492   Namenda FY11 Strat Ops v 4.ppt                2/10/2010     Christine Huelster
493   Forest-Mylan meeting.ppt                      2/10/2010     Registered User
      Fw: Namenda--Plaintiffs' Findings of Fact
494                                                 2/10/2010     evan diamond                eric agovino
      and Conclusions of Law
495   Namenda FY11 Strat Ops v.7.ppt                2/11/2010     Christine Huelster
      RE: Namenda--Plaintiffs' Findings of Fact                                               charles ryan, evan diamond, gerald flattmann, melanie
496                                                 2/11/2010     eric agovino
      and Conclusions of Law                                                                  rupert
497   Namenda FY11 Strat Ops v.7.ppt                2/11/2010     Christine Huelster
      RE: Namenda--Plaintiffs' Findings of Fact                                               charles ryan, evan diamond, gerald flattmann, melanie
498                                                 2/11/2010     eric agovino
      and Conclusions of Law                                                                  rupert
499   Namenda FY11 Strat Ops v.8.ppt                2/12/2010     Christine Huelster
      2009-11-06 Draft Mylan Settlement and
500                                                 2/12/2010     Forest Laboratories, Inc.
      License Agreement (CLEAN 2).doc
      2009-11-06 Draft Mylan Settlement and
501   License Agreement (TRACK CHANGES              2/12/2010     Forest Laboratories, Inc.
      2).doc
502   Namenda FY11 Strat Ops v.9.ppt                2/15/2010     Christine Huelster
503   FW: Namenda: Commercial Success Data          2/16/2010     eric agovino                melanie rupert, shane cortesi
      Re: Namenda--Plaintiffs' Findings of Fact
504                                                 2/16/2010     charles ryan                eric agovino
      and Conclusions of Law
505   Namenda FY11 Strat Ops v 9.ppt                2/16/2010     Christine Huelster
506   Namenda FY11 Strat Ops v.11.ppt               2/16/2010     Christine Huelster
507   Namenda FY11 Strat Ops v.10.ppt               2/16/2010     Christine Huelster
508   Fw: Forest/Mylan                              2/16/2010     gerald flattmann            charles ryan, david solomon, eric agovino
509   RE: Namenda: Commercial Success Data          2/16/2010     kevin haney                 eric agovino
510   Namenda FY11 Strat Ops v 9.ppt                2/16/2010     Christine Huelster
511   FW: Namenda: Commercial Success Data          2/16/2010     eric agovino                kevin haney



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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date                Author                               All Recipients

512   Fw: Namenda: Commercial Success Data        2/16/2010     shane cortesi              eric agovino, melanie rupert
      Final Namenda FY11 Strat Ops
513                                               2/17/2010     Christine Huelster
      02.16.10.ppt
                                                                charles ryan, eric         gerald j flattmann jr <gflattmann@kirkland.com>,
514   Mylan Standstill Agreement                  2/17/2010
                                                                agovino                    melanie rupert
515   FW: Forest/Mylan                            2/17/2010     david solomon              rachel mears
516   RE: Forest/Mylan                            2/17/2010     kira schwartz              herschel weinstein
517   RE: Forest/Mylan                            2/17/2010     kira schwartz              herschel weinstein
518   Namenda FY11 Strat Ops v.11.ppt             2/17/2010     Christine Huelster
      Final Namenda FY11 Strat Ops 02 16
519                                               2/17/2010     Christine Huelster
      10.ppt
      Final Namenda FY11 Strat Ops
520                                               2/19/2010     Christine Huelster
      02.16.10.ppt
521   Memantine expert deposition summary         2/19/2010     eric agovino               charles ryan
522   Fw: Draft Complaint                         2/19/2010     charles ryan               david solomon, herschel weinstein
523   Draft_Complaint.DOC                         2/19/2010     no Author
524   Memantine expert deposition summary         2/19/2010     eric agovino               charles ryan
525   T4 Presentation v7.ppt                      2/19/2010     Christine Huelster
526   RE: Draft Complaint                         2/19/2010     eric agovino               michael sohn
527   FW: Draft Complaint                         2/19/2010     eric agovino               charles ryan, michael sohn
528   RE: Draft Complaint                         2/19/2010     eric agovino               michael sohn
      Final Namenda FY11 Strat Ops,
529                                               2/19/2010     Christine Huelster
      Edited.ppt
530   FW: Draft Complaint                         2/19/2010     eric agovino               charles ryan, michael sohn
531   RE: Draft Complaint                         2/19/2010     michael sohn               eric agovino
532   Re: Draft Complaint                         2/22/2010     f. dominic cerrito         eric agovino
533   Draft Complaint                             2/22/2010     eric agovino               charles ryan, f. dominic cerrito, patrick jochum
534   RE: Draft Complaint                         2/22/2010     eric agovino               f. dominic cerrito
535   RE: Draft Complaint                         2/22/2010     eric agovino               f. dominic cerrito


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                               All Recipients
      FW: Namenda--Findings of
536                                                2/22/2010     eric agovino               emily wolkoff
      Fact/Conclusions of Law
      RE: Namenda--Findings of                                                              charles ryan, eric stops, evan diamond, f. dominic cerrito,
537                                                2/22/2010     eric agovino
      Fact/Conclusions of Law                                                               gerald flattmann, melanie rupert, patrick jochum

      RE: Namenda--Findings of                                                              charles ryan, eric stops, evan diamond, f. dominic cerrito,
538                                                2/22/2010     eric agovino
      Fact/Conclusions of Law                                                               gerald flattmann, melanie rupert, patrick jochum
539   Re: Draft Complaint                          2/22/2010     f. dominic cerrito         eric agovino
540   Draft_Complaint.DOC                          2/22/2010     no Author
541   RE: Updated Trial Responsibilities           2/23/2010     eric agovino               melanie rupert
542   Updated Trial Responsibilities               2/23/2010     melanie rupert             charles ryan, eric agovino, gerald flattmann
      RE: Namenda--Findings of
543                                                2/23/2010     evan diamond               eric agovino, melanie rupert
      Fact/Conclusions of Law
      RE: Namenda--Findings of
544                                                2/23/2010     eric agovino               evan diamond, melanie rupert
      Fact/Conclusions of Law
                                                                                            charles ryan, eric agovino, eric stops, evangeline shih, f.
      Namenda: Objection to Mylan Expert
545                                                2/23/2010     shane cortesi              dominic cerrito, gerald flattmann, melanie rupert, patrick
      Lists
                                                                                            jochum
      General Objections to Mylan Expert
      Witness
546                                                2/23/2010     Anna Brandl
      List_(PALIB1_3889616_2).DOC_(163035
      87_2).DOC
547   RE: Updated Trial Responsibilities           2/23/2010     eric agovino               melanie rupert
      RE: Namenda--Findings of
548                                                2/23/2010     eric agovino               evan diamond, melanie rupert
      Fact/Conclusions of Law
      RE: Namenda: Objection to Mylan Expert
549                                                2/23/2010     eric agovino               shane cortesi
      Lists
      RE: Namenda: Objection to Mylan Expert
550                                                2/23/2010     eric agovino               shane cortesi
      Lists




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                               All Recipients
                                                                                            charles ryan, eric agovino, eric stops, evangeline shih, f.
      Namenda: Objection to Mylan Expert
551                                                2/23/2010     shane cortesi              dominic cerrito, gerald flattmann, melanie rupert, patrick
      Lists
                                                                                            jochum
552   RE: Board of Directors Meeting               2/24/2010     eric agovino               charles ryan
      Litigation Status Report March 8, 2010
553                                                2/24/2010     no Author
      (DRAFT).doc
                                                                                            andres sawicki, charles ryan, eric agovino, eric stops,
      Fw: Forest Labs. v. Lupin Pharms.
554                                                2/24/2010     melanie rupert             evan diamond, f. dominic cerrito, gerald flattmann, max
      08cv021 GMS-LPS
                                                                                            morgan, shane cortesi
      Namenda--Memorandum re Antitrust                                                      charles ryan, eric agovino, gerald flattmann, melanie
555                                                2/25/2010     ryan coletti
      Claims in Mylan's Draft Complaint                                                     rupert
      2010.02.25 Memo from R. Coletti to C.
556                                                2/25/2010     rcoletti
      Ryan.doc_(16325584_4).DOC
      Namenda--Memorandum re Antitrust                                                      charles ryan, eric agovino, gerald flattmann, melanie
557                                                2/25/2010     ryan coletti
      Claims in Mylan's Draft Complaint                                                     rupert
      Re: Namenda--Findings of Fact and
558                                                3/1/2010      evan diamond               charles ryan
      Conclusions of Law
                                                                                            david solomon, elaine hochberg, frank murdolo, frank
559   no Title                                     3/1/2010      charles ryan               perier, herschel weinstein, howard solomon, lawrence
                                                                                            olanoff, marco taglietti, william meury
                                                                                            david solomon, elaine hochberg, frank murdolo, frank
560   Memantine Litigation Update                  3/1/2010      charles ryan               perier, herschel weinstein, howard solomon, lawrence
                                                                                            olanoff, marco taglietti, william meury
                                                                                            david solomon, elaine hochberg, frank murdolo, frank
561   Memantine Litigation Update                  3/1/2010      charles ryan               perier, herschel weinstein, howard solomon, lawrence
                                                                                            olanoff, marco taglietti, william meury
      Final Namenda FY11 Strat Ops 02 16
562                                                3/2/2010      Christine Huelster
      10.ppt
      Final Namenda FY11 Strat Ops 02 16
563                                                3/2/2010      Christine Huelster
      10.ppt
      HS Namenda FY11 Strat Ops 03.15.10
564                                                3/3/2010      Christine Huelster
      v.1.ppt


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                                All Recipients
                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito,
      Opposition to Mylan's Motion re
565                                                3/4/2010      andres sawicki             gerald flattmann, jack b.blumenfeld, melanie rupert,
      Malinow
                                                                                            patrick jochum
566   RE: Settlement Agreement                     3/4/2010      eric agovino               charles ryan
      Litigation Status Report for Board
567                                                3/4/2010      FBROWN
      Meeting 3.8.10 v.2 3.3.10.doc
568   No Subject-538.EML                           3/4/2010      eric agovino               evan diamond, melanie rupert
569   PTE                                          3/4/2010      adda gogoris               charles ryan
      RE: NAMENDAÃ‚Â® Patent Term                                                           adda gogoris, charles ryan, f. dominic cerrito, gerald
570                                                3/4/2010      g. patrick sage
      Extension Request                                                                     flattmann, patrick jochum, stephan guertler
      Chronology of Namenda Regulatory
571                                                3/4/2010      no Author
      Review (Ex. J).PDF
                                                                                            charles ryan, dianna goldenson, f. dominic cerrito, g.
      RE: AW: NAMENDAÃ‚Â® Patent Term
572                                                3/4/2010      adda gogoris               patrick sage, gerald flattmann, patrick jochum, stephan
      Extension Request
                                                                                            guertler
      NAMENDAÃ‚Â® Patent Term Extension                                                     adda gogoris, charles ryan, f. dominic cerrito, gerald
573                                                3/4/2010      g. patrick sage
      Request                                                                               flattmann, patrick jochum, stephan guertler
      ADVISE PARTNERS OF USPTO
574                                                3/4/2010      G. Patrick Sage
      DETERMINATION.pdf
                                                                                            adda gogoris, charles ryan, dianna goldenson, f. dominic
575   No Subject-14.EML                            3/4/2010      g. patrick sage            cerrito, gerald flattmann, patrick jochum, stephan
                                                                                            guertler
      FW: Namenda--Draft PTE/Antitrust
576                                                3/5/2010      eric agovino               charles ryan
      presentation slides
      DRAFT Slides for Namenda Client
577   Presentation re Antitrust                    3/5/2010      IT
      issues.v.2.pptx_(16371987_4).PPT
578   Re: Forest/Privileged and Confidential       3/5/2010      eric agovino               melanie rupert
      Namenda--Draft PTE/Antitrust                                                          eric agovino, gerald flattmann, melanie rupert, ryan
579                                                3/5/2010      evan diamond
      presentation slides                                                                   coletti




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                               All Recipients
      DRAFT Slides for Namenda Client
580   Presentation re Antitrust                    3/5/2010      IT
      issues.v.2.pptx_(16371987_4).PPT
581   For our discussion at 3:30pm                 3/5/2010      eric agovino               charles ryan
      Namenda IND Due Diligence
582                                                3/5/2010      ediamond
      Timeline.pdf
                                                                                            eric agovino, evan diamond, melanie rupert, michael
583   RE: Forest/Privileged and Confidential       3/6/2010      ryan coletti
                                                                                            sohn
      DRAFT Slides for Namenda Client
584   Presentation re Antitrust                    3/6/2010      IT
      issues.v.2.pptx_(16371987_6).PPT
      FW: Forest/Privileged and Confidential--                                              arthur golden, eric agovino, evan diamond, joel cohen,
585                                                3/7/2010      michael sohn
      Antitrust and Settlement Slides                                                       justin sommers, melanie rupert, ryan coletti
586   forest.settlement.ppt                        3/7/2010      msohn
587   [Unnamed Presentation]                       3/7/2010      msohn
588   [Unnamed Presentation]                       3/7/2010      msohn
589   forest.antitrust.ppt                         3/7/2010      msohn
      Slides for Namenda Client Presentation
590   re Antitrust issues v 2                      3/8/2010      IT
      pptx_(16371987_7).PPT
591   Revised Namenda PTE slides                   3/8/2010      evan diamond               eric agovino, john desmarais, melanie rupert
      DRAFT Slides for Namenda Client
592   Presentation re Antitrust                    3/8/2010      IT
      issues.v.2.pptx_(16371987_7).PPT
      RE: Pharmaceuticals - Generic Industry
                                                                                            david solomon, eric agovino, frank murdolo, frank perier,
593   Overview and Patent Case Reviews -           3/8/2010      charles ryan
                                                                                            herschel weinstein, lawrence olanoff
      COWEN RESEARCH NOTE DISTRIBUTION
594   Fw: Draft Memantine release                  3/8/2010      rachel mears               charles ryan, david solomon, frank murdolo
595   Re: Draft Memantine release                  3/8/2010      rachel mears               david solomon
      RE: Forest/Privileged and Confidential--
596                                                3/8/2010      justin sommers             arthur golden, eric agovino, michael sohn
      Antitrust and Settlement Slides


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                               All Recipients

597   forest.antitrust.settlement.merged.PPT       3/8/2010      msohn
598   FW: Forest/Privileged and Confidential       3/8/2010      eric agovino               f. dominic cerrito
      DRAFT Slides for Namenda Client
599   Presentation re Antitrust                    3/8/2010      IT
      issues.v.2.pptx_(16371987_6).PPT
      RE: Pharmaceuticals - Generic Industry
                                                                                            david solomon, eric agovino, frank murdolo, frank perier,
600   Overview and Patent Case Reviews -           3/8/2010      charles ryan
                                                                                            herschel weinstein, lawrence olanoff
      COWEN RESEARCH NOTE DISTRIBUTION
601   Fw: Draft Memantine release                  3/8/2010      rachel mears               charles ryan, david solomon, frank murdolo
      Orchid Pharma - Memantine - Forest
602                                                3/8/2010      Ch Ram
      Labs settlement
603   FW: Draft Memantine release                  3/8/2010      david solomon              rachel mears
604   FW: Draft Memantine release                  3/8/2010      david solomon              rachel mears
      RE: Forest/Privileged and Confidential--                                              arthur golden, evan diamond, joel cohen, justin
605                                                3/8/2010      eric agovino
      Antitrust and Settlement Slides                                                       sommers, melanie rupert, michael sohn, ryan coletti
606   RE: Draft Memantine release                  3/8/2010      frank murdolo              charles ryan, david solomon, rachel mears
607   Re: Draft Memantine release                  3/8/2010      charles ryan               david solomon, frank murdolo, rachel mears
608   Fw: FINAL PTE presentation                   3/8/2010      melanie rupert             eric agovino
      DRAFT Slides for Namenda Client
609   Presentation re Antitrust                    3/8/2010      IT
      issues.v.2.pptx_(16371987_7).PPT
610   forest antitrust settlement merged.PPT       3/8/2010      msohn
      RE: Forest/Privileged and Confidential--
611                                                3/8/2010      eric agovino               michael sohn
      Antitrust and Settlement Slides
612   Re: Draft Memantine release                  3/8/2010      charles ryan               david solomon, frank murdolo, rachel mears
613   RE: Draft Memantine release                  3/8/2010      frank murdolo              charles ryan, david solomon, rachel mears
614   FW: Draft Memantine release                  3/9/2010      rachel mears               eric agovino
615   Orchid settlement agreement                  3/9/2010      eric agovino               charles ryan, patrick jochum




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                                All Recipients
      EXECUTION COPY Orchid Settlement and
616                                                3/9/2010      no Author
      License Agreement.DOC
617   RE: Draft Memantine release                  3/9/2010      eric agovino               rachel mears
618   FW: Draft Memantine release                  3/9/2010      rachel mears               eric agovino
619   FW: Draft Memantine release                  3/9/2010      rachel mears               eric agovino
620   RE: Draft Memantine release                  3/9/2010      eric agovino               rachel mears
      SIT ANAL only (no product sit) Namenda
621                                                3/10/2010     fmoser
      FY11_3 4 js comments.doc
      RE: Forest v. Lupin Distribution - Oral
      Order Scheduling Pretrial Conference for
622                                                3/10/2010     john desmarais             charles ryan
      2010.03.16 [No Doc. Attached-Dkt Txt
      Only] - ENTERED 03/10/10
                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito,
      Opposition to Mylan's Motion to Strike
623                                                3/11/2010     andres sawicki             gerald flattmann, jack b.blumenfeld, melanie rupert,
      Dr. Malinow's Supplemental Report
                                                                                            patrick jochum
      REVISED Forest Response to Mylan's
624   Motion to Exclude                            3/11/2010     kaspindl
      Malinow_(16372760_5).DOC
625   FW: Orchid settlement agreement              3/11/2010     eric agovino               emily wolkoff
      Forest/Mylan/ privileged and
626   confidential draft 8-K in the event of       3/11/2010     michael sohn               arthur golden, herschel weinstein, justin sommers
      filing by Mylan
627   AW: Orchid settlement agreement              3/11/2010     patrick jochum             charles ryan, eric agovino
628   FW: Mylan Term Sheet                         3/14/2010     robert carnevale           david solomon, rachel mears
629   Mylan Deal Concept 1-20-10.doc               3/14/2010     David Solomon
630   FW: Mylan Term Sheet                         3/14/2010     robert carnevale           david solomon, rachel mears
631   Mylan Deal Concept 1-20-10.doc               3/14/2010     David Solomon
632   Lexapro                                      3/15/2010     robert carnevale           david solomon, michael sohn, rachel mears
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
633                                                3/16/2010     eric agovino               charles ryan, gerald flattmann, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010


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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                               All Recipients
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
634                                               3/16/2010     melanie rupert             charles ryan, eric agovino, gerald flattmann
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
635                                               3/16/2010     eric agovino               charles ryan, gerald flattmann, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
636                                               3/16/2010     herschel weinstein         charles ryan
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Fw: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
637                                               3/16/2010     melanie rupert             charles ryan, eric agovino, gerald flattmann
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
638   Mylan agreement                             3/16/2010     eric agovino               charles ryan
      2010-03-16 Draft Mylan Settlement and
639   License Agreement (TRACK                    3/16/2010     no Author
      CHANGES).doc
640   Lexapro Medicaid Analysis                   3/16/2010     robert carnevale           david solomon, michael sohn, rachel mears
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
641                                               3/16/2010     gerald flattmann           charles ryan, eric agovino, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Fw: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
642                                               3/16/2010     melanie rupert             charles ryan, eric agovino, gerald flattmann
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010




                                                                       38
                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                               All Recipients
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
643                                               3/16/2010     eric agovino               charles ryan, gerald flattmann, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
644   FW: Orchid Agreement                        3/16/2010     robert carnevale           david solomon, herschel weinstein, rachel mears
645   RE: Lexapro                                 3/16/2010     robert carnevale           david solomon, michael sohn, rachel mears
      FW: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
646                                               3/16/2010     charles ryan               david solomon, herschel weinstein
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
647                                               3/16/2010     eric agovino               charles ryan, gerald flattmann, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
648   FW: Orchid Agreement                        3/16/2010     robert carnevale           david solomon, herschel weinstein, rachel mears
649   Re: Draft Mylan settlement agreement        3/17/2010     eric agovino               melanie rupert
650   Re: Draft Mylan settlement agreement        3/17/2010     melanie rupert             eric agovino
651   Re: Draft Mylan settlement agreement        3/17/2010     melanie rupert             charles ryan, eric agovino, john desmarais
      3_16_10 MRR Comments to Forest
652   Settlement                                  3/17/2010     mrupert
      Agreement_(16474759_1).DOC
653   Draft Mylan settlement agreement            3/17/2010     eric agovino               charles ryan, david solomon
654   Draft Mylan settlement agreement            3/17/2010     eric agovino               charles ryan, john desmarais, melanie rupert
      Final Namenda FY11 Strat Ops 02 16
655                                               3/17/2010     Christine Huelster
      10.ppt
656   Re: Draft Mylan settlement agreement        3/17/2010     eric agovino               melanie rupert
      RE: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
657                                               3/17/2010     charles ryan               eric agovino, gerald flattmann, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Final Namenda FY11 Strat Ops 02 16
658                                               3/17/2010     Christine Huelster
      10.ppt


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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                               All Recipients
659   Re: Draft Mylan settlement agreement         3/17/2010     melanie rupert             charles ryan, eric agovino, john desmarais
      Re: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
660                                                3/17/2010     gerald flattmann           charles ryan, eric agovino, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
      Final Namenda FY11 Strat Ops
661                                                3/17/2010     Christine Huelster
      02.16.10.ppt
      RE: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
662                                                3/17/2010     charles ryan               eric agovino, gerald flattmann, melanie rupert
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
                                                                                            david solomon, herschel weinstein, james finchen,
663   RE: Lexapro Generic Analysis                 3/18/2010     robert carnevale
                                                                                            michael sohn, rachel mears
664   RE: Draft Mylan settlement agreement         3/18/2010     eric agovino               charles ryan, david solomon, herschel weinstein
665   Re: Draft Mylan settlement agreement         3/18/2010     anne toker                 eric agovino
666   Re: Draft Mylan settlement agreement         3/18/2010     eric agovino               melanie rupert
667   Re: Draft Mylan settlement agreement         3/18/2010     anne toker                 eric agovino
668   RE: Draft Mylan settlement agreement         3/18/2010     eric agovino               anne toker, charles ryan, peter armenio
                                                                                            david solomon, herschel weinstein, james finchen,
669   Lexapro Generic Analysis                     3/18/2010     robert carnevale
                                                                                            michael sohn, rachel mears
670   RE: Draft Mylan settlement agreement         3/18/2010     anne toker                 eric agovino
671   RE: Draft Mylan settlement agreement         3/18/2010     eric agovino               anne toker
672   FW: Draft Mylan settlement agreement         3/18/2010     eric agovino               emily wolkoff
673   Re: Draft Mylan settlement agreement         3/18/2010     eric agovino               melanie rupert
674   Fw: Draft Mylan settlement agreement         3/18/2010     eric agovino               charles ryan
675   Re: Draft Mylan settlement agreement         3/18/2010     eric agovino               anne toker
676   RE: Draft Mylan settlement agreement         3/18/2010     eric agovino               anne toker, charles ryan, peter armenio
677   Fw: Draft Mylan settlement agreement         3/18/2010     herschel weinstein         joanne mentz
678   RE: Draft Mylan settlement agreement         3/18/2010     eric agovino               charles ryan, david solomon, herschel weinstein


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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                               All Recipients
679   RE: Draft Mylan settlement agreement        3/18/2010     anne toker                 eric agovino
680   RE: Draft Mylan settlement agreement        3/18/2010     eric agovino               anne toker
681   Fw: Draft Mylan settlement agreement        3/18/2010     eric agovino               charles ryan
682   Re: Draft Mylan settlement agreement        3/18/2010     eric agovino               anne toker
683   Re: Draft Mylan settlement agreement        3/18/2010     eric agovino               anne toker
684   Re: Draft Mylan settlement agreement        3/18/2010     eric agovino               anne toker
685   RE: Draft Mylan settlement agreement        3/18/2010     eric agovino               anne toker
686   RE: Draft Mylan settlement agreement        3/18/2010     eric agovino               anne toker
687   RE: Draft Mylan settlement agreement        3/18/2010     eric agovino               charles ryan, david solomon, herschel weinstein
688   FW: Draft Mylan settlement agreement        3/18/2010     eric agovino               emily wolkoff
      Fw: Forest v. Lupin Distribution - Folt
      Letter to Judge Sleet re Keeping Trial
689                                               3/18/2010     charles ryan               eric agovino
      Date and Updating Status on Settlement
      Talks - FILED 03/16/2010
690   Re: Draft Mylan settlement agreement        3/18/2010     melanie rupert             eric agovino
691   Re: Draft Mylan settlement agreement        3/18/2010     anne toker                 charles ryan, eric agovino, peter armenio
692   Re: Draft Mylan settlement agreement        3/18/2010     peter armenio              anne toker, charles ryan, eric agovino
693   Re: Draft Mylan settlement agreement        3/19/2010     peter armenio              charles ryan
694   RE: Draft Mylan settlement agreement        3/19/2010     david solomon              charles ryan, eric agovino, herschel weinstein
695   RE: Draft Mylan settlement agreement        3/19/2010     david solomon              charles ryan, eric agovino, herschel weinstein
696   RE: Draft Mylan settlement agreement        3/19/2010     charles ryan               peter armenio
697   RE: Draft Mylan settlement agreement        3/19/2010     charles ryan               peter armenio
698   Re: Draft Mylan settlement agreement        3/20/2010     charles ryan               peter armenio
699   RE: Draft Mylan settlement agreement        3/20/2010     peter armenio              charles ryan
      Final Namenda FY11 Strat Ops 02 16
700                                               3/22/2010     Christine Huelster
      10.ppt
701   RE: FW: Timing                              3/22/2010     melanie rupert             eric agovino, gerald flattmann
                                                                                           charles ryan, david solomon, herschel weinstein, rachel
702   FW: Memantine                               3/23/2010     eric agovino
                                                                                           mears, robert carnevale




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                                All Recipients
      FW: Forest Insurance Liability Renewal                                                 charles ryan, eric agovino, jennifer fehrman, michael
703                                                3/23/2010     theresa fico
      FY2011 (patent question)                                                               ciraolo, sandra arias
704   Fw: Namenda Stipulation                      3/23/2010     melanie rupert              eric agovino, gerald flattmann
                                                                                             charles ryan, david solomon, herschel weinstein, rachel
705   FW: Memantine                                3/23/2010     eric agovino
                                                                                             mears, robert carnevale
      Fw: Forest v. Lupin Distribution - Reply
      to Plaintiffs' Opposition to Mylan's MTS
706                                                3/23/2010     melanie rupert              charles ryan, eric agovino, gerald flattmann
      the Suppl. Expert Report of R. Malinow -
      FILED 03/22/2010
      Fw: Forest v. Lupin Distribution - Reply
      to Plaintiffs' Opposition to Mylan's MTS
707                                                3/23/2010     melanie rupert              charles ryan, eric agovino, gerald flattmann
      the Suppl. Expert Report of R. Malinow -
      FILED 03/22/2010
708   Summary of settlement agreements.xls         3/24/2010     Forest Laboratories, Inc.
709   AW: AW: Memantine                            3/24/2010     patrick jochum              eric agovino
710   AW: Memantine                                3/24/2010     patrick jochum              eric agovino
711   Re: AW: AW: AW: Memantine                    3/24/2010     eric agovino                patrick jochum
712   Re: AW: AW: Memantine                        3/24/2010     eric agovino                patrick jochum
713   AW: AW: AW: Memantine                        3/24/2010     patrick jochum              eric agovino
714   FW: Memantine                                3/24/2010     eric agovino                michael sohn
715   AW: Re: AW: AW: AW: Memantine                3/24/2010     patrick jochum              eric agovino
716   Re: AW: Memantine                            3/24/2010     eric agovino                patrick jochum
717   RE: Memantine Litigation Settlement          3/25/2010     charles ryan                elaine hochberg
718   [Unnamed Presentation]                       3/25/2010     no Author
719   [Unnamed Presentation]                       3/25/2010     no Author
720   [Unnamed Presentation]                       3/25/2010     no Author
      FW: U.S. Food & Drug Administration
721                                                3/25/2010     eric agovino                charles ryan, gerald flattmann, melanie rupert
      (FDA) Daily Digest Bulletin
                                                                                             charles ryan, david solomon, eric agovino, frank perier,
722   RE: Memantine Litigation Settlement          3/25/2010     elaine hochberg
                                                                                             herschel weinstein, howard solomon, lawrence olanoff



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                      Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                               All Recipients
723   [Unnamed Presentation]                      3/25/2010     no Author
724   RE: Memantine Litigation Settlement         3/25/2010     david solomon              elaine hochberg
                                                                                           charles ryan, david solomon, eric agovino, frank perier,
725   RE: Memantine Litigation Settlement         3/25/2010     elaine hochberg
                                                                                           herschel weinstein, howard solomon, lawrence olanoff
726   RE: Memantine Litigation Settlement         3/25/2010     charles ryan               elaine hochberg
                                                                                           charles ryan, david solomon, eric agovino, frank perier,
727   RE: Memantine Litigation Settlement         3/25/2010     elaine hochberg
                                                                                           herschel weinstein, howard solomon, lawrence olanoff
728   RE: Memantine Litigation Settlement         3/25/2010     howard solomon             charles ryan
729   RE: Memantine Litigation Settlement         3/25/2010     david solomon              elaine hochberg
730   [Unnamed Presentation]                      3/25/2010     no Author
731   RE: Memantine Litigation Settlement         3/25/2010     howard solomon             charles ryan
732   AW: Memantine                               3/25/2010     patrick jochum             eric agovino
      FW: U.S. Food & Drug Administration
733                                               3/25/2010     eric agovino               charles ryan, gerald flattmann, melanie rupert
      (FDA) Daily Digest Bulletin
734   AW: Memantine                               3/25/2010     patrick jochum             eric agovino
735   RE: Memantine                               3/26/2010     eric agovino               justin sommers, michael sohn, rachel mears
736   [Unnamed Presentation]                      3/26/2010     no Author
737   [Unnamed Presentation]                      3/26/2010     no Author
738   RE: Memantine                               3/26/2010     michael sohn               eric agovino, justin sommers, rachel mears
739   [Unnamed Presentation]                      3/26/2010     no Author
740   RE: Memantine                               3/26/2010     michael sohn               eric agovino, justin sommers, rachel mears
741   [Unnamed Presentation]                      3/26/2010     no Author
742   RE: Namenda settlements                     3/30/2010     michael piacquadio         sylvia striker
743   RE: Merz invoices                           3/30/2010     eric agovino               erin valente, ken viola, michael piacquadio
744   RE: Final 2010 Form 10-K                    3/31/2010     eric agovino               charles ryan
745   Namenda settlement payments                 4/5/2010      eric agovino               ken viola, michael piacquadio
746   FW: Namenda settlement payments             4/5/2010      michael piacquadio         erin valente
747   [Unnamed Presentation]                      4/5/2010      S&H
      Memantine - PJA final changes to Mylan
748                                               4/16/2010     rebecca fogle              charles ryan, eric agovino, peter armenio
      settlement agreement


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                        Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                 Document Date               Author                               All Recipients
      2010-04-16 draft memantine settlement
749                                                 4/16/2010     no Author
      agreement.doc
      2010-04-16 PJA comments to Mylan
750                                                 4/16/2010     no Author
      settlement agreement.pdf
      Memantine - PJA final changes to Mylan
751                                                 4/16/2010     rebecca fogle              charles ryan, eric agovino, peter armenio
      settlement agreement
      RE: IP Law360: Litigation, Policy &
752                                                 4/29/2010     frank murdolo              charles ryan, eric agovino, jon garbo
      People News
      Re: Orchid settles Litigation with Forest                                              eric agovino, frank murdolo, frank perier, herschel
753                                                 4/29/2010     charles ryan
      Laboratories for Memantine Tablets                                                     weinstein, lawrence olanoff
      RE: IP Law360: Litigation, Policy &
754                                                 4/29/2010     jon garbo                  charles ryan, eric agovino, frank murdolo
      People News
      RE: IP Law360: Litigation, Policy &
755                                                 4/29/2010     frank murdolo              charles ryan, eric agovino, jon garbo
      People News
      RE: IP Law360: Litigation, Policy &
756                                                 4/29/2010     jon garbo                  charles ryan, eric agovino, frank murdolo
      People News
757   RE: Namenda settlement payments               5/4/2010      michael piacquadio         eric agovino
758   RE: Namenda settlement payments               5/4/2010      eric agovino               michael piacquadio
759   RE: Litigation                                5/5/2010      eric agovino               jennifer fehrman
760   RE: Litigation                                5/5/2010      eric agovino               jennifer fehrman
761   RE: Litigation                                5/5/2010      jennifer fehrman           eric agovino
762   Litigation                                    5/5/2010      jennifer fehrman           eric agovino
763   Memantine                                     5/6/2010      eric agovino               frank murdolo
764   RE: Namenda settlement payments               5/6/2010      rita weinberger            ken viola, sylvia striker
765   RE: Memantine                                 5/6/2010      frank murdolo              eric agovino
766   FW: Namenda settlement payments               5/6/2010      ken viola                  rita weinberger
767   RE: Namenda settlement payments               5/6/2010      rita weinberger            ken viola, sylvia striker
768   FW: Namenda settlement payments               5/7/2010      ken viola                  michael piacquadio, nandranie singh, victoria dejesus
769   RE: Namenda settlement payments               5/7/2010      ken viola                  rita weinberger




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                                All Recipients

                                                                                             dan goldwasser, geocoh@aol.com, howard solomon, ken
      May 17, 2010 Board of Directors
                                                                                             goodman, lawrence olanoff, lessalans@att.net,
770   Meeting; Litigation Update and Other         5/13/2010     herschel weinstein
                                                                                             nbasgoz@partners.org, pzimetba@bidmc.harvard.edu,
      Matters
                                                                                             wcandee@optonline.com

771   Item 3 - Legal Proceedings 5.12.10.doc       5/13/2010     Forest Laboratories, Inc.
772   2010-05-26 NAMENDA XR meeting.ppt            5/25/2010     Registered User
773   2010-06-11 NAMENDA XR meeting.ppt            5/27/2010     Registered User
      Revised 2010-06-11 NAMENDA XR
774                                                6/10/2010     Registered User
      meeting v.3.ppt
      Fw: Revised slides/forecast for Namenda
775                                                6/11/2010     nikhil nayak                june bray
      XR meeting
      Final Namenda XR Launch Options 2010-
776                                                6/11/2010     Registered User
      06-11.ppt
      RE: Revised slides/forecast for Namenda
777                                                6/11/2010     eric agovino                charles ryan, eric agovino, nikhil nayak, william meury
      XR meeting
778   NAMENDA Patent Litigation Settled            7/21/2010     eric agovino                charles ryan
779   NAMENDA Patent Litigation Settled            7/21/2010     eric agovino                charles ryan
                                                                                             charles ryan, david solomon, frank murdolo, frank perier,
780   Re: NAMENDA Patent Litigation Settled        7/22/2010     elaine hochberg             herschel weinstein, howard solomon, lawrence olanoff,
                                                                                             marco taglietti, william meury
                                                                                             charles ryan, david solomon, frank murdolo, frank perier,
781   Re: NAMENDA Patent Litigation Settled        7/22/2010     elaine hochberg             herschel weinstein, howard solomon, lawrence olanoff,
                                                                                             marco taglietti, william meury
                                                                                             charles ryan, david solomon, elaine hochberg, frank
782   RE: NAMENDA Patent Litigation Settled        7/22/2010     marco taglietti             murdolo, frank perier, herschel weinstein, howard
                                                                                             solomon, lawrence olanoff, william meury
                                                                                             david solomon, elaine hochberg, frank murdolo, frank
783   NAMENDA Patent Litigation Settled            7/22/2010     charles ryan                perier, herschel weinstein, howard solomon, lawrence
                                                                                             olanoff, marco taglietti, william meury




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                       Ex. 1 - Documents highly likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date                Author                               All Recipients
                                                                                            charles ryan, david solomon, elaine hochberg, frank
784   RE: NAMENDA Patent Litigation Settled        7/22/2010     marco taglietti            murdolo, frank perier, herschel weinstein, howard
                                                                                            solomon, lawrence olanoff, william meury
                                                                                            david solomon, elaine hochberg, frank murdolo, frank
785   NAMENDA Patent Litigation Settled            7/22/2010     charles ryan               perier, herschel weinstein, howard solomon, lawrence
                                                                                            olanoff, marco taglietti, william meury
      Litigation Status Report December 7,
786                                                7/28/2010     no Author
      2009.doc
      Litigation Status Report for Board
787                                                7/28/2010     FBROWN
      Meeting 3.8.10 3.3.10.doc
      Litigation Status Report for Board
788                                                7/28/2010     FBROWN
      Meeting 3.8.10 v.2 3.3.10.doc
      Litigation Status Report December 7,
789                                                7/28/2010     no Author
      2009.doc
      Litigation Status Report for Board
790                                                7/28/2010     FBROWN
      Meeting 3.8.10 v.2 3.3.10.doc
      Litigation Status Report December 7,
791                                                7/28/2010     no Author
      2009 v.2.doc
      Litigation Status Report for Board
792                                                7/28/2010     FBROWN
      Meeting 3.8.10 3.3.10.doc
      RE: Board of Directors Meeting; August
793                                                7/29/2010     eric agovino               charles ryan, jennifer fehrman
      9, 2010
      Litigation Status Report for Board
794                                                7/29/2010     FBROWN
      Meeting (EMA edits).doc
795   june 2010 10q bod and certs draft.pdf        8/4/2010      rweinber
                                                                                            dan goldwasser, frank perier, geocoh@aol.com, howard
      Board of Directors Meeting; Litigation                                                solomon, ken goodman, lawrence olanoff,
796                                                8/5/2010      herschel weinstein
      Status Report                                                                         lessalans@att.net, nbasgoz@partners.org,
                                                                                            pzimetba@bidmc.harvard.edu, wcandee@optonline.com




                                                                        46
Exhibit 2
                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                Document Date               Author                                All Recipients
1     RE: Namenda patent expiry                   10/11/2007      eric agovino              charles triano
2     MerzAssignment.doc                          10/12/2007      dharris
      Namenda Pre-Litigation
3                                                 10/15/2007      IT
      Timeline_(12155819_1).DOC
                                                                                            charles triano, david solomon, debra marchese, elaine
4     no Title                                    10/15/2007      charles ryan              hochberg, frank perier, herschel weinstein, howard
                                                                                            solomon, ivan gergel, lawrence olanoff, william meury
      Namenda Pre-Litigation
5                                                 10/15/2007      IT
      Timeline_(12155819_1) (2).DOC
6     Cobalt's Paragraph IV notice letter         10/19/2007      eric agovino              charles ryan
      Re: AW: Cobalt paragraph IV notice                                                    charles ryan, eric agovino, f. dominic cerrito, g. patrick
7                                                 10/19/2007      ellen scordino
      letter                                                                                sage, gerald flattmann, patrick jochum, stephan guertler
                                                                                            charles triano, david solomon, debra marchese, elaine
                                                                                            hochberg, frank perier, herschel weinstein, howard
8     Second ANDA Challenge for Memantine         10/22/2007      charles ryan
                                                                                            solomon, ivan gergel, lawrence olanoff, marco taglietti,
                                                                                            william meury
                                                                                            charles ryan, ellen scordino, eric agovino, f. dominic
9     Re: Para IV notification by Actavis LLC.    10/22/2007      gerald flattmann          cerrito, g. patrick sage, martin zuegel, patrick jochum,
                                                                                            stephan guertler
                                                                                            charles triano, david solomon, debra marchese, elaine
                                                                                            hochberg, frank perier, herschel weinstein, howard
10    Second ANDA Challenge for Memantine         10/22/2007      charles ryan
                                                                                            solomon, ivan gergel, lawrence olanoff, marco taglietti,
                                                                                            william meury
      Memo re Actavis Paragrah IV
11                                                10/22/2007      IT
      Notice.DOC
                                                                                            charles ryan, ellen scordino, eric agovino, f. dominic
12    Para IV notification by Actavis LLC.        10/22/2007      patrick jochum            cerrito, g. patrick sage, gerald flattmann, martin zuegel,
                                                                                            stephan guertler




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                 Document Date              Author                                 All Recipients
                                                                                              charles triano, david solomon, debra marchese, elaine
                                                                                              hochberg, frank perier, herschel weinstein, howard
13    no Title                                     10/22/2007     charles ryan
                                                                                              solomon, ivan gergel, lawrence olanoff, marco taglietti,
                                                                                              william meury
                                                                                              charles ryan, ellen scordino, eric agovino, f. dominic
14    Re: Para IV notification by Actavis LLC.     10/22/2007     gerald flattmann            cerrito, g. patrick sage, martin zuegel, patrick jochum,
                                                                                              stephan guertler
15    Actavis Para IV Memo-Final.doc               10/23/2007     no Author
16    Namenda Litigation Timeline.DOC              10/24/2007     IT
17    Actionitems102907.doc                        10/30/2007     Forest Laboratories, Inc.
18    Merz                                         11/14/2007     lauren d'antuono            christopher meatto, wayne leblanc
      MERZ_ Master Case
19                                                 11/14/2007     IT
      File_(11917647_1).XLS
      Re: Forest Labs/Merz 40844-25
20                                                 11/16/2007     gerald flattmann            christopher meatto, melanie rupert, wayne leblanc
      Litigation
      Re: Forest Labs/Merz 40844-25
21                                                 11/16/2007     melanie rupert              christopher meatto, gerald flattmann, wayne leblanc
      Litigation
22    Forest Labs/Merz 40844-25 Litigation         11/16/2007     wayne leblanc               christopher meatto, gerald flattmann, wayne leblanc
23    Re: Fw: Merz: Notice Letters                 11/19/2007     melanie rupert              wayne leblanc
24    Fw: Merz: Notice Letters                     11/19/2007     melanie rupert              wayne leblanc
      40844-25 Forest Labs --2007-10-19
      Letter from Shah (Actavis) to Forest Labs
      and Merz Pharma re Paragraph IV Notice
25    re '703 Patent (5 mg and 10 mg), 2007-       11/19/2007     wayne leblanc               christopher meatto, wayne leblanc
      10-17 Letter from Rakoczy (Cobalt) to
      Forest Labs and Merz Pharma re
      Paragraph IV Notice re '703 Patent
26    Re: Merz: Notice Letters                     11/19/2007     melanie rupert              lauren d'antuono, wayne leblanc




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                                All Recipients

                                                                                              alexander greenberg, andres sawicki, christopher meatto,
      Forest Labs/Merz 40844-25 Reference
27                                                11/21/2007      wayne leblanc               elizabeth bernard, ellen scordino, gerald flattmann,
      information post meeting
                                                                                              lindsay propes, melanie rupert, wayne leblanc

                                                                                              alexander greenberg, andres sawicki, christopher meatto,
      Forest Labs/Merz 40844-25 Reference
28                                                11/21/2007      wayne leblanc               elizabeth bernard, ellen scordino, gerald flattmann,
      information post meeting
                                                                                              lindsay propes, melanie rupert, wayne leblanc
      Forest Labs/Merz 40844-25 Reference
29                                                11/21/2007      wayne leblanc               wayne leblanc
      information post meeting
                                                                                              alexander greenberg, andres sawicki, christopher meatto,
      Forest Labs/Merz 40844-25 Reference
30                                                11/21/2007      wayne leblanc               elizabeth bernard, ellen scordino, gerald flattmann,
      information post meeting
                                                                                              lindsay propes, melanie rupert, wayne leblanc
31    Litigation status update                    11/27/2007      eric agovino                charles ryan
32    Litigation Status Report v 2 8 9 07.DOC     11/27/2007      STOKES
                                                                                              alexander greenberg, andres sawicki, melanie rupert,
33    Fw: Teva Para IV Ltr - Received 11/30/07    11/30/2007      gerald flattmann
                                                                                              wayne leblanc
34    Teva para IV notice letter.doc               12/3/2007      Forest Laboratories, Inc.
35    12-18-07.ppt                                 12/3/2007      Charles Ryan
36    Teva paragraph IV notice letter              12/3/2007      eric agovino                charles ryan
37    Teva para IV notice letter.doc               12/3/2007      Forest Laboratories, Inc.
38    Teva paragraph IV digest.doc                 12/3/2007      IT
                                                                                              charles triano, david solomon, herschel weinstein,
39    Teva Paragraph IV letter for memantine       12/5/2007      charles ryan
                                                                                              howard solomon, lawrence olanoff
40    Teva para IV notice letter.doc               12/5/2007      Forest Laboratories, Inc.
      Fw: Teva Paragraph IV letter for
41                                                 12/5/2007      david solomon               ditra walsh
      memantine




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                  Document Date               Author                                 All Recipients

42    Teva para IV notice letter.doc                12/5/2007     Forest Laboratories, Inc.
43    Cobalt para IV notice letter                  12/7/2007     eric agovino                charles ryan
44    12-7-07 Para IV Memo-Final.doc                12/7/2007     no Author
      12_12_07 Client
45                                                  12/8/2007     installer
      Presentation_(12256742_8).PPT
      12_12_07 Client
46                                                  12/8/2007     installer
      Presentation_(12256742_8).PPT
      Fw: Letter to Teva Requesting ANDA,                                                     andres sawicki, charles ryan, eric agovino, eric stops, f.
47                                                 12/10/2007     gerald flattmann
      DMF, and API                                                                            dominic cerrito, patrick jochum
      DOCKET Fw: 40844-24 Namenda --2007-
      12-07 Letter from McCabe (for Barr
48    Labs) to Forest Labs and Merz Pharma:        12/10/2007     wayne leblanc               christopher meatto, joseph cali, wayne leblanc
      Paragraph IV Notice re '703 Patent (5mg
      and 10mg).
      Re: 40844-24 Namenda --2007-12-07
      Letter from McCabe (for Barr Labs) to
49    Forest Labs and Merz Pharma:                 12/10/2007     joseph cali                 wayne leblanc
      Paragraph IV Notice re '703 Patent (5mg
      and 10mg).
      Fw: Notification Pursuant to $ 505(j) (2)
50    (B)(ii) of the Federal Food, Drug, and       12/10/2007     gerald flattmann            alexander greenberg, andres sawicki, wayne leblanc
      Cosmetic Act
51    Agenda_Dec12_2007.doc                        12/10/2007     cs
52    Re: Merz                                     12/11/2007     gerald flattmann            wayne leblanc
53    Merz                                         12/11/2007     gerald flattmann            wayne leblanc
      DOCKET --Fw: 40844-25 --2007-12-07
      Letter from Reddy (Orchid) to Forest
54                                                 12/11/2007     wayne leblanc               christopher meatto, joseph cali, wayne leblanc
      Labs and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
55    Summary of Barr notice letter                12/11/2007     eric agovino                charles ryan


                                                                         4
                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients
56    12-11-07 Para IV Memo-Final.doc             12/11/2007     no Author
                                                                                           alexander greenberg, andres sawicki, melanie rupert,
57    Merz                                        12/12/2007     gerald flattmann
                                                                                           wayne leblanc
      Draft Namenda ANDA press release for
58                                                12/12/2007     charles triano            charles ryan, eric agovino, herschel weinstein
      review
59    Namenda Sharepoint                          12/12/2007     andres sawicki            wayne leblanc
      Draft Namenda ANDA press release for
60                                                12/12/2007     charles triano            charles ryan, eric agovino, herschel weinstein
      review
61    Namenda ANDA.doc                            12/12/2007     Forest Labs
      RE: Draft Namenda ANDA press release
62                                                12/12/2007     eric agovino              charles ryan, charles triano, herschel weinstein
      for review
63    Namenda ANDA.doc                            12/12/2007     Forest Labs
64    Fw: Namenda Sharepoint                      12/12/2007     wayne leblanc             christopher meatto, wayne leblanc
65    Forest-Merz Proposed Expert List.DOC        12/13/2007     HiddenParaMarker
66    Re: 40844-25 Namenda                        12/13/2007     melanie rupert            wayne leblanc
67    Agenda_September-Meetings.doc               12/13/2007     cs
      Re: 40844-25 Patents and file history to
68                                                12/13/2007     wayne leblanc             christopher meatto, wayne leblanc
      add to the database
      Re: 40844-25 Patents and file history to
69                                                12/13/2007     wayne leblanc             christopher meatto, wayne leblanc
      add to the database
70    40844-25 Namenda                            12/13/2007     wayne leblanc             melanie rupert, wayne leblanc
      40844-25 Patents and file history to add
71                                                12/13/2007     wayne leblanc             christopher meatto, wayne leblanc
      to the database
      Fw: 40844-25 Namenda --2007-12-12
      Letter from Mahoney (Upsher-Smith) to
72    Forest Labs and Merz Pharma: re             12/14/2007     wayne leblanc             christopher meatto, joseph cali, wayne leblanc
      Paragraph IV Notice re '703 Patent (5mg
      and 10mg).
      Fw: Memantine; Teva ANDA 90-052;                                                     alexander greenberg, gerald flattmann, melanie rupert,
73                                                12/14/2007     andres sawicki
      Kenyon Ref. 1907/A107US1                                                             wayne leblanc




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients

      40844-25 Namenda --2007-12-12 Letter
      from Mahoney (Upsher-Smith) to Forest
74                                                12/14/2007     wayne leblanc             #ny namenda
      Labs and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
75    Art cited by Orchid                         12/14/2007     andres sawicki            wayne leblanc
      Fw: Para IV Notification by Upsher-Smith
76                                                12/14/2007     melanie rupert            alexander greenberg, andres sawicki, wayne leblanc
      Laboratories
77    12-18-07MemIPPortfolio.ppt                  12/14/2007     Charles Ryan
78    Merz                                        12/17/2007     gerald flattmann          wayne leblanc
      Re: 40844-25 Binder containing Patents
79                                                12/17/2007     alexander greenberg       wayne leblanc
      and file histories
80    Re: Merz                                    12/17/2007     gerald flattmann          wayne leblanc
81    Re: 40844-25 Art cited by Orchid            12/18/2007     andres sawicki            wayne leblanc
      Fw: Barr Laboratories, ANDA Memantine
82                                                12/18/2007     gerald flattmann          wayne leblanc
      Hydrochloride
      Re: 40844-25 Binder containing Patents
83                                                12/18/2007     alexander greenberg       wayne leblanc
      and file histories
      Re: Reference pull request (40844-0025
84                                                12/18/2007     john fitzgerald           christopher meatto, wayne leblanc
      Forest Labs/Merz -Namenda)
      Kemp JA TIPS Trends in Pharma Sci 1987
85                                                12/18/2007     no Author
      MK-801 NMDA receptors.pdf
      Katzung Basic and Clinical Pharmacology
86                                                12/18/2007     no Author
      1989 p 4.pdf
      Wesemann W J Neural Transm Suppl
87                                                12/18/2007     no Author
      1980 Distribution and metabolism.pdf
      Wesemann W Arznetmittelforschung
88    Drug Res 1982 Effect of 1-                  12/18/2007     no Author
      aminoadamantanes.pdf
      Miltner Arzneimittelforschung Drug Res
89                                                12/18/2007     no Author
      1982 Wertigkeit.pdf




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                All Recipients
      FW: Barr Laboratories, ANDA
90                                               12/18/2007      pauline giglio            charles ryan
      Memantine Hydrochloride
      Re: Reference pull request (40844-0025
91                                               12/18/2007      john fitzgerald           christopher meatto, wayne leblanc
      Forest Labs/Merz -Namenda) - ref no 6
92    40844-0025                                 12/18/2007      UNKNOWN
93    Genpharm Para IV 12-17-07 ltr.PDF          12/18/2007      no Author
94    Wockhardt Para IV 12-14-07 ltr.PDF         12/18/2007      no Author
95    Mylan Para IV 12-17-07 ltr.PDF             12/18/2007      no Author
96    Lupin Para IV 12-13-07 ltr.PDF             12/18/2007      no Author
      Re: 40844-25 Binder containing Patents
97                                               12/18/2007      wayne leblanc             alexander greenberg, wayne leblanc
      and file histories
      40844-25 Namenda --2007-12-17 Letter
      from Knott (Genpharm) to Forest Labs
98                                               12/19/2007      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
      N.B.: 40844-25 Namenda --2007-12-13
      Letter from Ohly (Lupin) to Forest Labs
99                                               12/19/2007      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
                                                                                           alexander greenberg, christopher meatto, gerald
100   Re: 40844-0025 -Namenda Log                12/19/2007      wayne leblanc
                                                                                           flattmann, melanie rupert, wayne leblanc
101   Memantine Para IV Ltrs Log.doc             12/19/2007      lz
      Fw: From Charles Ryan - Memantine
102                                              12/19/2007      gerald flattmann          wayne leblanc
      Para IV letters 1 of 2
103   RE: Memantine Para IV Ltrs. Log            12/19/2007      lucy zamot                eric agovino
      40844-25 Namenda --2007-12-14 Letter
      from Khera (Wockhardt) to Forest Labs
104                                              12/19/2007      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).



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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      40844-25 Namenda --2007-12-14 Letter
      from Ohly (Lupin) to Forest Labs and
105                                              12/19/2007      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      Merz Pharma: re Paragraph IV Notice re
      '703 Patent (5mg and 10mg).
106   Namenda Log                                12/19/2007      melanie rupert            alexander greenberg, gerald flattmann, wayne leblanc
107   Memantine Para IV Ltrs Log.doc             12/19/2007      lz
108   Fw: Memantine Para IV Ltrs. Log            12/19/2007      gerald flattmann          wayne leblanc
                                                                                           andres sawicki, gerald flattmann, melanie rupert, wayne
109   Summaries                                  12/19/2007      alexander greenberg
                                                                                           leblanc
110   Things for Digging Up                      12/19/2007      christopher meatto        wayne leblanc
      40844-25 Namenda --2007-12-18 Letter
      from Heibel (Ranbaxy) to Forest Labs
111                                              12/19/2007      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
112   Upsher-Smith Paragraph IV Notice           12/19/2007      christopher meatto        lucy zamot, wayne leblanc
      RE: Barr Laboratories, ANDA Memantine
113                                              12/19/2007      lucy zamot                gerald flattmann
      Hydrochloride
                                                                                           alexander greenberg, andres sawicki, melanie rupert,
114   Fw: Para IV by Ranbaxy                     12/19/2007      gerald flattmann
                                                                                           wayne leblanc
115   Re: 40844-0025 -Namenda Log                12/19/2007      melanie rupert            wayne leblanc
116   Memantine Para IV Ltrs Log.doc             12/19/2007      lz
      40844-25 Namenda --2007-12-17 Letter
      from Flynn (Mylan) to Forest Labs and
117                                              12/19/2007      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      Merz Pharma: re Paragraph IV Notice re
      '703 Patent (5mg and 10mg).
118   RE: Upsher-Smith Paragraph IV Notice       12/19/2007      lucy zamot                wayne leblanc
      Par IV summaries aren't up to date;
119                                              12/21/2007      christopher meatto        wayne leblanc
      missing sun india and interpharm
                                                                                           andres sawicki, charles ryan, eric agovino, gerald
120   Paragraph IV Summaries                     12/21/2007      alexander greenberg
                                                                                           flattmann, melanie rupert, wayne leblanc


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients

      40844-25 Namenda (Distribution Group
      Email Address) --2007-12-18 Letter from
121   Edwards (Interpharm) to Forest Labs and     12/21/2007     wayne leblanc             namendawg@kirkland.com
      Merz Pharma: re Paragraph IV Notice re
      '703 Patent (5mg and 10mg).

      40844-25 Namenda --2007-12-18 Letter
      from Edwards (Interpharm) to Forest
122                                               12/21/2007     christopher meatto        christopher meatto, joseph cali, wayne leblanc
      Labs and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
                                                                                           andres sawicki, charles ryan, eric agovino, gerald
123   RE: Paragraph IV Summaries                  12/21/2007     alexander greenberg
                                                                                           flattmann, melanie rupert, wayne leblanc
                                                                                           andres sawicki, charles ryan, eric agovino, gerald
124   RE: Paragraph IV Summaries                  12/21/2007     alexander greenberg
                                                                                           flattmann, melanie rupert, wayne leblanc
      PragraphIVNotices-
125                                               12/21/2007     IT
      MasterSummary_(12314652_1).DOC
                                                                                           alexander greenberg, andres sawicki, melanie rupert,
126   Fw: Interpharm notice letter                12/21/2007     gerald flattmann
                                                                                           wayne leblanc
      40844-25 Namenda --2007-12-20 Letter
      from Blackman (Sun India) to Forest Labs
127                                               12/21/2007     christopher meatto        christopher meatto, joseph cali, wayne leblanc
      and Merz Pharma: re Paragraph IV
      Notice re '703 Patent (5mg and 10mg).
                                                                                           alexander greenberg, andres sawicki, eric agovino, gerald
128   RE: Paragraph IV Summaries                  12/21/2007     charles ryan
                                                                                           flattmann, melanie rupert, wayne leblanc
                                                                                           andres sawicki, charles ryan, eric agovino, gerald
129   Paragraph IV Summaries                      12/21/2007     alexander greenberg
                                                                                           flattmann, melanie rupert, wayne leblanc
      Pragraph IV Notices - Master
130                                               12/21/2007     IT
      Summary_(12314652_1).DOC
131   FW: Paragraph IV Summaries                  12/21/2007     eric agovino              michael ciraolo




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                 Author                               All Recipients
      Pragraph IV Notices - Master
132                                              12/21/2007      IT
      Summary_(12314652_1).DOC
133   FW: Presentation                           12/21/2007      charles ryan              eric agovino
      12_20_07 Client
134                                              12/21/2007      installer
      Presentation_(12256742_9).PPT
      12-21-07 Summary of Para IV
135                                              12/22/2007      no Author
      Notices.pdf
                                                                                           andres sawicki, charles ryan, eric agovino, gerald
136   Paragraph IV Summaries Update              12/22/2007      alexander greenberg
                                                                                           flattmann, melanie rupert, wayne leblanc
      PragraphIVNotices-
137                                              12/22/2007      IT
      MasterSummary_(12314652_1).DOC
                                                                                           andres sawicki, charles ryan, eric agovino, gerald
138   Paragraph IV Summaries Update              12/22/2007      alexander greenberg
                                                                                           flattmann, melanie rupert, wayne leblanc
139   Timeline.PPT                                 1/2/2008      installer
                                                                                           alexander greenberg, christopher meatto, melanie
140   Re: Fw: Namenda Para IV ltrs                 1/2/2008      christopher meatto
                                                                                           rupert, wayne leblanc
      Paragraph IV Reference
141                                                1/2/2008      IT
      List.xls_(12331137_1).XLS
142   Re: Fw: Namenda Para IV ltrs                 1/2/2008      melanie rupert            alexander greenberg, christopher meatto, wayne leblanc
143   Paragraph IV Reference List.xls.XLS          1/3/2008      IT
      Re: Fw: 40844-25 -Namenda --Revised
144   Excel chart regarding Paragraph IV           1/3/2008      melanie rupert            wayne leblanc
      notices
      Paragraph IV Reference
145                                                1/3/2008      IT
      List.xls_(12331137_1).XLS
146   DRAFT Namenda press release                  1/4/2008      eric agovino              charles ryan
147   DRAFT Press release.doc                      1/4/2008      Forest Labs
                                                                                           alexander greenberg, andres sawicki, christopher meatto,
148   Revised Par IV Reference List                1/4/2008      christopher meatto
                                                                                           melanie rupert, wayne leblanc




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients
      Paragraph IV Reference
149   List.xls_(12331137_3).XLS_(12333007_3        1/4/2008      IT
      ).XLS
      40844-25 Namenda --2008-01-04 Letter
      from Banks (Reddy) to Forest Labs and
150                                                1/4/2008      christopher meatto        christopher meatto, joseph cali, wayne leblanc
      Merz Pharma: re Paragraph IV Notice re
      '703 Patent (5mg and 10mg).
      Fw: 1/2/08 Reddy Laboratories, Inc. Para
151                                                1/4/2008      melanie rupert            namendawg
      IV - received 1/4/08
152   Memantine Para IV Ltrs Log.doc               1/4/2008      lz
153   Reddy Lab. Para IV.PDF                       1/4/2008      no Author
      2008-01-04 Log of Paragraph IV
154                                                1/5/2008      no Author
      Letters.pdf
      Fw: letter re memantine ANDAs -
155                                                1/11/2008     andres sawicki            gerald flattmann, melanie rupert, wayne leblanc
      540448-5683
                                                                                           charles ryan, eric stops, f. dominic cerrito, jack
156   Letter from Barr                             1/16/2008     eric agovino
                                                                                           b.blumenfeld, patrick jochum, stephan guertler
157   1-15-08 letter re Pliva.pdf                  1/16/2008     no Author
158   Updated Barr para IV letter.pdf              1/16/2008     no Author
      Fw: Forest Labs / Cobalt & Barr 08-21
159                                                1/16/2008     melanie rupert            namendawg
      JUDICIAL ASSIGNMENT
      Fw: letter re memantine ANDAs -
160                                                1/18/2008     andres sawicki            melanie rupert, namendawg
      540448-5683
      Namenda: Protective Suits to Be Filed
161                                                1/24/2008     melanie rupert            charles ryan, eric agovino, gerald flattmann
      Next Week
162   Memantine Para IV Ltrs Log.doc               2/5/2008      lz
163   Forest Manuscript 2 1 08.doc                 2/5/2008      jcline
164   Namenda: Proposed Settlement                 2/8/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      Consent Judgement and Order -
165                                                2/8/2008      IT
      Interpharm_(12433600_1) (2).DOC




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      Consent Judgement and Order -
166                                                2/8/2008      IT
      Ranbaxy_(12433675_1).DOC
      Forest-Merz meeting 2-22-08
167                                               2/11/2008      Registered User
      (DRAFT).ppt
                                                                                           charles ryan, debra marchese, elaine hochberg, erica
168   no Title                                    2/12/2008      david solomon             boyer, ivan gergel, lawrence olanoff, rachel mears, robert
                                                                                           jackson, shashank mahashabde, william meury
169   no Title                                    2/12/2008      william meury             elaine hochberg
                                                                                           charles ryan, debra marchese, elaine hochberg, erica
      FW: Collaboration with Forest on
170                                               2/12/2008      david solomon             boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                           jackson, shashank mahashabde, william meury
      Forest-Merz meeting 2-22-08
171                                               2/12/2008      Registered User
      (DRAFT).ppt
      FW: Collaboration with Forest on
172                                               2/12/2008      william meury             elaine hochberg
      Memantine
      FW: Collaboration with Forest on
173                                               2/12/2008      william meury             elaine hochberg
      Memantine
                                                                                           david solomon, debra marchese, elaine hochberg, erica
      RE: Collaboration with Forest on
174                                               2/12/2008      charles ryan              boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                           jackson, shashank mahashabde, william meury

                                                                                           david solomon, debra marchese, elaine hochberg, erica
      RE: Collaboration with Forest on
175                                               2/12/2008      charles ryan              boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                           jackson, shashank mahashabde, william meury
                                                                                           charles ryan, f. dominic cerrito, jack blumenfeld, melanie
176   Re: Memantine Lawsuits                      2/14/2008      gerald flattmann
                                                                                           rupert
                                                                                           charles ryan, f. dominic cerrito, jack blumenfeld, melanie
177   Fw: Memantine Lawsuits                      2/14/2008      gerald flattmann
                                                                                           rupert
                                                                                           charles ryan, daniel malone, eric stops, f. dominic cerrito,
178   Re: Memantine Lawsuits                      2/14/2008      gerald flattmann
                                                                                           jack blumenfeld, melanie rupert




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
                                                                                           charles ryan, david solomon, elaine hochberg, erica
      RE: Collaboration with Forest on
179                                               2/14/2008      debra marchese            boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                           jackson, shashank mahashabde, william meury
                                                                                           charles ryan, david solomon, elaine hochberg, erica
      RE: Collaboration with Forest on
180                                               2/14/2008      debra marchese            boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                           jackson, shashank mahashabde, william meury
                                                                                           charles ryan, f. dominic cerrito, jack blumenfeld, melanie
181   Re: Memantine Lawsuits                      2/14/2008      gerald flattmann
                                                                                           rupert
                                                                                           charles ryan, david solomon, elaine hochberg, erica
      RE: Collaboration with Forest on
182                                               2/14/2008      debra marchese            boyer, ivan gergel, lawrence olanoff, rachel mears, robert
      Memantine
                                                                                           jackson, shashank mahashabde, william meury
183   Re: Presentation                            2/15/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      Forest-Merz meeting 2-22-08
184                                               2/15/2008      Registered User
      (DRAFT).ppt
      2_22_08 Namenda Client
185                                               2/15/2008      Registered User
      Presentation_(12438520_3).PPT
186   Fw: Memantine Lawsuits                      2/15/2008      gerald flattmann          charles ryan
187   Presentation                                2/15/2008      eric agovino              charles ryan, eric agovino, melanie rupert
      Forest-Merz meeting 2-22-08
188                                               2/15/2008      Registered User
      (DRAFT).ppt
189   Re: Memantine Lawsuits                      2/15/2008      gerald flattmann          charles ryan
      Re: Collaboration with Forest on
190                                               2/16/2008      william meury             david solomon
      Memantine
191   no Title                                    2/16/2008      david solomon             william meury
      FW: Collaboration with Forest on
192                                               2/16/2008      david solomon             william meury
      Memantine
      Re: Collaboration with Forest on
193                                               2/16/2008      william meury             david solomon
      Memantine
194   Fw: Memantine Lawsuits                      2/19/2008      gerald flattmann          charles ryan
      Namenda Case: Notices of Dismissal
195                                               2/20/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      Against Mylan and Genpharm




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                        Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title              Document Date                Author                                All Recipients

      Genpharm-Interpharm NY Protective
196                                             2/20/2008      HiddenParaMarker
      Genpharm Dismissal_(12467059_1).DOC
      Mylan WV Protective
197                                             2/20/2008      HiddenParaMarker
      Dismissal_(12467107_1).DOC
                                                                                         alexander greenberg, andres sawicki, charles ryan, eric
198   Namenda Presentation                      2/20/2008      melanie rupert
                                                                                         agovino, gerald flattmann
      2_22_08 Namenda Client
199                                             2/20/2008      Registered User
      Presentation_(12438520_7).PPT
200   Agenda_Feb22_2008.doc                     2/20/2008      cs
201   Namenda Power Point Presentation          2/21/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      2_22_08 Namenda Client
202                                             2/21/2008      Registered User
      Presentation_(12438520_7).PPT
203   FW: Namenda Presentation                  2/21/2008      eric agovino              christopher kibler
      2_22_08 Namenda Client
204                                             2/21/2008      Registered User
      Presentation_(12438520_7).PPT
205   Namenda Client Presentation               2/21/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      2_22_08 Namenda Client
206                                             2/21/2008      Registered User
      Presentation_(12438520_7).PPT
      2_22_08 Namenda Client
207                                             2/21/2008      Registered User
      Presentation_(12438520_7).PPT
      2_22_08 Namenda Client
208                                             2/21/2008      Registered User
      Presentation_(12438520_7).PPT
209   FW: Draft Agenda- Feb 22 Meeting          2/22/2008      rachel mears              robert carnevale
210   FW: Namenda Power Point Presentation      2/22/2008      eric agovino              lucy zamot
      2_22_08 Namenda Client
211                                             2/22/2008      Registered User
      Presentation_(12438520_7).PPT
      2_22_08 Namenda Client
212                                             2/22/2008      Registered User
      Presentation_(12438520_7).PPT
      2_22_08 Namenda Client
213                                             2/26/2008      Registered User
      Presentation_(12438520_7).PPT


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      2-27-08 Forest to Weiner re Expert
214                                               2/27/2008      IT
      Retention Letter.DOC
                                                                                           alexander greenberg, andres sawicki, charles ryan, daniel
                                                                                           malone, eric agovino, eric stops, f. dominic cerrito, jack
215   Re: AW: Namenda - FDA contact                3/4/2008      gerald flattmann
                                                                                           blumenfeld, melanie rupert, patrick jochum, stephan
                                                                                           guertler
216   RE: Namenda - FDA contact                    3/4/2008      eric agovino              alexander greenberg
      FW: Barr Laboratories, ANDA
217                                                3/4/2008      herschel weinstein        eric agovino
      Memantine Hydrochloride
218   Memantine MR meeting (3-7-08).ppt            3/6/2008      Registered User
219   Memantine MR meeting (3-7-08).ppt            3/6/2008      Registered User
220   Orchid Healthcare                            3/7/2008      eric agovino              charles ryan, mike baker
221   RE: MR meeting slides 3 6 08.ppt             3/7/2008      rajiv janjikhel           debra marchese, eric agovino
222   Memantine MR meeting (3-7-08).ppt            3/7/2008      Registered User
                                                                                           charles ryan, daniel malone, eric agovino, f. dominic
      Settlement Offers from Interpharm and
223                                               3/14/2008      melanie rupert            cerrito, gerald flattmann, jack b.blumenfeld, patrick
      Ranbaxy
                                                                                           jochum
                                                                                           charles ryan, daniel malone, eric agovino, f. dominic
      Settlement Offers from Interpharm and
224                                               3/14/2008      melanie rupert            cerrito, gerald flattmann, jack b.blumenfeld, patrick
      Ranbaxy
                                                                                           jochum
                                                                                           charles ryan, daniel malone, eric agovino, eric stops, f.
      Ranbaxy's Revisions to Namenda
225                                               3/17/2008      melanie rupert            dominic cerrito, gerald flattmann, jack b.blumenfeld,
      Settlement Proposal
                                                                                           maryellen noreika, patrick jochum
226   Re: 40844-25 Re: Namenda                    3/17/2008      alexander greenberg       wayne leblanc
227   Namenda                                     3/17/2008      alexander greenberg       wayne leblanc
228   Re: 40844-25 Re: Namenda                    3/17/2008      alexander greenberg       wayne leblanc
                                                                                           dmalone@jonesday.com, eric agovino, eric stops, f.
229   Re: Interpharm Settlement                   3/18/2008      charles ryan              dominic cerrito, gerald flattmann, jack b.blumenfeld,
                                                                                           melanie rupert
                                                                                           charles ryan, dmalone@jonesday.com, eric agovino, eric
230   Re: Interpharm Settlement                   3/18/2008      gerald flattmann          stops, f. dominic cerrito, jack b.blumenfeld, melanie
                                                                                           rupert


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No.              Document Title               Document Date                Author                                All Recipients
                                                                                          charles ryan, dmalone@jonesday.com, eric agovino, eric
231   Re: Interpharm Settlement                  3/18/2008      gerald flattmann          stops, f. dominic cerrito, jack b.blumenfeld, melanie
                                                                                          rupert
232   Re: Interpharm Settlement                  3/18/2008      charles ryan              eric agovino
                                                                                          charles ryan, dmalone@jonesday.com, eric agovino, eric
233   Re: Interpharm Settlement                  3/18/2008      f. dominic cerrito        stops, gerald flattmann, jack b.blumenfeld, melanie
                                                                                          rupert
                                                                                          charles ryan, dmalone@jonesday.com, eric agovino, eric
234   Interpharm Settlement                      3/18/2008      melanie rupert            stops, f. dominic cerrito, gerald flattmann, jack
                                                                                          b.blumenfeld
235   Re: Interpharm Settlement                  3/18/2008      eric agovino              charles ryan
                                                                                          charles ryan, dmalone@jonesday.com, eric agovino, eric
236   Interpharm Settlement                      3/18/2008      melanie rupert            stops, f. dominic cerrito, gerald flattmann, jack
                                                                                          b.blumenfeld
237   Re: Interpharm Settlement                  3/18/2008      eric agovino              charles ryan
                                                                                          charles ryan, dmalone@jonesday.com, eric agovino, eric
238   Re: Interpharm Settlement                  3/19/2008      gerald flattmann
                                                                                          stops, f. dominic cerrito, jack blumenfeld, melanie rupert

                                                                                          charles ryan, dmalone@jonesday.com, eric agovino, eric
239   RE: Interpharm Settlement                  3/19/2008      jack blumenfeld
                                                                                          stops, f. dominic cerrito, gerald flattmann, melanie rupert
240   Merz                                       3/21/2008      alexander greenberg       wayne leblanc
      Re: 40844-25 Namenda --Re: Merz
241                                              3/21/2008      alexander greenberg       wayne leblanc
      Caption and due dates for Second Wave

      Re: 40844-25 Namenda --Re: Merz
242                                              3/21/2008      alexander greenberg       wayne leblanc
      Caption and due dates for Second Wave




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No.                Document Title                    Document Date              Author                             All Recipients
                                                                                            allyson gage, antonia periclou, carrie furin, daniel jia,
                                                                                            debra marchese, denise leclair, eric agovino, james
243   Memantine Project Schedules- March               3/26/2008     carrie furin           perhach, kathleen waldron, pradeep banerjee, rajiv
                                                                                            janjikhel, robert folger, salvatore iacono, stephen
                                                                                            graham, terry martin
      Project Schedule Memantine ER AD
244                                                    3/26/2008     Sandra Arias
      31Mar08.doc
      Project Schedule Namenda IR AD
245                                                    3/26/2008     Sandra Arias
      31Mar08.doc
      FW: Memantine Project Schedules-
246                                                    3/26/2008     eric agovino           jonathan mitchell, michael ciraolo
      March
      2007-11-09 Email, Merged, from
247   Flattmann (KE) to Agovino (Forest) re            3/28/2008     no Author
      Legal Hold Memor.pdf
                                                                                            allyson gage, antonia periclou, daniel jia, debra
                                                                                            marchese, denise leclair, eric agovino, james perhach,
      RE: Memantine Project Team Meeting-
248                                                    4/3/2008      carrie furin           kathleen waldron, pradeep banerjee, rajiv janjikhel,
      Draft Agenda
                                                                                            robert folger, salvatore iacono, stephen graham, terry
                                                                                            martin
      Re: Ranbaxy's Revisions to Namenda
249                                                    4/6/2008      gerald flattmann       charles ryan, eric agovino, melanie rupert
      Settlement Proposal
      FW: Ranbaxy's Revisions to Namenda
250                                                    4/6/2008      david solomon          charles ryan, herschel weinstein
      Settlement Proposal
      Fw: Ranbaxy's Revisions to Namenda
251                                                    4/6/2008      charles ryan           eric agovino, gerald flattmann, melanie rupert
      Settlement Proposal
      Re: Ranbaxy's Revisions to Namenda
252                                                    4/7/2008      charles ryan           david solomon, herschel weinstein
      Settlement Proposal
      Re: Ranbaxy's Revisions to Namenda
253                                                    4/7/2008      charles ryan           david solomon, herschel weinstein
      Settlement Proposal
      Fw: Forest Laboratories Inc. et al v.
254   Cobalt Laboratories Inc. et al (C.A. No. 08-     4/8/2008      melanie rupert         namendawg
      21-GMS)


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                 All Recipients
      Q4 call prep doc 4 3 08 WORKING DRAFT
255                                                4/8/2008      Forest Laboratories, Inc.
      (2).doc
      Q4 call prep doc 4 3 08 WORKING DRAFT
256                                                4/8/2008      Forest Laboratories, Inc.
      (2).doc
257   FW: Namenda Power Point Presentation         4/8/2008      eric agovino                michael ciraolo
      2_22_08 Namenda Client
258                                                4/8/2008      Registered User
      Presentation_(12438520_7).PPT
      Q4 call prep doc 4 3 08 WORKING DRAFT
259                                                4/8/2008      Forest Laboratories, Inc.
      (2).doc
                                                                                             andres sawicki, charles ryan, daniel malone, eric agovino,
260   Interpharm Settlement Docs                  4/10/2008      melanie rupert              eric stops, f. dominic cerrito, gerald flattmann, jack
                                                                                             b.blumenfeld, maryellen noreika, patrick jochum
      Interpharm Side Settlement
261                                               4/10/2008      IT
      Agreement_(12655995_5).DOC
262   Revised Namenda update                      4/11/2008      eric agovino                charles ryan
263   Namenda status update.doc                   4/11/2008      Forest Laboratories, Inc.

264   Namenda status update.doc                   4/11/2008      Forest Laboratories, Inc.
265   RE: Update Memo                             4/14/2008      eric agovino                jennifer fehrman
266   April update.doc                            4/14/2008      no Author
267   Namenda status update4.22.doc               4/23/2008      Forest Laboratories, Inc.
268   Fw: Apotex Para IV notice letter            4/23/2008      melanie rupert              namendawg
                                                                                             charles ryan, f. dominic cerrito, gerald flattmann, melanie
269   Apotex Para IV notice letter                4/23/2008      eric agovino
                                                                                             rupert, patrick jochum
270   Memantine Para IV Ltrs Log.doc              4/23/2008      lz




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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title              Document Date                Author                                All Recipients
                                                                                          allyson gage, antonia periclou, carrie furin, daniel jia,
                                                                                          debra marchese, denise leclair, eric agovino, james
271   Memantine Monthly Project Schedules        4/25/2008      carrie furin              perhach, kathleen waldron, pradeep banerjee, puneet
                                                                                          sachdev, rajiv janjikhel, robert folger, salvatore iacono,
                                                                                          stephen graham, terry martin
      RE: Namenda: '703 Patent License
272                                              4/29/2008      eric agovino              charles ryan, gerald flattmann, melanie rupert
      Agreement
      Namenda: '703 Patent License
273                                              4/29/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      Agreement
274   FW: Our Discussions                        5/12/2008      david solomon             charles ryan, herschel weinstein
275   Quarterly update memo                      5/13/2008      eric agovino              charles ryan, lucy zamot
276   1stquarterupdate.doc                       5/13/2008      no Author
277   Forest_Merz costsharing May 2008.DOC       5/17/2008      Registered User
278   22May2008MemIPPortfolio.ppt                5/20/2008      Charles Ryan
279   22May2008MemIPPortfolio2.ppt               5/21/2008      Charles Ryan
      Namenda Expert
280                                              5/22/2008      IT
      Spreadsheet_(12819610_2).XLS
281   Namenda Expert SpreadsheeT.XLS             5/23/2008      IT
282   Fw: Dr. Cummings                           5/29/2008      eric agovino              lucy zamot
      J. Cummings Expert Retention
283                                              5/29/2008      IT
      Letter_(12873792_1).DOC
      Re: Fw: Clinical Approaches And
284                                               6/2/2008      melanie rupert            charles ryan, eric agovino, gerald flattmann
      Diagnostics Targeting Alzheimer's
      RE: Fw: Clinical Approaches And
285                                               6/2/2008      eric agovino              charles ryan, gerald flattmann, melanie rupert
      Diagnostics Targeting Alzheimer's
      L. Schneider Expert Retention
286                                               6/2/2008      IT
      Letter_(12883227_1).DOC
                                                                                          charles ryan, daniel malone, eric agovino, eric stops, f.
287   Fw: ANDA No. 90-244                         6/4/2008      melanie rupert            dominic cerrito, jack b.blumenfeld, maryellen noreika,
                                                                                          patrick jochum




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                 Document Date              Author                                 All Recipients
                                                                                              charles ryan, daniel malone, eric agovino, eric stops, jack
288   Re: Fw: ANDA No. 90-244                       6/4/2008      f. dominic cerrito          b.blumenfeld, maryellen noreika, melanie rupert, patrick
                                                                                              jochum
289   RE: ANDA No. 90-244                           6/5/2008      eric agovino                charles ryan
                                                                                              charles ryan, gerald flattmann, jack b.blumenfeld,
290   RE: ANDA No. 90-244                           6/5/2008      eric agovino
                                                                                              maryellen noreika, melanie rupert
                                                                                              charles ryan, gerald flattmann, jack b.blumenfeld,
291   RE: ANDA No. 90-244                           6/5/2008      eric agovino
                                                                                              maryellen noreika, melanie rupert
      40844-25 Namenda --Fw: Forest /
                                                                                              charles ryan, eric agovino, jennifer fehrman, patrick
292   Cobalt/Barr/Dr. Reddy's - 08-21/08-           6/6/2008      wayne leblanc
                                                                                              jochum, wayne leblanc
      22/08-52 - TRANSCRIPT (May 20, 2008)
      Namenda Expert
293                                                 6/9/2008      IT
      Spreadsheet3_(12819610_2).XLS
294   Merz Cost Sharing Agreement                   6/16/2008     rachel mears                david solomon, herschel weinstein
      Blackline of Supplemental Agreement 2
295                                                 6/16/2008     no Author
      15 08.doc
296   Forest_Merz costsharing May 2008.DOC          6/16/2008     Registered User
297   Merz Cost Sharing Agreement                   6/16/2008     rachel mears                david solomon, herschel weinstein
298   Namenda status update 6-24-08.doc             6/30/2008     Forest Laboratories, Inc.

299   Namenda status update 7-1-08.doc              7/1/2008      Forest Laboratories, Inc.
300   Caraco/Namenda updates                        7/8/2008      eric agovino                charles ryan
                                                                                              brooke shultis, james finchen, lauren dwyer, lisa valeriani,
301   Namenda Situational Analysis                  7/10/2008     christine huelster
                                                                                              paul hering, severina digiandomenico
      RE: Draft Wilson Sonsini Confidentiality
302                                                 7/23/2008     eric agovino                david haber, ellen scordino
      Agreement
303   July 23 2008.ppt                              7/23/2008     no Author
      Fw: Forest Laboratories Inc. et al. v.
304   Cobalt Labs., Inc. et al.,Case No. 08-021     8/5/2008      melanie rupert              charles ryan, eric agovino, namendawg
      Consolidated


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients
      FW: Pricing Strategy for Once Daily
305                                                8/7/2008      james finchen             donald macdonald, lisa valeriani
      Namenda
306   FW: Namenda Situational Analysis             8/11/2008     severina digiandomenico james finchen
                                                                                           charles ryan, claudia zumbro, eric agovino, patrick
307   Barr settlement proposal                     8/14/2008     f. dominic cerrito
                                                                                           jochum
      FW: Pricing Strategy for Once Daily
308                                                8/18/2008     james finchen             severina digiandomenico
      Namenda
      FW: Pricing Committee Meeting
309                                                8/18/2008     james finchen             donald macdonald, severina digiandomenico
      revision_081908 v2.ppt
      Pricing Committee Meeting
310                                                8/18/2008     no Author
      revision_081908 v2.ppt
311   RE: Dept meeting                             8/25/2008     eric agovino              jennifer fehrman
      Plaintiffs' porposed list of claim terms
312                                                9/10/2008     IT
      for construction_(13354518_1).DOC
313   Patent Claim Construction Chart.DOC          9/10/2008     IT
      Fw: Memantine, Merz and IQWiG - this
314                                                9/11/2008     eric agovino              michael ciraolo
      needs your immediate attention
      2008-09-10 Email from Flattmann to
315   Molino re Joint Claim Chart, Defendants'     9/11/2008     no Author
      Proposed Schedule.pdf
316   RE: Commercial strategy                      9/11/2008     james finchen             troy sheldon
317   RE: Commercial strategy                      9/11/2008     james finchen             james finchen, troy sheldon
      FW: Namenda Litigation - Claim
318                                                9/15/2008     eric agovino              lucy zamot
      Construction
      FW: cost sharing agreement and next                        david solomon, herschel
319                                                9/17/2008                             rachel mears
      steps                                                      weinstein
      FW: cost sharing agreement and next
320                                                9/17/2008     david solomon             ditra walsh
      steps
      FW: cost sharing agreement and next
321                                                9/17/2008     ditra walsh               david solomon
      steps




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No.              Document Title               Document Date                Author                                All Recipients
      FW: cost sharing agreement and next
322                                              9/19/2008      rachel mears              robert carnevale
      steps
      FW: cost sharing agreement and next
323                                              9/20/2008      ditra walsh               david solomon
      steps
      FW: cost sharing agreement and next
324                                              9/20/2008      david solomon             ditra walsh
      steps
      Proposed Claim Terms for Namenda                                                    charles ryan, eric agovino, gerald flattmann, patrick
325                                              9/26/2008      melanie rupert
      Claim Construction                                                                  jochum
      Patent Claim Construction Chart
326   (Version for                               9/26/2008      IT
      Circulation)_(13354872_1).DOC
      Plaintiffs' Proposed List of Claim
327                                              9/26/2008      IT
      Construction Terms_(13354518_1).DOC
328   FW: Dept meeting tomorrow                  10/1/2008      eric agovino              michael ciraolo
329   RE: Update Memo                            10/1/2008      eric agovino              charles ryan
      SecThirdQuarter2008IPupdate (2)
330                                              10/1/2008      no Author
      (2).doc
331   RE:                                        10/1/2008      eric agovino              charles ryan
332   RE: Dept meeting tomorrow                  10/1/2008      eric agovino              jennifer fehrman
333   Namenda timeline.xls                       10/2/2008      no Author
334   Memantine Para IV Ltrs Log.doc             10/3/2008      lz
      Blackline of Amendment to License and
335                                             10/13/2008      no Author
      Cooperation Agreement 10.13.08.doc

      Blackline of Amendment to License and
336                                             10/13/2008      no Author
      Cooperation Agreement 10.13.08.doc

      Blackline of Amendment to License and
337                                             10/13/2008      no Author
      Cooperation Agreement 10.13.08.doc




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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date               Author                                All Recipients

      Blackline of Amendment to License and
338                                             10/13/2008      no Author
      Cooperation Agreement 10.13.08.doc
339   RE: RE:                                   10/17/2008      matthew goldenberg        james finchen
340   RE: RE:                                   10/20/2008      david okimoto             james finchen
      Namenda Client Presentation - October
341                                             10/21/2008      IT
      21 2008_(13503464_1).PPT
      Abridged Namenda Client Presentation -
342                                             10/21/2008      IT
      October 21 2008_(13503992_2) (2).PPT
343   Namenda Presentations                     10/21/2008      alexander greenberg       charles ryan, eric agovino, gerald flattmann
      Namenda Client Presentation - October
344                                             10/21/2008      IT
      21, 2008_(13503464_1).PPT
      Abridged Namenda Client Presentation -
345                                             10/21/2008      IT
      October 21, 2008_(13503992_2).PPT

346   Orchid Supply Term Sheet Draft #2.doc     10/22/2008      Robert Carnevale
      Orchid Memo of Understanding Draft
347                                             10/22/2008      Robert Carnevale
      #3.doc
348   FW: Draft Orchid Term Sheet               10/23/2008      robert carnevale          rachel mears, ralph kleinman
349   Orchid Supply Term Sheet Draft #2.doc     10/23/2008      Robert Carnevale
350   RE: Namenda IND                           10/23/2008      eric agovino              melanie rupert
351   Re: Draft Orchid Term Sheet               10/24/2008      ralph kleinman            frank perier, rachel mears, robert carnevale
                                                                                          frank perier, rachel mears, ralph kleinman, robert
352   RE: Draft Orchid Term Sheet               10/24/2008      ralph kleinman
                                                                                          carnevale
353   Orchid Supply Term Sheet Draft #2.doc     10/27/2008      Robert Carnevale
      Orchid Memo of Understanding Draft
354                                             10/27/2008      Robert Carnevale
      #3.doc
355   RE: Patent Questions                      10/27/2008      frank murdolo             charles ryan, eric agovino


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                 Author                               All Recipients
356   RE: Patent Questions                       10/27/2008      eric agovino              charles ryan, frank murdolo
      Blackline of Amendment to License and
357                                              10/27/2008      no Author
      Cooperation Agreement 10.27.08.doc
      Blackline of Amended and Restated
358                                              10/27/2008      no Author
      Neramexane Agreement 10.27.08.doc
359   RE: Patent Questions                       10/27/2008      eric agovino              charles ryan, frank murdolo
360   RE: Draft Orchid Term Sheet                10/28/2008      robert carnevale          rachel mears, ralph kleinman
                                                                                           frank perier, herschel weinstein, rachel mears, robert
361   RE: Draft Orchid Term Sheet                10/28/2008      ralph kleinman
                                                                                           carnevale
362   RE: Orchid Memo of Understanding           10/29/2008      robert carnevale          james dinunzio, sebastian assenza
                                                                                           david solomon, herschel weinstein, james dinunzio,
363   RE: Draft Orchid Term Sheet                10/29/2008      sebastian assenza
                                                                                           rachel mears, robert carnevale, shashank mahashabde
364   RE: Draft Orchid Term Sheet                10/29/2008      robert carnevale          james dinunzio, rachel mears
                                                                                           frank perier, herschel weinstein, rachel mears, robert
365   RE: Draft Orchid Term Sheet                10/29/2008      ralph kleinman
                                                                                           carnevale
      Forest Labs - Orchid - MOU - 01-Nov-
366                                               11/3/2008      Syam
      08.doc
367   FW: Draft Orchid Term Sheet                 11/4/2008      robert carnevale          rachel mears
368   Orchid Supply Term Sheet Draft #2.doc       11/4/2008      Robert Carnevale
369   FW: Draft Orchid Term Sheet                 11/4/2008      robert carnevale          rachel mears
      Orchid Ceftaroline Supply Terms 10-28-
370                                               11/4/2008      no Author
      08.doc
371   RE: Namenda Claim Construction Brief        11/5/2008      eric agovino              melanie rupert
      Plaintiffs' Opening Claim Construction
372                                               11/5/2008      IT
      Brief_(Forest comments).DOC
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
373   Namenda Claim Construction Brief            11/5/2008      melanie rupert
                                                                                           flattmann, patrick jochum
      Plaintiffs' Opening Claim Construction
374                                               11/5/2008      IT
      Brief_(13129186_9).DOC


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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title               Document Date                Author                                All Recipients
      Blackline of Amendent to License and
375                                             11/13/2008      no Author
      Cooperation Agreement 11.13.08.doc
      Blackline of Amended and Restated
376                                             11/13/2008      no Author
      Neramexane Agreement 11.13.08.doc
      Blackline of Amendent to License and
377                                             11/13/2008      no Author
      Cooperation Agreement 11.13.08.doc
      Blackline of Amendent to License and
378                                             11/13/2008      no Author
      Cooperation Agreement 11.13.08.doc
379   Merz                                      11/14/2008      herschel weinstein        david solomon, rachel mears
      Blackline of Amended and Restated
380                                             11/14/2008      no Author
      Neramexane Agreement 11.13.08.doc
      Blackline of Amendment to License and
381                                             11/14/2008      no Author
      Cooperation Agreement 11.13.08.doc
382   FW: Merz                                  11/16/2008      david solomon             rachel mears
      Blackline of Amended and Restated
383                                             11/16/2008      no Author
      Neramexane Agreement 11.13.08.doc
      Blackline of Amendment to License and
384                                             11/16/2008      no Author
      Cooperation Agreement 11.13.08.doc
      Blackline of Amended and Restated
385                                             11/17/2008      no Author
      Neramexane Agreement 11.13.08.doc
      Blackline of Amendment to License and
386                                             11/17/2008      no Author
      Cooperation Agreement 11.17.08.doc
      Orchid Memo of Understanding -
387                                             11/18/2008      Robert Carnevale
      Final.doc
                                                                                          charles ryan, eric agovino, eric stops, f. dominic cerrito,
388   Amended Replies                           11/21/2008      melanie rupert            gerald flattmann, jack b.blumenfeld, manuel velez,
                                                                                          maryellen noreika, patrick jochum




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                All Recipients
                                                                                           charles ryan, eric agovino, eric stops, f. dominic cerrito,
      Current Draft of Namenda Claim
389                                              11/21/2008      melanie rupert            gerald flattmann, jack b.blumenfeld, john desmarais,
      Construction Brief
                                                                                           maryellen noreika, patrick jochum
      Responsive Claim Construction
390                                              11/21/2008      IT
      Brief_(13745703_5).DOC
                                                                                           charles ryan, eric agovino, eric stops, f. dominic cerrito,
391   Responsive Claim Construction Brief        11/21/2008      melanie rupert            gerald flattmann, jack b.blumenfeld, maryellen noreika,
                                                                                           patrick jochum
      Responsive Claim Construction
392                                              11/21/2008      IT
      Brief_(13745703_4).DOC
      RE: Current Draft of Namenda Claim
393                                              11/23/2008      eric agovino              charles ryan, melanie rupert
      Construction Brief
      RE: Current Draft of Namenda Claim
394                                              11/23/2008      eric agovino              charles ryan, melanie rupert
      Construction Brief
      RE: Current Draft of Namenda Claim
395                                              11/24/2008      melanie rupert            eric agovino
      Construction Brief
396   Namenda MR Conversion Strategy.ppt         11/24/2008      James Finchen
397   Fw: redlined agreements                    11/25/2008      ditra walsh               david solomon
398   FW: redlined agreements                    11/25/2008      rachel mears              david solomon, herschel weinstein, robert carnevale
      2008-11-25 Merged Email from Jochum
399   to Rupert Encl. Ferris Signed Retention     12/2/2008      no Author
      Letter.pdf
      Blackline of Amendment to License and
400                                               12/3/2008      no Author
      Cooperation Agreement 12.3.08.doc

      Blackline of Amendment to License and
401                                               12/3/2008      no Author
      Cooperation Agreement 12.3.08.doc

      Blackline of Amendment to License and
402                                               12/4/2008      no Author
      Cooperation Agreement 12.3.08.doc




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      Draft Markman
403                                               12/9/2008      Multimedia Department
      Slides.ppt_(13799581_3).PPT
      Draft Markman
404                                               12/9/2008      Multimedia Department
      Slides.ppt_(13799581_3).PPT
405   FW: almost final, final....                12/10/2008      rachel mears              david solomon, herschel weinstein
406   Re: Orchid Term Sheet                      12/11/2008      rachel mears              david solomon, robert carnevale
407   NAMENDA XR and Sun Design                  12/12/2008      christopher serbagi       eric agovino, jennifer fehrman
                                                                 david solomon, herschel
408   FW: Forest Agreements                      12/14/2008                                rachel mears
                                                                 weinstein
409   Allergan2.ppt                               1/7/2009       Charles Ryan
410   Allergan2.ppt                               1/7/2009       Charles Ryan
411   Allergan2009.ppt                            1/8/2009       Charles Ryan
412   FW: Orchid Term Sheet                       1/14/2009      robert carnevale          james dinunzio, shashank mahashabde
      MEM IR PLR conversion V2 14 Jan 2009
413                                               1/15/2009      no Author
      (clean).doc
      MEM IR PLR conversion V2 14 Jan 2009
414                                               1/15/2009      no Author
      (track changes).doc
                                                                                           carol satler, charles lindamood, charles ryan, deirdre
                                                                                           archibald, john castellana, jose freire-moar, jose rojas,
415   Senior Staff agenda Jan 22, 2009            1/21/2009      sam soffer                june bray, kim thacker, marco taglietti, monica fencik,
                                                                                           paul grint, ramaswamy murari, robert jackson, shashank
                                                                                           mahashabde, srinivas vangala, theresa fico, ulo palm
416   Litigation timeline.doc                     1/22/2009      jfehrman
      RE: Fw: AW: Namenda - Response to DRL
417                                               1/23/2009      charles ryan              gerald flattmann, melanie rupert
      Interrogatory
      Re: Fw: AW: Namenda - Response to
418                                               1/23/2009      gerald flattmann          charles ryan, melanie rupert
      DRL Interrogatory
      RE: Fw: AW: Namenda - Response to DRL
419                                               1/23/2009      melanie rupert            charles ryan
      Interrogatory




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title               Document Date                Author                                All Recipients

                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito, g.
      Re: AW: Namenda - Response to DRL
420                                                1/23/2009      melanie rupert            patrick sage, gerald flattmann, jack b.blumenfeld,
      Interrogatory
                                                                                            maryellen noreika, patrick jochum, stephan guertler
      Re: Fw: AW: Namenda - Response to
421                                                1/23/2009      melanie rupert            charles ryan, gerald flattmann
      DRL Interrogatory
                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito, g.
      AW: Namenda - Response to DRL
422                                                1/23/2009      stephan guertler          patrick sage, gerald flattmann, jack b.blumenfeld,
      Interrogatory
                                                                                            maryellen noreika, melanie rupert, patrick jochum

                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito, g.
      Re: AW: Namenda - Response to DRL
423                                                1/23/2009      melanie rupert            patrick sage, gerald flattmann, jack b.blumenfeld,
      Interrogatory
                                                                                            maryellen noreika, patrick jochum, stephan guertler
      Re: Fw: AW: Namenda - Response to
424                                                1/23/2009      melanie rupert            charles ryan, gerald flattmann
      DRL Interrogatory
                                                                                            charles ryan, eric agovino, eric stops, f. dominic cerrito, g.
      AW: Namenda - Response to DRL
425                                                1/23/2009      stephan guertler          patrick sage, gerald flattmann, jack b.blumenfeld,
      Interrogatory
                                                                                            maryellen noreika, melanie rupert, patrick jochum
      Fw: AW: Namenda - Response to DRL
426                                                1/23/2009      charles ryan              melanie rupert
      Interrogatory
                                                                                            carol satler, charles lindamood, charles ryan, deirdre
                                                                                            archibald, john castellana, jose freire-moar, jose rojas,
427   Staff agenda January 29, 2009.doc            1/28/2009      sam soffer                june bray, kim thacker, marco taglietti, monica fencik,
                                                                                            paul grint, ramaswamy murari, robert jackson, shashank
                                                                                            mahashabde, srinivas vangala, theresa fico, ulo palm
      RE: Please update lit section for
428                                                1/28/2009      eric agovino              jennifer fehrman
      tomorrow
429   Litigation timeline.doc                      1/29/2009      eric agovino              lucy zamot
430   Litigation timeline.doc                      1/29/2009      jfehrman


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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date               Author                                All Recipients
431   Memantine settlement meeting.ppt           1/30/2009      Registered User
432   RE: Orchid Term Sheet                      2/4/2009       robert carnevale          james dinunzio, rachel mears
433   RE: Orchid Term Sheet                      2/9/2009       robert carnevale          rachel mears
434   RE: Orchid Term Sheet                      2/9/2009       robert carnevale          rachel mears
435   FW: Orchid Term Sheet                      2/10/2009      robert carnevale          melissa cooper, rachel mears
436   RE: Orchid Term Sheet                      2/10/2009      rachel mears              robert carnevale
437   RE: Namenda                                2/10/2009      xin miao                  eric agovino
438   RE: Dept meeting next Tuesday              2/17/2009      eric agovino              charles ryan, jennifer fehrman
439   REVISED memantine term sheet               2/19/2009      eric agovino              charles ryan, david solomon
440   REVISED memantine term sheet               2/19/2009      eric agovino              charles ryan, david solomon
441   FW: REVISED memantine term sheet           2/20/2009      david solomon             ditra walsh
442   RE: REVISED memantine term sheet           2/20/2009      eric agovino              charles ryan, david solomon
      Namenda Litigation - Share Drive
443                                              2/20/2009      darcelle gleason          alexander greenberg, eric agovino
      Reports
444   RE: REVISED memantine term sheet           2/20/2009      eric agovino              charles ryan, david solomon
445   RE: DRAFT letter to Orchid                 2/23/2009      eric agovino              rachel mears
446   Orchid.doc                                 2/23/2009      no Author
447   DRAFT letter to Orchid                     2/23/2009      eric agovino              charles ryan
448   Orchid.doc                                 2/23/2009      no Author
      Memantine settlement proposal
449                                              2/25/2009      IT
      (CLEAN).DOC
      Memantine settlement proposal (TRACK
450                                              2/25/2009      IT
      CHANGES).DOC
      Re: Additional Forest comments to term                                              charles ryan, eric agovino, f. dominic cerrito, melanie
451                                              2/25/2009      gerald flattmann
      sheet                                                                               rupert, patrick jochum
      Memantine settlement proposal (TRACK
452                                              2/25/2009      IT
      CHANGES).DOC
      Memantine settlement proposal
453                                              2/25/2009      IT
      (CLEAN).DOC
454   FW: Memantine Settlement Proposal          2/25/2009      charles ryan              eric agovino
      Memantine settlement proposal
455                                              2/25/2009      IT
      (CLEAN).DOC


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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date               Author                                All Recipients
      Memantine settlement proposal (TRACK
456                                              2/25/2009      IT
      CHANGES).DOC
      Additional Forest comments to term                                                  charles ryan, f. dominic cerrito, gerald flattmann, patrick
457                                              2/25/2009      eric agovino
      sheet                                                                               jochum
      Memantine settlement proposal
458                                              2/25/2009      IT
      (CLEAN).DOC
      Memantine settlement proposal (TRACK
459                                              2/25/2009      IT
      CHANGES).DOC
      DRAFT term sheet for memantine
460                                              2/25/2009      eric agovino              charles ryan, michael sohn
      litigation
      Memantine settlement proposal
461                                              2/25/2009      IT
      (CLEAN).DOC
462   FW: Memantine Settlement Proposal          2/25/2009      david solomon             ditra walsh
      Memantine settlement proposal
463                                              2/25/2009      IT
      (CLEAN).DOC
      Memantine settlement proposal (TRACK
464                                              2/25/2009      IT
      CHANGES).DOC
      FW: Additional Forest comments to term
465                                              2/25/2009      charles ryan              david solomon
      sheet
      Memantine settlement proposal (TRACK
466                                              2/25/2009      IT
      CHANGES).DOC
      Memantine settlement proposal
467                                              2/25/2009      IT
      (CLEAN).DOC
468   Fw: Memantine Settlement Proposal          2/26/2009      david solomon             elaine hochberg
      Memantine settlement proposal (TRACK
469                                              2/26/2009      IT
      CHANGES).DOC
      Memantine settlement proposal
470                                              2/26/2009      IT
      (CLEAN).DOC
471   Fw: Memantine Settlement Proposal          2/26/2009      david solomon             elaine hochberg
      Memantine settlement proposal (TRACK
472                                              2/26/2009      IT
      CHANGES).DOC




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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date               Author                                All Recipients
      Memantine settlement proposal
473                                              2/26/2009      IT
      (CLEAN).DOC
      Namenda - Subpoenas on Fillit and                                                   charles ryan, eric agovino, eric stops, f. dominic cerrito,
474                                              2/27/2009      melanie rupert
      Weiner                                                                              gerald flattmann, patrick jochum
      Namenda - Subpoenas on Fillit and                                                   charles ryan, eric agovino, eric stops, f. dominic cerrito,
475                                              2/27/2009      melanie rupert
      Weiner                                                                              gerald flattmann, patrick jochum
476   RE: FW: Memantine reexam                    3/3/2009      eric agovino              gregory morris, melanie rupert
477   Re: FW: Memantine reexam                    3/3/2009      melanie rupert            eric agovino, gregory morris
478   Signed agreement from Fillit.TIF            3/3/2009      no Author
479   Signed agreement from Weiner.TIF            3/3/2009      no Author
      RE: AW: Additional Forest comments to                                               charles ryan, f. dominic cerrito, gerald flattmann, melanie
480                                               3/3/2009      eric agovino
      term sheet                                                                          rupert, patrick jochum
      Memantine settlement proposal
481                                               3/3/2009      IT
      (CLEAN).DOC
      Memantine settlement proposal
482                                               3/3/2009      IT
      (TRACKED CHANGES).DOC
483   Draft Orchid Term Sheet and Cover Note      3/3/2009      rachel mears              david solomon, herschel weinstein
      Orchid Term Sheet Cover Note
484                                               3/3/2009      no Author
      (3_2_09).doc
485   Signed agreement from Fillit.TIF            3/3/2009      no Author
486   Signed agreement from Weiner.TIF            3/3/2009      no Author
      FW: AW: Additional Forest comments to
487                                               3/3/2009      eric agovino              charles ryan, michael sohn
      term sheet
      Memantine settlement proposal
488                                               3/3/2009      IT
      (CLEAN).DOC
      Memantine settlement proposal
489                                               3/3/2009      IT
      (TRACKED CHANGES).DOC
490   Signed agreement from Weiner.TIF            3/3/2009      no Author
491   Signed agreement from Fillit.TIF            3/3/2009      no Author
492   Fw: Orchid                                  3/5/2009      rachel mears              david solomon




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                             Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                 Document Title                Document Date                Author                                All Recipients
      Blackline of Orchid Term Sheet Cover
493                                                   3/5/2009      no Author
      Note 3.5.09.doc
      REVISED memantine term sheet and                                                        charles ryan, f. dominic cerrito, gerald flattmann, melanie
494                                                   3/6/2009      eric agovino
      generic company assignments                                                             rupert, patrick jochum
495   Generic Company Assignments.doc                 3/6/2009      no Author
      3-6-09 Memantine settlement proposal
496                                                   3/6/2009      IT
      (TRACK CHANGES).DOC
      3-6-09 Memantine settlement proposal
497                                                   3/6/2009      IT
      (CLEAN).DOC
      3-6-09 Memantine settlement proposal
498                                                   3/7/2009      IT
      (CLEAN).DOC
      RE: Please resend latest draft; it has
499                                                   3/9/2009      eric agovino              michael sohn
      disappeared from my computer!
      3-6-09 Memantine settlement proposal
500                                                   3/9/2009      IT
      (CLEAN).DOC
      RE: LCM - FRX: PTO patent term
      extension for Namenda to 2015 adds 1.5
501                                                  3/10/2009      lawrence olanoff          charles ryan
      yrs of sales to our model, helps stagger
      patent cliff; BUY
      REVISED memantine settlement                                                            charles ryan, f. dominic cerrito, gerald flattmann, michael
502                                                  3/10/2009      eric agovino
      proposal (3-10-09)                                                                      sohn, patrick jochum
      3-10-09 Memantine settlement proposal
503                                                  3/10/2009      IT
      (CLEAN).DOC
      3-10-09 Memantine settlement proposal
504                                                  3/10/2009      IT
      (TRACK CHANGES).DOC
505   FW: Orchid                                     3/10/2009      david solomon             ditra walsh
                                                                                              charles ryan, daniel malone, eric agovino, eric stops, f.
      Fw: Forest, et al. v. Cobalt, et al.
506                                                  3/11/2009      andres sawicki            dominic cerrito, gerald flattmann, melanie rupert, patrick
      Correspondence
                                                                                              jochum
507   FW: Settlement Agreement                       3/12/2009      david solomon             ditra walsh
      3-10-09 Memantine settlement proposal
508                                                  3/12/2009      IT
      (CLEAN).DOC


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title              Document Date                Author                                All Recipients
509   RE: Settlement Agreement                    3/12/2009      eric agovino              charles ryan, david solomon, herschel weinstein
      3-10-09 Memantine settlement proposal
510                                               3/12/2009      IT
      (CLEAN).DOC
511   RE: Settlement Agreement                    3/12/2009      eric agovino              charles ryan, david solomon, herschel weinstein
      3-10-09 Memantine settlement proposal
512                                               3/12/2009      IT
      (CLEAN).DOC
      REVISED memantine settlement
513                                               3/13/2009      eric agovino              charles ryan, david solomon, herschel weinstein
      proposal
      3-13-09 Memantine settlement proposal
514                                               3/13/2009      IT
      (TRACK CHANGES).DOC
515   RE: Conv w Counsel for Merz                 3/13/2009      eric agovino              charles ryan, michael sohn
      3-13-09 Memantine settlement proposal
516                                               3/13/2009      IT
      (TRACK CHANGES).DOC
      Fw: REVISED memantine settlement
517                                               3/13/2009      david solomon             ditra walsh
      proposal
      3-13-09 Memantine settlement proposal
518                                               3/13/2009      IT
      (TRACK CHANGES).DOC
      REVISED memantine settlement
519                                               3/13/2009      eric agovino              charles ryan, david solomon, herschel weinstein
      proposal
      3-13-09 Memantine settlement proposal
520                                               3/13/2009      IT
      (TRACK CHANGES).DOC
      REVISED memantine settlement
521                                               3/16/2009      eric agovino              charles ryan, herschel weinstein
      proposal (3-16-09)
      3-16-09 Memantine settlement proposal
522                                               3/16/2009      IT
      (TRACK CHANGES).DOC
      3-16-09 Memantine settlement proposal
523                                               3/16/2009      IT
      (CLEAN).DOC
524   Re: Orchid                                  3/16/2009      david solomon             rachel mears
525   FW: Orchid                                  3/16/2009      david solomon             eric agovino
526   Re: Orchid                                  3/16/2009      david solomon             rachel mears
                                                                                           charles ryan, david solomon, herschel weinstein, rachel
527   RE: Orchid                                  3/16/2009      eric agovino
                                                                                           mears


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title              Document Date                Author                                All Recipients
528   Fw: Orchid                                  3/16/2009      rachel mears              david solomon
                                                                                           charles ryan, david solomon, herschel weinstein, rachel
529   RE: Orchid                                  3/16/2009      eric agovino
                                                                                           mears
      Blackline of Orchid Term Sheet Cover
530                                               3/16/2009      no Author
      Note 3 5 09.doc
                                                                                           charles ryan, david solomon, herschel weinstein, rachel
531   RE: Orchid                                  3/16/2009      eric agovino
                                                                                           mears
532   FW: Orchid                                  3/16/2009      david solomon             charles ryan, herschel weinstein, rachel mears
533   FW: Orchid                                  3/16/2009      david solomon             charles ryan, herschel weinstein, rachel mears
534   Fw: Orchid                                  3/16/2009      charles ryan              eric agovino
      Blackline of Orchid Term Sheet Cover
535                                               3/16/2009      no Author
      Note 3.5.09.doc
536   FW: Orchid                                  3/17/2009      david solomon             ditra walsh
      Memantine Settlement/ Privileged and
537                                               3/17/2009      michael sohn              charles ryan, eric agovino, herschel weinstein
      Confidential
538   RE: Orchid                                  3/18/2009      herschel weinstein        david solomon
                                                                                           david solomon, eric agovino, herschel weinstein, rachel
539   Re: Orchid                                  3/18/2009      charles ryan
                                                                                           mears
540   FW: Orchid                                  3/18/2009      david solomon             rachel mears
                                                                                           david solomon, eric agovino, herschel weinstein, rachel
541   Re: Orchid                                  3/18/2009      charles ryan
                                                                                           mears
542   FW: Orchid                                  3/18/2009      david solomon             rachel mears
                                                                                           charles ryan, eric agovino, herschel weinstein, rachel
543   FW: Orchid                                  3/18/2009      david solomon
                                                                                           mears
                                                                                           charles ryan, eric agovino, herschel weinstein, rachel
544   RE: Orchid                                  3/20/2009      david solomon
                                                                                           mears
                                                                                           charles ryan, eric agovino, herschel weinstein, rachel
545   RE: Orchid                                  3/20/2009      david solomon
                                                                                           mears
546   Re: Orchid                                  3/21/2009      charles ryan              david solomon
      Re: REVISED Memantine settlement                                                     charles ryan, eric agovino, f. dominic cerrito, michael
547                                               3/23/2009      gerald flattmann
      proposal (3-23-09)                                                                   sohn, paproger@jonesday.com, patrick jochum




                                                                       34
                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      3-23-09 Memantine settlement proposal
548                                               3/23/2009      IT
      (TRACK CHANGES).DOC
      3-23-09 Memantine settlement proposal
549                                               3/23/2009      IT
      (CLEAN).DOC
550   Re: Namenda settlement                      3/23/2009      david solomon             charles ryan, eric agovino, herschel weinstein
551   Re: Namenda settlement                      3/23/2009      charles ryan              david solomon, eric agovino, herschel weinstein
      RE: Memantine Settlement/ Privileged
552                                               3/23/2009      eric agovino              charles ryan, michael sohn
      and Confidential
      3-23-09 Memantine settlement proposal
553                                               3/23/2009      IT
      (CLEAN).DOC
554   Re: Namenda settlement                      3/23/2009      charles ryan              david solomon, eric agovino, herschel weinstein
      REVISED Memantine settlement                                                         charles ryan, f. dominic cerrito, gerald flattmann, michael
555                                               3/23/2009      eric agovino
      proposal (3-23-09)                                                                   sohn, paproger@jonesday.com, patrick jochum
      3-23-09 Memantine settlement proposal
556                                               3/23/2009      IT
      (TRACK CHANGES).DOC
      3-23-09 Memantine settlement proposal
557                                               3/23/2009      IT
      (CLEAN).DOC
558   Re: Namenda settlement                      3/23/2009      david solomon             charles ryan, eric agovino, herschel weinstein
559   RE: Namenda settlement                      3/23/2009      herschel weinstein        charles ryan, eric agovino
      REVISED Memantine settlement
560                                               3/25/2009      eric agovino              patrick jochum
      proposal
      3-23-09 Memantine settlement proposal
561                                               3/25/2009      IT
      (CLEAN).DOC
      3-23-09 Memantine settlement proposal
562                                               3/25/2009      IT
      (TRACK CHANGES).DOC
563   RE: Orchid Term Sheet                       3/25/2009      robert carnevale          melissa cooper, rachel mears
      RE: Namenda - Stipulation to Dismiss                                                 andres sawicki, charles ryan, eric stops, f. dominic cerrito,
564                                               3/25/2009      eric agovino
      Orchid Pharma                                                                        gerald flattmann, melanie rupert, patrick jochum
      REVISED memantine settlement                                                         charles ryan, f. dominic cerrito, gerald flattmann,
565                                               3/27/2009      eric agovino
      agreement (3-27-09)                                                                  herschel weinstein, patrick jochum


                                                                       35
                        Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title               Document Date               Author                                All Recipients
      3-27-09 Memantine settlement proposal
566                                             3/27/2009      IT
      (TRACK CHANGES).DOC
      3-27-09 Memantine settlement proposal
567                                             3/27/2009      IT
      (CLEAN).DOC
568   Memantine Settlement                      3/30/2009      herschel weinstein        charles ryan, eric agovino
      Blackline of Memantine Settlement
569                                             3/30/2009      no Author
      Proposal 3.30.09.doc
                                                                                         charles ryan, f. dominic cerrito, gerald flattmann, patrick
570   FINAL memantine settlement proposal       3/31/2009      eric agovino
                                                                                         jochum
      FINAL Memantine Settlement Proposal
571                                             3/31/2009      no Author
      3.30.09.doc
      Fw: FINAL memantine settlement
572                                             3/31/2009      charles ryan              david solomon
      proposal
      FINAL Memantine Settlement Proposal
573                                             3/31/2009      no Author
      3.30.09.doc
      AW: FINAL memantine settlement                                                     charles ryan, eric agovino, f. dominic cerrito, gerald
574                                             3/31/2009      patrick jochum
      proposal                                                                           flattmann
      FINAL Memantine Settlement Proposal 3
575                                             3/31/2009      Jochum
      30 09.doc
576   Final Memantine Settlement Proposal       3/31/2009      lucy zamot                eric agovino, michael sohn
      FINAL Memantine Settlement Proposal
577                                             3/31/2009      no Author
      3.30.09.doc
      Fw: FINAL memantine settlement
578                                             3/31/2009      david solomon             ditra walsh
      proposal
      FINAL Memantine Settlement Proposal
579                                             3/31/2009      no Author
      3.30.09.doc
580   memantine settlment proposal              3/31/2009      eric agovino              lucy zamot
      FINAL Memantine Settlement Proposal
581                                             3/31/2009      no Author
      3.30.09.doc
      FW: FINAL memantine settlement
582                                              4/1/2009      eric agovino              gerald flattmann
      proposal




                                                                     36
                             Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                  Document Date                Author                                All Recipients
      FINAL Memantine Settlement Proposal
583                                                   4/1/2009      no Author
      3.30.09.doc
      RE: Form 10-K for Fiscal Year Ended
584                                                   4/3/2009      eric agovino              charles ryan
      March 31, 2009
      RE: Form 10-K for Fiscal Year Ended
585                                                   4/3/2009      eric agovino              charles ryan
      March 31, 2009
586   10-K.doc                                       4/3/2009       no Author
587   Namenda oral solution                          4/14/2009      charles ryan              eric agovino, michael macalush, william gray
                                                                                              donald macdonald, james finchen, lauren dwyer, paul
588   RE: plans to analyze.ppt                       4/15/2009      david okimoto
                                                                                              hering, severina digiandomenico
                                                                                              f. dominic cerrito, gerald flattmann, melanie rupert,
589   Dr. Fred Schmitt                               4/16/2009      eric agovino
                                                                                              patrick jochum, stephan guertler
                                                                                              eric agovino, f. dominic cerrito, gerald flattmann, melanie
590   AW: Dr. Fred Schmitt                           4/17/2009      patrick jochum
                                                                                              rupert, stephan guertler
                                                                                              eric agovino, f. dominic cerrito, gerald flattmann, melanie
591   AW: Dr. Fred Schmitt                           4/17/2009      patrick jochum
                                                                                              rupert, stephan guertler
                                                                                              eric agovino, f. dominic cerrito, gregory morris, melanie
592   Re: Dr. Fred Schmitt                           4/17/2009      gerald flattmann
                                                                                              rupert, patrick jochum, stephan guertler
                                                                                              eric agovino, f. dominic cerrito, gerald flattmann, melanie
593   Re: Dr. Fred Schmitt                           4/17/2009      gregory morris
                                                                                              rupert, patrick jochum, stephan guertler
                                                                                              charles ryan, daniel malone, eric stops, gerald flattmann,
594   Patent Material                                4/24/2009      f. dominic cerrito
                                                                                              patrick jochum
                                                                                              eric agovino, f. dominic cerrito, gerald flattmann, patrick
595   Re: Namenda:                                   4/26/2009      charles ryan
                                                                                              jochum
                                                                                              charles ryan, eric agovino, gerald flattmann, melanie
596   Re: Fw: MEMANTINE: Settlement                  4/27/2009      f. dominic cerrito
                                                                                              rupert, patrick jochum
                                                                                              charles ryan, eric agovino, gerald flattmann, melanie
597   Fw: MEMANTINE: Settlement                      4/27/2009      f. dominic cerrito
                                                                                              rupert, patrick jochum
598   Product line assumptions.xls                   4/27/2009      Sylvia Striker
                                                                                              charles ryan, eric agovino, f. dominic cerrito, gerald
599   Re: Fw: MEMANTINE: Settlement                  4/27/2009      melanie rupert
                                                                                              flattmann, patrick jochum
600   Fw: Patent Material                            4/27/2009      charles ryan              eric agovino, michael ciraolo


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
601   Re: Fw: MEMANTINE: Settlement               4/27/2009      melanie rupert
                                                                                           flattmann, patrick jochum
                                                                                           charles ryan, eric agovino, gerald flattmann, melanie
602   Fw: MEMANTINE: Settlement                   4/27/2009      f. dominic cerrito
                                                                                           rupert, patrick jochum
603   Fw: Fw: MEMANTINE: Settlement               4/28/2009      charles ryan              lucy zamot
                                                                                           alexander greenberg, charles ryan, eric agovino,
      Merz's Responses to Defendants' Rule                                                 evangeline shih, f. dominic cerrito, gbrier@jonesday.com,
604                                               4/28/2009      eric stops
      30(b) Notice                                                                         gerald flattmann, gregory morris, melanie rupert, patrick
                                                                                           jochum
                                                                                           alexander greenberg, charles ryan, eric agovino, eric
      Forest's Responses to Defendants' Rule
605                                               4/28/2009      melanie rupert            stops, f. dominic cerrito, gerald flattmann, gregory
      30(b) Notices
                                                                                           morris, patrick jochum
606   Notes on patent review April 2009.doc       4/29/2009      no Author
                                                                                           #namenda pl counsel and clients, jack b.blumenfeld,
607   Namenda Requests for Admission              4/30/2009      alexander greenberg
                                                                                           maryellen noreika
      Plaintiffs' RFAs to
608                                               4/30/2009      IT
      Apotex_(14306116_2).DOC
                                                                                           charles ryan, eric agovino, gerald flattmann, patrick
609   Apotex memantine settlement proposal         5/4/2009      f. dominic cerrito
                                                                                           jochum
610   Notes on patent review April 2009.doc        5/5/2009      no Author
      Re: Apotex memantine settlement                                                      charles ryan, eric agovino, f. dominic cerrito, patrick
611                                                5/5/2009      gerald flattmann
      proposal                                                                             jochum
                                                                                           alexander greenberg, charles ryan, eric agovino, eric
                                                                                           stops, f. dominic cerrito, gerald flattmann, gregory
612   Letter to Court                              5/5/2009      melanie rupert
                                                                                           morris, jack b.blumenfeld, maryellen noreika, patrick
                                                                                           jochum
      Joint Letter to Court (includes
613                                                5/5/2009      Administrator
      Defendants' section)_(14554473_1).DOC




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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title               Document Date                Author                                All Recipients

                                                                                          antonia periclou, carrie furin, charles lindamood, charles
                                                                                          ryan, debra marchese, james demartino, june bray, kim li,
      Namenda XR label for Thursday's
614                                               5/8/2009      michael niebo             marco taglietti, melissa moser, paul grint, puneet
      meeting - for review
                                                                                          sachdev, robert hofbauer, robert jackson, sandra arias,
                                                                                          shashank mahashabde, stephen graham, terry martin
615   MEM XR PI Draft v30 8 May 2009.doc          5/8/2009      no Author
616   RE: memantine settlement                    5/8/2009      eric agovino              f. dominic cerrito
617   NAMENDA settlement status                   5/8/2009      eric agovino              charles ryan
618   NAMENDA settlement status.doc               5/8/2009      no Author
                                                                                          charles ryan, eric agovino, eric stops, f. dominic cerrito,
619   Sun Settlement Agreement.DOC                5/8/2009      f. dominic cerrito
                                                                                          gerald flattmann, melanie rupert, patrick jochum
      NYI_4182087_1_Sun Settlement
620                                               5/8/2009      no Author
      Agreement (2).DOC
621   RE: memantine settlement                   5/8/2009       eric agovino              f. dominic cerrito
622   NAMENDA settlement status.doc              5/8/2009       no Author
623   Fw: NAMENDA settlement status              5/11/2009      ditra walsh               david solomon
624   NAMENDA settlement status.doc              5/11/2009      no Author
625   NAMENDA settlement status                  5/11/2009      charles ryan              david solomon, herschel weinstein
626   NAMENDA settlement status.doc              5/11/2009      no Author
627   FW: Orchid Term Sheet                      5/12/2009      robert carnevale          rajiv janjikhel
628   Memo Re Term Sheet v.2 4.22.09.doc         5/12/2009      no Author
629   Fw: Namenda -- Weiner Reference            5/12/2009      melanie rupert            eric agovino
630   Namenda Infringement Chart                 5/12/2009      alexander greenberg       #namenda pl counsel and clients
      Namenda Infringement
631                                              5/12/2009      IT
      Chart_(14201127_4).DOC




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
                                                                                           antonia periclou, carrie furin, charles lindamood, charles
                                                                                           ryan, debra marchese, james demartino, june bray, kim li,
                                                                                           marco taglietti, mariette boerstoel, melissa moser, paul
632   RE: Namenda XR label - for review           5/14/2009      michael niebo
                                                                                           grint, puneet sachdev, robert hofbauer, robert jackson,
                                                                                           sandra arias, shashank mahashabde, stephen graham,
                                                                                           terry martin
                                                                                           charles ryan, eric agovino, eric stops, f. dominic cerrito,
633   WG: RE: patent litigation                   5/14/2009      patrick jochum            gerald flattmann, melanie rupert, sbgarland@smart-
                                                                                           biggar.ca, stephan guertler
                                                                                           charles ryan, eric agovino, eric stops, f. dominic cerrito,
634   Fw: WG: RE: patent litigation               5/14/2009      evangeline shih           gerald flattmann, melanie rupert, patrick jochum,
                                                                                           sbgarland@smart-biggar.ca, stephan guertler
                                                                                           antonia periclou, carrie furin, charles lindamood, charles
                                                                                           ryan, debra marchese, james demartino, june bray, kim li,
                                                                                           marco taglietti, mariette boerstoel, melissa moser, paul
635   RE: Namenda XR label - for review           5/14/2009      michael niebo
                                                                                           grint, puneet sachdev, robert hofbauer, robert jackson,
                                                                                           sandra arias, shashank mahashabde, stephen graham,
                                                                                           terry martin
636   MEM XR PI Draft v31 14 May 2009.doc         5/14/2009      no Author
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
637   Re: WG: RE: patent litigation               5/14/2009      eric stops                flattmann, melanie rupert, patrick jochum,
                                                                                           sbgarland@smart-biggar.ca, stephan guertler
                                                                                           charles ryan, eric agovino, eric stops, f. dominic cerrito,
638   Fw: WG: RE: patent litigation               5/14/2009      evangeline shih           gerald flattmann, melanie rupert, patrick jochum,
                                                                                           sbgarland@smart-biggar.ca, stephan guertler
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
639   Re: WG: RE: patent litigation               5/14/2009      eric stops                flattmann, melanie rupert, patrick jochum,
                                                                                           sbgarland@smart-biggar.ca, stephan guertler
                                                                                           charles ryan, eric agovino, eric stops, evangeline shih, f.
640   AW: Fw: WG: RE: patent litigation           5/14/2009      patrick jochum            dominic cerrito, gerald flattmann, melanie rupert,
                                                                                           sbgarland@smart-biggar.ca, stephan guertler




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                All Recipients
      FW: Namenda XR label for Thursday's
641                                               5/14/2009      stephen graham            james perhach, marco taglietti
      meeting - for review
                                                                                           antonia periclou, carrie furin, charles lindamood, charles
                                                                                           ryan, debra marchese, james demartino, june bray, kim li,
                                                                                           marco taglietti, mariette boerstoel, melissa moser,
642   RE: Namenda XR label - for review           5/18/2009      michael niebo
                                                                                           michael niebo, paul grint, puneet sachdev, robert
                                                                                           hofbauer, robert jackson, sandra arias, shashank
                                                                                           mahashabde, stephen graham, terry martin
643   RE: Namenda XR label - for review           5/18/2009      marco taglietti           michael niebo
644   RE: Namenda XR label - for review           5/18/2009      marco taglietti           michael niebo
                                                                                           antonia periclou, carrie furin, charles lindamood, charles
                                                                                           ryan, debra marchese, james demartino, june bray, kim li,
                                                                                           marco taglietti, mariette boerstoel, melissa moser, paul
645   FW: Namenda XR label - for review           5/18/2009      michael niebo
                                                                                           grint, puneet sachdev, robert hofbauer, robert jackson,
                                                                                           sandra arias, shashank mahashabde, stephen graham,
                                                                                           terry martin
646   MEM XR PI Draft v31 14 May 2009.doc         5/18/2009      no Author
                                                                                           antonia periclou, carrie furin, charles ryan, debra
                                                                                           marchese, james demartino, june bray, kim li, marco
                                                                                           taglietti, mariette boerstoel, melissa moser, michael
647   RE: Namenda XR label - for review           5/19/2009      charles lindamood
                                                                                           niebo, paul grint, puneet sachdev, robert hofbauer,
                                                                                           robert jackson, sandra arias, shashank mahashabde,
                                                                                           stephen graham, terry martin
                                                                                           antonia periclou, carrie furin, charles lindamood, charles
                                                                                           ryan, debra marchese, james demartino, james perhach,
                                                                                           june bray, kim li, marco taglietti, mariette boerstoel,
648   RE: Namenda XR label - Final Draft          5/21/2009      michael niebo
                                                                                           michael niebo, nikhil nayak, paul grint, puneet sachdev,
                                                                                           robert hofbauer, robert jackson, sandra arias, stephen
                                                                                           graham, terry martin
649   MEM XR PI Final Draft 21 May 2009.doc       5/21/2009      no Author



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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date               Author                                  All Recipients
      FW: Orchid Term Sheet- Orchid's Latest
650                                              5/29/2009      rachel mears                herschel weinstein, robert carnevale
      Draft
651   Namenda litigation update 6-03-09.ppt       6/3/2009      Registered User

652   Namenda status update 6-03-09.doc           6/3/2009      Forest Laboratories, Inc.

653   Namenda litigation update 6-03-09.ppt       6/3/2009      Registered User
654   Dr. Howard Fillit deposition summary       6/10/2009      eric agovino                charles ryan
      Re: Fw: Memantine Settlement                                                          charles ryan, eric agovino, gerald flattmann, patrick
655                                              6/10/2009      f. dominic cerrito
      Agreement                                                                             jochum
      Re: Fw: Memantine Settlement                                                          charles ryan, eric agovino, f. dominic cerrito, patrick
656                                              6/10/2009      gerald flattmann
      Agreement                                                                             jochum
      FW: Dr. Howard Fillit deposition
657                                              6/10/2009      eric agovino                kristen derhaag
      summary
      FW: Dr. Howard Fillit deposition
658                                              6/10/2009      eric agovino                kristen derhaag
      summary
                                                                                            charles ryan, eric agovino, gerald flattmann, patrick
659   Fw: Memantine Settlement Agreement         6/10/2009      f. dominic cerrito
                                                                                            jochum
      FW: Dr. Howard Fillit deposition                                                      david solomon, eric agovino, herschel weinstein, howard
660                                              6/11/2009      charles ryan
      summary                                                                               solomon, lawrence olanoff
      FW: Dr. Howard Fillit deposition
661                                              6/11/2009      herschel weinstein          joanne mentz
      summary
      Memantine Settlement Agreement with
662                                              6/16/2009      eric agovino                charles ryan, david solomon, herschel weinstein
      Sun
      Emailing: FINAL Memantine Settlement
663                                              6/16/2009      eric agovino                lucy zamot
      Proposal.doc
      FINAL Memantine Settlement
664                                              6/16/2009      no Author
      Proposal.doc
665   FW: Memantine Settlement Agreement         6/16/2009      eric agovino                lucy zamot




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                        Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title              Document Date                Author                                All Recipients
      Memantine Settlement Agreement with
666                                             6/16/2009      eric agovino              charles ryan, david solomon, herschel weinstein
      Sun
      Memantine Settlement
667                                             6/16/2009      no Author
      AgreementREDLINED.doc
      Memantine Settlement Agreement with
668                                             6/16/2009      eric agovino              charles ryan, david solomon, herschel weinstein
      Sun
      Memantine Settlement
669                                             6/16/2009      no Author
      AgreementREDLINED.doc
                                                                                         charles ryan, f. dominic cerrito, gerald flattmann, patrick
670   RE: Memantine Settlement Agreement        6/17/2009      eric agovino
                                                                                         jochum
                                                                                         charles ryan, f. dominic cerrito, gerald flattmann, patrick
671   RE: Memantine Settlement Agreement        6/17/2009      eric agovino
                                                                                         jochum
      Memantine Settlement Agreement
672                                             6/17/2009      no Author
      (Forest comments 6-17-09).DOC
      FW: Memantine Settlement Agreement
673                                             6/17/2009      ditra walsh               david solomon
      with Sun
      Memantine Settlement
674                                             6/17/2009      no Author
      AgreementREDLINED.doc
675   RE: Deposition Transcript                 6/17/2009      eric agovino              darcelle gleason, srinivas vangala
676   Fw: Forest Labs. v. Cobalt Labs.          6/21/2009      gregory morris            eric agovino
677   Re: Forest Labs. v. Cobalt Labs.          6/21/2009      eric agovino              gregory morris
678   Re: Forest Labs. v. Cobalt Labs.          6/21/2009      gregory morris            eric agovino
679   Re: Message                               6/23/2009      david solomon             erica boyer, joanne francis, rachel mears
680   Re: Message                               6/23/2009      rachel mears              david solomon
681   Re: Orchid Negotiation Notes              6/26/2009      rachel mears              david solomon, robert carnevale
682   FW: Language approval                     6/29/2009      lauren dwyer              james finchen
683   settlement slides                         7/1/2009       eric agovino              alexander greenberg, melanie rupert
684   Settlement update.ppt                     7/1/2009       Registered User
685   Fw: Namenda Presentation                  7/1/2009       eric agovino              charles ryan
      Namenda Client Presentation - July 6
686                                              7/1/2009      IT
      2009_(14954039_2).PPT




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                 All Recipients
                                                                                             eric agovino, f. dominic cerrito, gerald flattmann, john
687   Namenda Presentation                         7/5/2009      alexander greenberg
                                                                                             desmarais, melanie rupert, patrick jochum
      Namenda -- Fillit / Weiner                                                             eric agovino, evan diamond, gerald flattmann, melanie
688                                                8/17/2009     gregory morris
      Confidentiality Designations                                                           rupert
689   Namenda MR Conversion Strategy.ppt           9/14/2009     James Finchen
690   Memantine Critical Doc Binder Index.doc      9/21/2009     Forest Laboratories, Inc.
      Namenda Expert Disclosure - Dr. Paul                                                   eric agovino, eric stops, evangeline shih, f. dominic
691                                               10/28/2009     melanie rupert
      Fishman                                                                                cerrito, gerald flattmann, patrick jochum
                                                                                             david solomon, elaine hochberg, eric agovino, frank
      New Paragraph IV letter for memantine
692                                               10/29/2009     charles ryan                murdolo, frank perier, herschel weinstein, howard
      from Torrent Pharmaceuticals
                                                                                             solomon, lawrence olanoff, william meury
693   Torrent settlement agreement                11/19/2009     eric agovino                charles ryan, peter armenio
      2009-11-19 DRAFT Torrent Settlement
694   and License Agreement (TRACK                11/19/2009     no Author
      CHANGES).doc
      Draft Lupin Infringement Chart For
695                                               11/19/2009     IT
      Doody_(15930180_1) (3).DOC
696   Confidential Boghigian Expert Report.pdf    11/23/2009     no Author
697   Final Torrent settlement agreement          11/23/2009     eric agovino                charles ryan, patrick jochum
      2009-11-23 DRAFT Lupin Settlement and
698   License Agreement (TRACK                    11/23/2009     no Author
      CHANGES).pdf
      2009-11-23 DRAFT Lupin Settlement and
699   License Agreement (TRACK                    11/23/2009     no Author
      CHANGES).doc
700   Lupin agreement                             11/23/2009     eric agovino                charles ryan
      2009-11-23 DRAFT Lupin Settlement and
701   License Agreement (TRACK                    11/23/2009     no Author
      CHANGES).pdf




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                 All Recipients
      2009-11-23 DRAFT Lupin Settlement and
702                                              11/23/2009      no Author
      License Agreement (CLEAN).doc
      2009-11-23 DRAFT Lupin Settlement and
703                                              11/23/2009      no Author
      License Agreement (CLEAN).doc
704   Lupin settlement agreement                 11/23/2009      eric agovino                charles ryan, peter armenio
      2009-11-23 DRAFT Lupin Settlement and
705   License Agreement (TRACK                   11/23/2009      no Author
      CHANGES).doc
      Fw: AW: Final Torrent settlement
706                                              11/24/2009      eric agovino                emily wolkoff
      agreement
707   AW: Final Torrent settlement agreement     11/24/2009      patrick jochum              charles ryan, eric agovino
      Forest Labs - Orchid - Ceftaroline Term
708   Sheet- 30Nov09 (marked against Nov         11/30/2009      dsolomon
      23).doc
      2009-11-30 DRAFT Merz-Forest-Torrent
709                                              11/30/2009      no Author
      Settlement and License Agreement.DOC
      2009-11-30 DRAFT Merz-Forest-Torrent
710   Settlement and License Agreement           11/30/2009      no Author
      (TRACK CHANGES).pdf
711   Namenda Utilization                         12/1/2009      severina kraner             james finchen, jason wong
712   FW: Orchid Term Sheet                       12/1/2009      david solomon               charles ryan, herschel weinstein, rachel mears
713   Goldsteinlet.DOC                            12/3/2009      IT
714   FW: Namenda data request (IMS)              12/4/2009      eric agovino                gregory morris
715   RE: Namenda data request (IMS)              12/4/2009      kevin haney                 eric agovino
716   Dec 4 2009.ppt                              12/4/2009      no Author
717   FW: Namenda data request (IMS)              12/4/2009      eric agovino                kevin haney
      EXECUTION COPY Merz-Forest-Torrent
718                                               12/7/2009      Forest Laboratories, Inc.
      Settlement and License Agreement.DOC




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date               Author                                All Recipients
      Namenda Dial-in Number for                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
719                                               12/9/2009      andres sawicki
      Teleconference                                                                       flattmann, melanie rupert, roberto malinow
720   Lupin Settlement Agreement                 12/10/2009      charles ryan              eric agovino, patrick jochum, peter armenio
      Lupin Settlement and License
721                                              12/10/2009      no Author
      Agreement (final).doc
      20091209 DRAFT Lupin Settlement and
722                                              12/10/2009      no Author
      License Agreement track changes.doc
      2009-12-11 DRAFT Orchid Settlement
723   and License Agreement (TRACK               12/11/2009      no Author
      CHANGES).doc
      EXECUTION COPY Merz-Forest-Lupin
724   Settlement and License Agreement           12/11/2009      no Author
      (TRACK CHANGES).doc
      2009-12-11 DRAFT Lupin Settlement and
725   License Agreement (TRACK                   12/11/2009      no Author
      CHANGES).doc
      2009-12-11 DRAFT Orchid Settlement
726   and License Agreement (TRACK               12/11/2009      no Author
      CHANGES).pdf
      2009-12-11 DRAFT Orchid Settlement
727                                              12/11/2009      no Author
      and License Agreement (CLEAN).doc
      EXECUTION COPY Merz-Forest-Lupin
728                                              12/11/2009      no Author
      Settlement and License Agreement.doc
                                                                                           eric agovino, f. dominic cerrito, gerald flattmann, jack
729   Namenda - Stipulation to Stay for Lupin    12/14/2009      melanie rupert
                                                                                           b.blumenfeld, maryellen noreika
730   Draft Namenda Lipinski Report              12/14/2009      andres sawicki            eric agovino, melanie rupert
      DRAFT Lipinski
731                                              12/14/2009      IT
      Report_(16025226_4).DOC
      Forest re Namenda: Markup of draft
732                                              12/14/2009      benjamin lasky            anne toker, eric agovino, peter armenio
      Orchid agreements




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date               Author                               All Recipients
      BAL_AST Markup - Orchid Draft
733   Settlement Agreement 12-14-                 12/14/2009     IT
      2009.doc_(16057399_1).DOC
734   Namenda XR slides                           12/14/2009     eric agovino              anagha matapurkar
735   Fw: Memantine Settlement Agreement          12/14/2009     eric agovino              melanie rupert
                                                                                           charles ryan, eric agovino, f. dominic cerrito, gerald
736   DRL Stipulation to Dismiss                  12/14/2009     melanie rupert
                                                                                           flattmann
      Re: Namenda - Stipulation to Stay for                                                f. dominic cerrito, gerald flattmann, jack b.blumenfeld,
737                                               12/14/2009     eric agovino
      Lupin                                                                                maryellen noreika, melanie rupert
738   Lifecycle Update Nov30.ppt                  12/16/2009     psachdev
739   Namenda -- Draft Murry Report               12/17/2009     gregory morris            eric agovino
      DRAFT - Commercial Success Graphs &
740                                               12/17/2009     jberrebi
      Tables.doc_(16050141_9).DOC
      12-15 J. Murry Draft Commercial Success
741                                               12/17/2009     Ellen Lin
      Report_(16067854_1).DOC
742   Business Review v24.ppt                     12/22/2009     Christine Huelster
      RE: Dow Jones: "Lupin settles litigation
743                                               12/22/2009     eric agovino              charles ryan, frank murdolo, jon garbo
      with Forest Lab's"
      RE: 10-Q referencing memantine                                                       gladys goldstein, ken viola, michael piacquadio, sheik
744                                               12/22/2009     nandranie singh
      settlement agreement                                                                 sataur, vicki keavney
      RE: Dow Jones: "Lupin settles litigation
745                                               12/22/2009     eric agovino              charles ryan, frank murdolo, jon garbo
      with Forest Lab's"
      RE: Dow Jones: "Lupin settles litigation
746                                               12/22/2009     jon garbo                 charles ryan, eric agovino, frank murdolo
      with Forest Lab's"
      Re: IP Law360: Litigation, Policy &
747                                               12/23/2009     david solomon             charles ryan
      People News
      FW: IP Law360: Litigation, Policy &
748                                               12/23/2009     david solomon             charles ryan
      People News
749   FW: Timeline slide                          12/23/2009     nikhil nayak              julie snyder
750   Namenda XR launch scenarios.doc             12/23/2009     no Author
751   Namenda XR launch scenarios.doc             12/23/2009     no Author


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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title               Document Date                Author                                  All Recipients
      Re: IP Law360: Litigation, Policy &
752                                               12/23/2009      charles ryan                david solomon
      People News
      RE: 10-Q referencing memantine
753                                               12/24/2009      benjamin gober              vicki keavney
      settlement agreement
      FW: 10-Q referencing memantine
754                                               12/24/2009      vicki keavney               linda wu
      settlement agreement
      RE: 10-Q referencing memantine
755                                               12/28/2009      michael piacquadio          ken viola
      settlement agreement
756   Business Review v26.ppt                       1/4/2010      Christine Huelster
757   Business Review v26.ppt                       1/4/2010      Christine Huelster
758   Business Review v27.ppt                       1/4/2010      Christine Huelster
759   IP Department 2009 Review.doc                 1/4/2010      Forest Laboratories, Inc.

760   IP Department 2009 Review.doc                 1/4/2010      Forest Laboratories, Inc.

      2009-09-02 Draft Wockhardt Settlement
761                                                 1/6/2010      no Author
      Agreement (TRACK CHANGES).doc
762   2009-01-08 NAMENDA XR meeting.ppt             1/6/2010      Registered User
763   no Title                                      1/7/2010      eric agovino                charles ryan, nikhil nayak, william meury
764   2009-01-08 NAMENDA XR meeting.ppt             1/7/2010      Registered User
765   2009-01-08 NAMENDA XR meeting.ppt             1/7/2010      Registered User
766   2009-01-08 NAMENDA XR meeting.ppt             1/7/2010      Registered User
767   2009-01-08 NAMENDA XR meeting.ppt             1/7/2010      Registered User
      2010.01.19 Letter to Panel re
768                                                1/19/2010      no Author
      withdrawing motion_(16192793_1).DOC

      Letter to JPML Panel Withdrawing                                                        charles ryan, eric agovino, eric stops, f. dominic cerrito,
769                                                1/19/2010      andres sawicki
      Motion to Consolidate Namenda Actions                                                   gerald flattmann, melanie rupert, patrick jochum




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title               Document Date                Author                                  All Recipients

      2010.01.19 Letter to Panel re
770                                                1/19/2010      ASawicki
      withdrawing motion_(16192793_1).DOC
771   Fishman deposition summary                   1/20/2010      eric agovino                charles ryan
      2010.01.19 Letter to Panel re
772                                                1/20/2010      no Author
      withdrawing motion_(16192793_1).DOC

773   Dept memo                                    1/26/2010      Forest Laboratories, Inc.
774   Dept Meeting Agenda                          1/27/2010      jennifer fehrman            eric agovino
      Fw: Forest v. Orchid--Draft Joint
775                                                1/28/2010      charles ryan                david solomon, rachel mears
      Discovery Plan
                                                                                              andres sawicki, charles ryan, eric agovino, eric stops,
      Forest v. Orchid--Draft Joint Discovery
776                                                1/28/2010      evan diamond                evangeline shih, f. dominic cerrito, gerald flattmann,
      Plan
                                                                                              melanie rupert, patrick jochum
777   Orchid                                       1/28/2010      rachel mears                david solomon, herschel weinstein
      december 2009 10q disclosure                                                            elaine hochberg, frank perier, herschel weinstein,
778                                                1/28/2010      rita weinberger
      committee draft.doc                                                                     lawrence olanoff, marco taglietti
      Namenda Draft PTO Body and                                                              charles ryan, eric agovino, eric stops, f. dominic cerrito,
779                                                1/28/2010      andres sawicki
      Uncontested Facts                                                                       gerald flattmann, melanie rupert, patrick jochum
      DRAFT Stipulation of
780                                                1/28/2010      IT
      Facts_(16205031_5).DOC
      DRAFT Joint Pretrial
781                                                1/28/2010      Andres Sawicki
      Order_(16112345_7).DOC
      december 2009 10q disclosure
782                                                1/29/2010      Forest Labs
      committee draft.doc
      Namenda--Pretrial Order Docs for Feb. 3                                                 charles ryan, eric agovino, f. dominic cerrito, gerald
783                                                 2/2/2010      evan diamond
      exchange                                                                                flattmann, melanie rupert, patrick jochum
      Namenda Trial Exhibit List for
784                                                 2/2/2010      coconnel
      PTO_(16144450_3).XLS




                                                                        49
                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                 Document Date              Author                                All Recipients
      DRAFT Statement of Contested Facts
785                                                 2/2/2010      IT
      and Law_(16207246_3).DOC
      Namenda--Pretrial Order Docs for Feb. 3                                               charles ryan, eric agovino, f. dominic cerrito, gerald
786                                                 2/2/2010      evan diamond
      exchange                                                                              flattmann, melanie rupert, patrick jochum
      Namenda Trial Exhibit List for
787                                                 2/2/2010      no Author
      PTO_(16144450_3).XLS
      DRAFT Statement of Contested Facts
788                                                 2/2/2010      no Author
      and Law_(16207246_3).DOC
                                                                                            charles ryan, eric agovino, eric stops, evangeline shih, f.
789   Namenda Litigation: Witness Lists             2/3/2010      shane cortesi             dominic cerrito, gerald flattmann, melanie rupert, patrick
                                                                                            jochum
      Cortesi Sections of Pretrial
790                                                 2/3/2010      IT
      Order_(16209203_5).DOC
      Forest Laboratories, Inc. v. Ivax
791                                                 2/3/2010      9.12.9.1.V2
      Pharmaceuticals, Inc.doc
                                                                  charles ryan, herschel
792   Fw: NCE Agreement                             2/3/2010                                david solomon, rachel mears
                                                                  weinstein
      Namenda--Statement of Uncontested                                                     charles ryan, eric agovino, eric stops, f. dominic cerrito,
793                                                 2/9/2010      evan diamond
      Facts                                                                                 gerald flattmann, melanie rupert, patrick jochum

                                                                                            allyson gage, christine huelster, daniel jia, enamul kabir,
      Drafted Minutes: Memantine Project                                                    kim li, mark feldman, michael ciraolo, michael niebo,
794                                                 2/10/2010     sandra arias
      Team Meeting (held 2/1)                                                               nikhil nayak, pradeep banerjee, puneet sachdev, robert
                                                                                            carnevale, stephen graham, terry martin, todd riccobene
795   MemMinutes_01Feb2010.doc                      2/10/2010     Sandra Arias
      DRAFT Proposed Findings of
796                                                 2/10/2010     ediamond
      Fact_(16209016_11).DOC
                                                                                            andres sawicki, charles ryan, david erie, eric stops, f.
      Namenda--Plaintiffs' Findings of Fact and
797                                                 2/10/2010     evan diamond              dominic cerrito, gerald flattmann, melanie rupert, patrick
      Conclusions of Law
                                                                                            jochum, shane cortesi




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                 All Recipients
                                                                                             charles ryan, eric agovino, eric stops, evan diamond, f.
798   Revised Pretrial Order Body                  2/10/2010     andres sawicki              dominic cerrito, gerald flattmann, jack b.blumenfeld,
                                                                                             melanie rupert, patrick jochum, shane cortesi
      2010.02.04 Mylan's Revisions to Pretrial
799   Order Body (Clean                            2/10/2010     lw8
      Copy).doc_(16278405_1).DOC
      2010.02.10 Plaintiffs' Revisions to
800   Pretrial Order Body (Clean                   2/10/2010     lw8
      Copy).doc_(16278390_2).DOC
      2010.02.10 Plaintiffs' Revisions to
801   Pretrial Order Body                          2/10/2010     no Author
      (Blackline).doc_(16278419_1).PDF
      2010.02.04 Mylan's Revisions to Pretrial
802   Order Body                                   2/10/2010     no Author
      (Blackline)_(16278417_1).PDF
      DRAFT Proposed Findings of
803                                                2/10/2010     ediamond
      Fact_(16209016_11).DOC
804   FW: NCE Agreement                            2/11/2010     david solomon               herschel weinstein
805   ABD RD Draft Presentation 02.11.10.ppt       2/11/2010     Christine Huelster
806   Fw: Meeting on Namenda ODT                   2/11/2010     joanne francis              ted francis
807   ABD RD Draft Presentation 02.11.10.ppt       2/11/2010     Christine Huelster

808   ABD RD Draft Presentation 02 11 10.ppt       2/12/2010     Christine Huelster
      2009-12-11 DRAFT Orchid Settlement
809                                                2/12/2010     Forest Laboratories, Inc.
      and License Agreement (CLEAN 2).doc
      2009-12-11 DRAFT Orchid Settlement
810   and License Agreement (TRACK                 2/12/2010     Forest Laboratories, Inc.
      CHANGES2).doc
811   ABD RD Draft Presentation 02 11 10.ppt       2/12/2010     Christine Huelster



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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title               Document Date                Author                                All Recipients
                                                                                            charles ryan, eric agovino, eric stops, evangeline shih, f.
      Namenda--Contested Issues of Fact/Law
812                                                2/17/2010      evan diamond              dominic cerrito, gerald flattmann, melanie rupert, patrick
      (Joint and Plaintiffs' versions)
                                                                                            jochum
      DRAFT Joint Statement of Contested
813                                                2/17/2010      IT
      Issues_(16295810_2).DOC
      Draft Statement of Contested Facts and
814                                                2/17/2010      no Author
      Law (v7--_v10)_(16300993_1).PDF
      DRAFT Statement of Contested Facts
815                                                2/17/2010      IT
      and Law_(16207246_10).DOC
816   Fw: Prescribing information                  2/18/2010      eric agovino              melanie rupert
      Namenda--Findings of Fact/Conclusions                                                 charles ryan, eric agovino, eric stops, f. dominic cerrito,
817                                                2/22/2010      evan diamond
      of Law                                                                                gerald flattmann, melanie rupert, patrick jochum
      DRAFT Proposed Findings of
818                                                2/22/2010      ediamond
      Fact_(16209016_13).DOC
      DRAFT Proposed Findings of Fact
819   (blackline v12- to                           2/22/2010      no Author
      v13)_(16318683_1).PDF
820   Draft Complaint                              2/22/2010      eric agovino              charles ryan, f. dominic cerrito, patrick jochum
      DRAFT Proposed Findings of Fact
821   (blackline v12- to                           2/22/2010      no Author
      v13)_(16318683_1).PDF
      DRAFT Proposed Findings of
822                                                2/22/2010      ediamond
      Fact_(16209016_13).DOC
823   Updated Trial Responsibilities               2/23/2010      melanie rupert            charles ryan, eric agovino, gerald flattmann
      Cortesi Sections of Pretrial
824                                                2/23/2010      IT
      Order_(16209203_6).DOC
                                                                                            charles ryan, eric agovino, gerald flattmann, john
825   Trial Witness Responsibilities               2/23/2010      melanie rupert
                                                                                            desmarais
826   Mylan Exh 8.pdf                              2/24/2010      lw8
827   Mylan Exh 4.pdf                              2/24/2010      lw8
828   Mylan objs Exh 9 (clean).pdf                 2/24/2010      lw8


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                            Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                Document Date                Author                                All Recipients
829   Mylan objs Exh 9.pdf                          2/24/2010      lw8
      Jt statement of agreed upon issues of
830                                                 2/24/2010      no Author
      law_(PALIB1_3897201_1).DOC
      WSGR revisions to PTO
831                                                 2/24/2010      lw8
      body_(PALIB1_3898836_1).DOC
                                                                                             charles ryan, eric agovino, eric stops, evangeline shih, f.
832   Namenda: Revised Plaintiffs Witness List      2/25/2010      shane cortesi             dominic cerrito, gerald flattmann, jack blumenfeld,
                                                                                             melanie rupert, patrick jochum
      Blackline of Plaintiffs Expert
833                                                 2/25/2010      no Author
      List_(16340059_1).PDF
      Cortesi Sections of Pretrial
834                                                 2/25/2010      IT
      Order_(16209203_7).DOC
                                                                                             andres sawicki, charles ryan, eric agovino, eric stops, f.
      Namenda--Findings of Fact and
835                                                 2/25/2010      evan diamond              dominic cerrito, gerald flattmann, max morgan, melanie
      Conclusions of Law
                                                                                             rupert, patrick jochum, shane cortesi
      DRAFT Proposed Findings of Fact
836                                                 2/25/2010      no Author
      (blackline v13 to 15)_(16335089_1).PDF
      DRAFT Proposed Findings of
837                                                 2/25/2010      ediamond
      Fact_(16209016_15).DOC
      Forest Laboratories, Inc. v. Ivax
838                                                  3/1/2010      10.2.1.2.V2
      Pharmaceuticals, Inc.doc
839   Exhibit 11.pdf                                 3/1/2010      ediamond
840   Exhibit 11.pdf                                 3/1/2010      ediamond
      Final Namenda FY11 Strat Ops
841                                                  3/2/2010      Christine Huelster
      02.16.10.ppt
842   Orchid Term Sheet                              3/2/2010      rachel mears              david solomon, herschel weinstein
      Ceftaroline Term Sheet- Forest 2Mar10
843                                                  3/2/2010      no Author
      (redline).doc
      Forest Response to Mylan's Motion to
844   Exclude Malinow (Clean                         3/4/2010      IT
      Copy)_(16372760_2).DOC


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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date               Author                                All Recipients
845   Memantine tentative approvals               3/4/2010      eric agovino              charles ryan
846   Memantine tentative approvals               3/4/2010      eric agovino              charles ryan
      2010-03-04 DRAFT Orchid Settlement
847   and License Agreement (TRACK                3/4/2010      no Author
      CHANGES).DOC
848   Orchid settlement agreement                 3/9/2010      eric agovino              charles ryan, eric agovino, patrick jochum
      EXECUTION COPY Orchid Settlement and
849                                               3/9/2010      no Author
      License Agreement.DOC
      EXECUTION COPY Orchid Settlement and
850                                               3/9/2010      no Author
      License Agreement.DOC
      Ceftaroline Term Sheet- Forest 10Mar10
851                                              3/12/2010      Robert Carnevale
      (FINAL).doc
      2010-03-16 Draft Mylan Settlement and
852                                              3/17/2010      no Author
      License Agreement (CLEAN).doc
853   Draft Mylan settlement agreement           3/17/2010      eric agovino              charles ryan, peter armenio
      2010-03-16 Draft Mylan Settlement and
854                                              3/17/2010      no Author
      License Agreement (CLEAN).doc
      2010-03-16 Draft Mylan Settlement and
855   License Agreement (TRACK                   3/17/2010      no Author
      CHANGES).doc
856   Draft Mylan settlement agreement           3/17/2010      eric agovino              eric agovino
      2010-03-16 Draft Mylan Settlement and
857                                              3/17/2010      no Author
      License Agreement (CLEAN).doc
858   Draft Mylan settlement agreement           3/17/2010      eric agovino              charles ryan, david solomon
      2010-03-16 Draft Mylan Settlement and
859                                              3/17/2010      no Author
      License Agreement (CLEAN).doc
860   Draft Mylan settlement agreement           3/17/2010      eric agovino              charles ryan, herschel weinstein, michael sohn
      2010-03-16 Draft Mylan Settlement and
861                                              3/17/2010      no Author
      License Agreement (CLEAN).doc
862   Draft Mylan settlement agreement           3/17/2010      eric agovino              charles ryan, peter armenio
863   Draft Mylan settlement agreement           3/17/2010      eric agovino              charles ryan, john desmarais, melanie rupert




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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title              Document Date                Author                                All Recipients
      2010-03-16 Draft Mylan Settlement and
864                                              3/17/2010      no Author
      License Agreement (CLEAN).doc
      2010-03-18 Draft Mylan Settlement and
865   License Agreement (TRACK                   3/18/2010      no Author
      CHANGES).pdf
      2010-03-18 Draft Mylan Settlement and
866   License Agreement (TRACK                   3/18/2010      no Author
      CHANGES).doc
      2010-03-18 Draft Mylan Settlement and
867                                              3/18/2010      no Author
      License Agreement (CLEAN).doc
      Stipulation to Stay NJ Proceedings
868                                              3/22/2010      IT
      Pending Dismissal_(16506213_1).DOC
                                                                                          allyson gage, antonia periclou, christine huelster, daniel
                                                                                          jia, enamul kabir, kim li, michael ciraolo, michael niebo,
      Drafted Meeting Minutes: Memantine
869                                              3/22/2010      sandra arias              nikhil nayak, pradeep banerjee, puneet sachdev, robert
      Project Team Meeting (held March 8th)
                                                                                          carnevale, salvatore iacono, sandra arias, stephen
                                                                                          graham, terry martin, todd riccobene
870   MemMinutes_08Mar2010.doc                   3/22/2010      Sandra Arias
871   License Agreement - Memantine.pdf          3/23/2010      no Author
      Settlement Agreement - Memantine -
872                                              3/23/2010      no Author
      Orchid Signed Pages.pdf
873   Settlement Agreement - Memantine.pdf       3/23/2010      no Author
      Forest Labs - Orchid - Term Sheet -
874                                              3/23/2010      no Author
      Signed.pdf
      License Agreement - Memantine -
875                                              3/23/2010      no Author
      Orchid Signed Pages.pdf
      Stipulation to Stay and Adjourn
876                                              3/23/2010      IT
      Scheduled Dates_(16506213_1).DOC
877   Revised Stipulation to Stay                3/24/2010      melanie rupert            charles lizza, eric agovino
      Stipulation to Stay and Adjourn
878                                              3/24/2010      IT
      Scheduled Dates_(16506213_1).DOC


                                                                      55
                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.              Document Title                Document Date                  Author                             All Recipients
      2010-03-25 DRAFT Mylan Settlement
879   and License Agreement (TRACK               3/25/2010      no Author
      CHANGES).doc
      Memanitne_Projec_Minutes_March201
880                                              3/25/2010      sarias
      0.pdf
      Draft Mylan Settlement and License
881                                              3/25/2010      eric agovino              charles ryan, peter armenio
      Agreement
      2010-03-25 Mylan Settlement and
882   License Agreement (TRACK                   3/25/2010      no Author
      CHANGES).doc
                                                                                          #corporate project team meeting minutes cc list, allyson
                                                                                          gage, antonia periclou, christine huelster, daniel jia,
      Final Minutes: Memantine Project Team
883                                              3/25/2010      sandra arias              enamul kabir, kim li, michael ciraolo, michael niebo,
      Meeting (March)
                                                                                          nikhil nayak, pradeep banerjee, robert carnevale, sandra
                                                                                          arias, stephen graham, terry martin
      Memanitne_Projec_Minutes_March201
884                                              3/25/2010      sarias
      0.pdf
885   Revised draft press release                3/25/2010      eric agovino              charles ryan, frank murdolo
      DRAFT Press Release announcing
886                                              3/25/2010      no Author
      settlement agreements.doc
      DRAFT email to Mylan (please let me
887   know if you have any comments -            3/29/2010      eric agovino              peter armenio
      thanks)
888   Stipulation And Order - Version 3.doc      3/29/2010      no Author
889   Stipulation And Order - Version 2.doc      3/29/2010      no Author
890   Stipulation And Order - Version 1.doc      3/29/2010      no Author
      Item 3 - Legal Proceedings 3 31 10
891                                              3/31/2010      no Author
      (2).doc
892   Disclosures                                 4/1/2010      lauren dwyer              james finchen
      FW: Sun Pharma announces USFDA
893   tentative approval for generic Namenda     4/10/2010      lawrence olanoff          june bray, marco taglietti
      R tablets


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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                  Document Date              Author                                 All Recipients
      FW: Sun Pharma announces USFDA
                                                                                              charles ryan, eric agovino, frank perier, herschel
894   tentative approval for generic Namenda        4/10/2010     frank murdolo
                                                                                              weinstein, lawrence olanoff
      R tablets
                                                                                              anagha matapurkar, charles ryan, david mott, eric
895   FW: Group Meeting Agenda attached             4/13/2010     jennifer fehrman
                                                                                              agovino, hemant khanna, michael ciraolo
896   April 13, 2010.ppt                            4/13/2010     Forest Laboratories, Inc.
      RE: Orchid Stipulation of Dismissal - Due
897                                                 4/22/2010     eric agovino                charles ryan, gerald flattmann, melanie rupert
      Today
      RE: Orchid Stipulation of Dismissal - Due
898                                                 4/22/2010     melanie rupert              eric agovino
      Today
      Re: Orchid Stipulation of Dismissal - Due
899                                                 4/23/2010     charles ryan                eric agovino, gerald flattmann, melanie rupert
      Today
      Sun Pharmaceuticals' subsidiary receives
      FDA approval for its ANDA to market a
900                                                 5/6/2010      frank murdolo               charles ryan, eric agovino
      generic version of Namenda 5mg and
      10mg tablets
      Sun Pharmaceuticals' subsidiary receives
      FDA approval for its ANDA to market a
901                                                 5/6/2010      frank murdolo               charles ryan, eric agovino
      generic version of Namenda 5mg and
      10mg tablets
      RE: Sun Pharmaceuticals' subsidiary
      receives FDA approval for its ANDA to
902                                                 5/6/2010      eric agovino                charles ryan, frank murdolo
      market a generic version of Namenda
      5mg and 10mg tablets
      FW: Sun Pharmaceuticals' subsidiary
      receives FDA approval for its ANDA to
903                                                 5/6/2010      eric agovino                charles ryan, gerald flattmann, melanie rupert
      market a generic version of Namenda
      5mg and 10mg tablets




                                                                        57
                            Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date                Author                                All Recipients
      RE: Sun Pharmaceuticals' subsidiary
      receives FDA approval for its ANDA to
904                                                  5/6/2010      frank murdolo             charles ryan, eric agovino
      market a generic version of Namenda
      5mg and 10mg tablets
      FW: Sun Pharmaceuticals' subsidiary
      receives FDA approval for its ANDA to
905                                                  5/6/2010      eric agovino              charles ryan, gerald flattmann, melanie rupert
      market a generic version of Namenda
      5mg and 10mg tablets
      RE: Sun Pharmaceuticals' subsidiary
      receives FDA approval for its ANDA to
906                                                  5/6/2010      eric agovino              charles ryan, frank murdolo
      market a generic version of Namenda
      5mg and 10mg tablets
907   Re: Namenda                                   5/7/2010       james finchen             carter dutch, ilias kifnidis, james finchen
908   RE: Sun- memantine                            5/7/2010       lawrence olanoff          charles ryan
909   Sun- memantine                                5/7/2010       lawrence olanoff          charles ryan
910   RE: Sun Pharmaceuticals                       5/10/2010      eric agovino              charles ryan, gerald flattmann, melanie rupert
911   Re: Sun Pharmaceuticals                       5/10/2010      melanie rupert            charles ryan, eric agovino, gerald flattmann
912   Sun Pharmaceuticals                           5/10/2010      eric agovino              charles ryan, gerald flattmann, melanie rupert
913   RE: Sun Pharmaceuticals                       5/10/2010      melanie rupert            charles ryan, eric agovino, gerald flattmann
914   Sun Pharmaceuticals                           5/10/2010      eric agovino              charles ryan, gerald flattmann, melanie rupert
915   Re: Sun Pharmaceuticals                       5/11/2010      charles ryan              eric agovino, gerald flattmann, melanie rupert
                                                                                             andres sawicki, charles ryan, eric agovino, gerald
916   Draft Letter to OGD                           5/11/2010      melanie rupert
                                                                                             flattmann
                                                                                             andres sawicki, charles ryan, gerald flattmann, melanie
917   RE: Draft Letter to OGD                       5/12/2010      eric agovino
                                                                                             rupert
918   FW: Signed Orchid Term Sheet                  5/13/2010      robert carnevale          herschel weinstein, rachel mears, rajiv janjikhel
919   Orchid Term Sheet - Signed 03 2010.PDF        5/13/2010      no Author
      Revised letter to OGD re generic
920                                                 5/13/2010      eric agovino              charles ryan, eric agovino, june bray, kurt karst
      memantine
      DRAFT letter to OGD re premature
921                                                 5/13/2010      ASawicki
      approvals.DOC


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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date                Author                                 All Recipients
      Revised letter to OGD re generic
922                                               5/13/2010      eric agovino                charles ryan, june bray, kurt karst
      memantine
      DRAFT letter to OGD re premature
923                                               5/13/2010      ASawicki
      approvals.DOC
      FW: Revised letter to OGD re generic
924                                               5/14/2010      nadia success               june bray
      memantine
      DRAFT Letter to OGD re premature
925                                               5/14/2010      no Author
      approvals.doc
      FW: Revised letter to OGD re generic
926                                               5/14/2010      june bray                   nadia success
      memantine
      DRAFT letter to OGD re premature
927                                               5/14/2010      ASawicki
      approvals.DOC
928   FW: 2010 Form 10-K                          5/17/2010      marco taglietti             elaine hochberg, lawrence olanoff, rita weinberger
      RE: Revised letter to OGD re generic
929                                               5/17/2010      june bray                   nadia success
      memantine
      DRAFT Letter to OGD re premature
930                                               5/17/2010      Forest Laboratories, Inc.
      approvals.doc
      DRAFT Letter to OGD re premature
931                                               5/17/2010      Forest Laboratories, Inc.
      approvals.doc
932   Case Assessment Form (Namenda).doc          5/20/2010      no Author
      FW: IP Law360: Litigation, Policy &
933                                               5/24/2010      david solomon               charles ryan, herschel weinstein, rachel mears
      People News
934   2010-05-26 NAMENDA XR meeting.ppt           5/25/2010      Registered User
935   FW: Namenda XR slides                       5/25/2010      nikhil nayak                julie snyder
936   2010-05-26 NAMENDA XR meeting.ppt           5/25/2010      Registered User
937   2010-05-26 NAMENDA XR meeting.ppt           5/25/2010      Registered User
938   FW: Revised NAMENDA XR slides               6/1/2010       nikhil nayak                julie snyder
939   2010-06-11 NAMENDA XR meeting.ppt           6/1/2010       Registered User
940   2010-06-11 NAMENDA XR meeting.ppt           6/1/2010       Registered User
941   Declaration Memantine MR                    6/1/2010       michael ciraolo             charles ryan, marco taglietti




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                          Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                 Document Date              Author                                All Recipients
      2010-06-02 DRAFT Settlement and
942                                                6/2/2010      no Author
      License Agreement.doc
      2010-06-11 NAMENDA XR
943                                                6/4/2010      Registered User
      meetingv2.ppt
944   RE: Revised NAMENDA XR slides                6/4/2010      nikhil nayak              charles ryan, eric agovino, william meury
      2010-06-11 NAMENDA XR
945                                                6/4/2010      Registered User
      meetingv2.ppt
946   Fw: Revised NAMENDA XR slides                6/4/2010      nikhil nayak              julie snyder
      Namenda XR Launch Scenarios 06-03-
947                                                6/4/2010      no Author
      10.xls
      2010-06-11 NAMENDA XR
948                                                6/4/2010      Registered User
      meetingv2.ppt
949   FW: Revised NAMENDA XR slides                6/7/2010      nikhil nayak              julie snyder
950   2010-06-11 NAMENDA XR meeting.ppt            6/7/2010      Registered User
                                                                                           allyson gage, antonia periclou, christine huelster, daniel
                                                                                           jia, enamul kabir, joanne francis, michael ciraolo, michael
      FW: Drafted Agenda: Memantine Project
951                                                6/7/2010      sandra arias              niebo, nikhil nayak, pradeep banerjee, puneet sachdev,
      Team Meeting (scheduled June 7th)
                                                                                           robert carnevale, robert imani, sandra arias, stephen
                                                                                           graham, terry martin
952   2010-06-11 NAMENDA XR meeting.ppt            6/7/2010      Registered User
953   RE: Revised NAMENDA XR slides                6/7/2010      eric agovino              nikhil nayak
954   2010-06-11 NAMENDA XR meeting.ppt            6/7/2010      Registered User
      RE: Prospective Preservation Obligations
955                                                6/8/2010      eric agovino              melanie rupert
      for Forest Laboratories
      RE: Prospective Preservation Obligations
956                                                6/8/2010      eric agovino              melanie rupert
      for Forest Laboratories
      Fw: Prospective Preservation Obligations
957                                                6/8/2010      melanie rupert            eric agovino
      for Forest Laboratories
      Revised 2010-06-11 NAMENDA XR
958                                                6/9/2010      Registered User
      meeting.ppt
      FW: Revised Slides and Forecast
959                                                6/9/2010      nikhil nayak              julie snyder
      Scenarios


                                                                       60
                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title                Document Date              Author                                All Recipients
      Namenda XR Launch Scenarios 06-09-
960                                               6/9/2010      no Author
      10v2.xls
      Revised 2010-06-11 NAMENDA XR
961                                               6/9/2010      Registered User
      meeting.ppt
      FW: Revised Slides and Forecast
962                                               6/9/2010      nikhil nayak              julie snyder
      Scenarios
      Revised 2010-06-11 NAMENDA XR
963                                               6/9/2010      Registered User
      meeting.ppt
964   Revised Slides and Forecast Scenarios       6/9/2010      nikhil nayak              charles ryan, eric agovino, william meury
      Revised 2010-06-11 NAMENDA XR
965                                               6/9/2010      Registered User
      meeting.ppt
      Revised 2010-06-11 NAMENDA XR
966                                               6/10/2010     Registered User
      meeting (2).ppt
      Revised 2010-06-11 NAMENDA XR
967                                               6/10/2010     Registered User
      meeting (2).ppt
      Revised 2010-06-11 NAMENDA XR
968                                               6/11/2010     Registered User
      meeting v.3.ppt
      FW: Revised slides/forecast for
969                                               6/11/2010     eric agovino              emily wolkoff
      Namenda XR meeting
      Final Namenda XR Launch Options 2010-
970                                               6/11/2010     Registered User
      06-11.ppt
      Revised 2010-06-11 NAMENDA XR
971                                               6/11/2010     Registered User
      meeting v.3.ppt
      RE: Revised slides/forecast for Namenda
972                                               6/11/2010     nikhil nayak              charles ryan, eric agovino, william meury
      XR meeting
      Final Namenda XR Launch Options 2010-
973                                               6/11/2010     Registered User
      06-11.ppt
974   RE: Namenda XR Press Release                6/17/2010     lisa bogutz               victoria farricker
975   RE: Namenda XR Draft Release                6/18/2010     julie snyder              eric agovino, frank murdolo, nikhil nayak
976   RE: Namenda XR Draft Release                6/18/2010     eric agovino              charles ryan, frank murdolo, julie snyder
977   RE: Namenda XR Press Release                6/18/2010     lisa bogutz               victoria farricker
978   RE: Namenda XR Draft Release                6/18/2010     frank murdolo             eric agovino, julie snyder, nikhil nayak


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                            Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                Document Date                Author                                All Recipients
979   RE: Namenda XR Draft Release                  6/18/2010      julie snyder              eric agovino, frank murdolo, nikhil nayak
                                                                                             eric agovino, julie snyder, june bray, nancy konnerth,
980   Namenda XR Press Release                      6/18/2010      frank murdolo
                                                                                             nikhil nayak
981   Re: Namenda XR Press Release                  6/18/2010      victoria farricker        lisa bogutz
982   RE: Namenda XR Draft Release                  6/18/2010      frank murdolo             eric agovino, julie snyder, nikhil nayak
983   RE: Namenda XR Draft Release                  6/18/2010      frank murdolo             charles ryan, eric agovino, julie snyder
984   Re: Namenda XR Press Release                  6/18/2010      victoria farricker        lisa bogutz
985   Re: Namenda XR Press Release                  6/18/2010      victoria farricker        lisa bogutz
986   FW: Namenda XR PI                             6/18/2010      june bray                 charles ryan, eric agovino
987   RE: Namenda XR Draft Release                  6/18/2010      frank murdolo             charles ryan, eric agovino, julie snyder
988   RE: Namenda XR Draft Release                  6/18/2010      eric agovino              charles ryan, frank murdolo, julie snyder
989   RE: Namenda XR Press Release                  6/18/2010      lisa bogutz               victoria farricker
                                                                                             allyson gage, antonia periclou, christine huelster, daniel
                                                                                             jia, enamul kabir, james demartino, james perhach, julie
      Drafted: Memantine Project Team
990                                                 6/21/2010      sandra arias              snyder, michael ciraolo, michael niebo, nikhil nayak,
      minutes for June
                                                                                             pradeep banerjee, puneet sachdev, robert carnevale,
                                                                                             robert imani, sandra arias, stephen graham, terry martin
991   MemMinutes_07June2010.doc                     6/21/2010      Sandra Arias
992   RE: Orchid Long Form Agreement                6/21/2010      kira schwartz             robert carnevale
993   FW: Orchid Long Form Agreement                6/23/2010      robert carnevale          rachel mears
994   Merz Deck.ppt                                 6/25/2010      no Author
995   Merz Deck (2).ppt                             6/28/2010      no Author
                                                                                             allyson gage, antonia periclou, brian carlson, christine
                                                                                             huelster, daniel jia, enamul kabir, james perhach, michael
      Drafted Agenda: Memantine Project
996                                                  7/9/2010      sandra arias              ciraolo, michael niebo, nikhil nayak, pradeep banerjee,
      Team Meeting (scheduled 7/12)
                                                                                             puneet sachdev, robert carnevale, robert imani, sandra
                                                                                             arias, stephen graham, terry martin
      FW: Forest Laboratories, Inc. et al. v.                                                charles ryan, f. dominic cerrito, gerald flattmann, melanie
997                                                  7/9/2010      eric agovino
      Mylan Pharmaceuticals Inc.                                                             rupert, patrick jochum




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                         Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.               Document Title               Document Date               Author                                All Recipients

       EXECUTION COPY Merz-Forest-Mylan
998                                               7/9/2010      no Author
       Settlement and License Agreement.doc
                                                                                          charles ryan, david solomon, frank murdolo, frank perier,
999    RE: DRAFT Namenda press release           7/15/2010      lawrence olanoff
                                                                                          herschel weinstein
1000   DRAFT Namenda press release               7/15/2010      eric agovino              charles ryan, patrick jochum
1001   DRAFT Namenda press release               7/15/2010      eric agovino              charles ryan
                                                                                          charles ryan, david solomon, frank murdolo, frank perier,
1002   RE: DRAFT Namenda press release           7/15/2010      lawrence olanoff
                                                                                          herschel weinstein
                                                                                          charles ryan, david solomon, frank murdolo, frank perier,
1003   RE: DRAFT Namenda press release           7/15/2010      lawrence olanoff
                                                                                          herschel weinstein
1004   RE: DRAFT Namenda press release           7/15/2010      charles ryan              eric agovino, herschel weinstein
1005   FW: DRAFT Namenda press release           7/15/2010      charles ryan              eric agovino, frank murdolo
                                                                                          david solomon, frank murdolo, frank perier, herschel
1006   RE: DRAFT Namenda press release           7/15/2010      charles ryan
                                                                                          weinstein, lawrence olanoff
                                                                                          charles ryan, david solomon, frank murdolo, frank perier,
1007   RE: DRAFT Namenda press release           7/15/2010      lawrence olanoff
                                                                                          herschel weinstein
1008   Re: DRAFT Namenda press release           7/15/2010      frank murdolo             charles ryan, eric agovino
                                                                                          david solomon, frank murdolo, frank perier, herschel
1009   RE: DRAFT Namenda press release           7/15/2010      charles ryan
                                                                                          weinstein, lawrence olanoff
                                                                                          david solomon, frank murdolo, frank perier, herschel
1010   DRAFT Namenda press release               7/15/2010      charles ryan
                                                                                          weinstein, lawrence olanoff
1011   RE: DRAFT Namenda press release           7/15/2010      herschel weinstein        charles ryan
1012   RE: DRAFT Namenda press release           7/17/2010      charles ryan              herschel weinstein
                                                                                          charles ryan, david solomon, frank murdolo, herschel
1013   Draft Mylan press release re: NAMENDA     7/19/2010      eric agovino
                                                                                          weinstein
       07.xx.10 Mylan Announces Settlement
1014                                             7/19/2010      MYLAN
       Agreement for Namenda v3.doc
                                                                                          charles ryan, david solomon, frank murdolo, herschel
1015   Draft Mylan press release re: NAMENDA     7/19/2010      eric agovino
                                                                                          weinstein
       07.xx.10 Mylan Announces Settlement
1016                                             7/19/2010      no Author
       Agreement for Namenda v3.doc


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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                Document Date               Author                                All Recipients
1017   RE: DRAFT Namenda press release             7/19/2010      eric agovino              charles ryan, patrick jochum
1018   RE: DRAFT Namenda press release             7/19/2010      eric agovino              charles ryan, patrick jochum
       07.xx.10 Mylan Announces Settlement
1019                                               7/19/2010      no Author
       Agreement for Namenda v3.doc
1020   Fw: AW: DRAFT Namenda press release         7/19/2010      eric agovino              charles ryan, frank murdolo

1021   Re: Namenda - Joint Stipulation to Stay     7/21/2010      eric agovino              melanie rupert
                                                                                            gerald flattmann, jack b.blumenfeld, maryellen noreika,
1022   RE: Namenda - Joint Stipulation to Stay     7/21/2010      eric agovino
                                                                                            melanie rupert
                                                                                            eric agovino, gerald flattmann, jack b.blumenfeld,
1023   Namenda - Joint Stipulation to Stay         7/21/2010      melanie rupert
                                                                                            maryellen noreika
                                                                                            gerald flattmann, jack b.blumenfeld, maryellen noreika,
1024   RE: Namenda - Joint Stipulation to Stay     7/21/2010      eric agovino
                                                                                            melanie rupert
1025   RE: Namenda - Joint Stipulation to Stay     7/21/2010      melanie rupert            eric agovino
                                                                                            eric agovino, gerald flattmann, jack blumenfeld, melanie
1026   RE: Namenda - Joint Stipulation to Stay     7/21/2010      maryellen noreika
                                                                                            rupert
       EXECUTED Forest-Merz-Mylan
1027                                               7/21/2010      no Author
       Settlement and License Agreement.pdf
                                                                                            eric agovino, gerald flattmann, maryellen noreika,
1028   RE: Namenda - Joint Stipulation to Stay     7/21/2010      jack blumenfeld
                                                                                            melanie rupert
1029   Re: Namenda - Joint Stipulation to Stay     7/21/2010      eric agovino              melanie rupert

1030   RE: Namenda - Joint Stipulation to Stay     7/21/2010      eric agovino              melanie rupert
                                                                                            david solomon, elaine hochberg, frank murdolo, frank
1031   no Title                                    7/22/2010      charles ryan              perier, herschel weinstein, howard solomon, lawrence
                                                                                            olanoff, marco taglietti, william meury




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                           Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                  Document Date              Author                                 All Recipients

       EXECUTED Forest-Merz-Mylan
1032                                                 7/22/2010     no Author
       Settlement and License Agreement.pdf
1033   FW: Namenda press release                     7/22/2010     eric agovino                charles ryan, frank murdolo
1034   FW: Namenda XR Press Release                  7/22/2010     julie snyder                blair kress
                                                                                               charles ryan, david solomon, elaine hochberg, frank
1035   no Title                                      7/22/2010     marco taglietti             murdolo, frank perier, herschel weinstein, howard
                                                                                               solomon, lawrence olanoff, william meury
       EXECUTED Forest-Merz-Mylan
1036                                                 7/22/2010     no Author
       Settlement and License Agreement.pdf
1037   Re: Namenda press release                     7/22/2010     frank murdolo               charles ryan, eric agovino
1038   Re: NAMENDA Patent Litigation Settled         7/22/2010     rachel mears                david solomon
1039   RE: NAMENDA Patent Litigation Settled         7/22/2010     charles ryan                marco taglietti
1040   FW: NAMENDA Patent Litigation Settled         7/22/2010     david solomon               rachel mears
       Letter from DRL's counsel re Mylan
1041                                                 7/27/2010     eric agovino                charles ryan
       agreement
       Letter from DRL's counsel re Mylan
1042                                                 7/27/2010     eric agovino                charles ryan
       agreement
       DRAFT letter to DRL counsel re Mylan
1043                                                 7/27/2010     eric agovino                charles ryan, peter armenio
       settlement agreement
       2010-07-27 Letter from Agovino to
1044   Miller re Mylan Settlement                    7/27/2010     Forest Laboratories, Inc.
       Agreement.doc
       FW: Emailing: Litigation Status Report
       v.2 4.30.09.doc, Litigation Status Report
       v.2 8.9.07.DOC, LITIGATION STATUS
1045   REPORT-AUGUST 11 2008.doc, Litigation         7/28/2010     eric agovino                john berringer
       Status Report 3.1.07.doc, Litigation
       Status Report 3.2.09.doc, Litigation
       Status Report 3.3.08.do


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                            Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                Document Title                  Document Date              Author                                All Recipients
1046   Litigation Status Report 5.3.07.doc           7/28/2010     no Author
1047   Litigation Status Report 3.1.07.doc           7/28/2010     no Author
1048   Litigation Status Report v.2 8.9.07.DOC       7/28/2010     STOKES
1049   Litigation Status Report 8.8.07.DOC           7/28/2010     STOKES
       Litigation Status Report December 7,
1050                                                 7/28/2010     no Author
       2009 v.2.doc
1051   Litigation Status Report 3.2.09.doc           7/28/2010     no Author
       LITIGATION STATUS REPORT-AUGUST 11
1052                                                 7/28/2010     VENAGLIA
       2008.doc
1053   Litigation Status Report 8.6.09.doc           7/28/2010     no Author
1054   Litigation Status Report 3.3.08.doc           7/28/2010     VENAGLIA
1055   Litigation Status Report 12.4.06.doc          7/28/2010     no Author
       LITIGATION STATUS REPORT- DECEMBER
1056                                                 7/28/2010     VENAGLIA
       8, 2008.doc
1057   Litigation Status Report 5.12.08.doc          7/28/2010     VENAGLIA
1058   Litigation Status Report 4.30.09.doc          7/28/2010     no Author
1059   Litigation Status Report v.2 4.30.09.doc      7/28/2010     no Author
       Emailing: Litigation Status Report v.2
       4.30.09.doc, Litigation Status Report v.2
       8.9.07.DOC, LITIGATION STATUS REPORT-
1060   AUGUST 11 2008.doc, Litigation Status         7/28/2010     joanne mentz              eric agovino
       Report 3.1.07.doc, Litigation Status
       Report 3.2.09.doc, Litigation Status
       Report 3.3.08.doc, L
1061   Litigation Status Report 3.3.08.doc           7/28/2010     VENAGLIA
       LITIGATION STATUS REPORT-AUGUST 11
1062                                                 7/28/2010     VENAGLIA
       2008.doc
1063   Litigation Status Report v.2 4.30.09.doc      7/28/2010     no Author
1064   Litigation Status Report 4.30.09.doc          7/28/2010     no Author
1065   Litigation Status Report 5.12.08.doc          7/28/2010     VENAGLIA


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                            Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                 Document Title               Document Date                Author                                All Recipients
       LITIGATION STATUS REPORT- DECEMBER
1066                                                7/28/2010      VENAGLIA
       8, 2008.doc
1067   Litigation Status Report 3.2.09.doc          7/28/2010      no Author
1068   MemMinutes_July2010.pdf                      7/29/2010      no Author
                                                                                             #corporate project team meeting minutes cc list, allyson
                                                                                             gage, antonia periclou, christine huelster, daniel jia,
       Memantine Project Team Meeting                                                        enamul kabir, kathleen waldron, michael ciraolo, michael
1069                                                7/29/2010      sandra arias
       Minutes (July)                                                                        niebo, nikhil nayak, pradeep banerjee, puneet sachdev,
                                                                                             robert carnevale, robert imani, sandra arias, stephen
                                                                                             graham, terry martin
1070   MemMinutes_July2010.pdf                      7/29/2010      no Author
1071   MemMinutes_July2010.pdf                      7/29/2010      no Author
       forest10qjun10 diclosure committee
1072                                                7/30/2010      Forest Labs
       draft.doc
                                                                                             allyson gage, antonia periclou, christine huelster, daniel
                                                                                             jia, enamul kabir, kathleen waldron, michael ciraolo,
       Drafted Agenda: Memantine Project
1073                                                7/30/2010      sandra arias              michael niebo, nikhil nayak, pradeep banerjee, puneet
       Team Meeting (scheduled 8/2)
                                                                                             sachdev, robert carnevale, robert imani, sandra arias,
                                                                                             stephen graham, terry martin
1074   MemMinutes_02August2010.doc                  7/30/2010      Sandra Arias
1075   Fwd: June form 10-q                          8/1/2010       elaine hochberg           david hochberg
       forest10qjun10 diclosure committee
1076                                                 8/1/2010      Forest Labs
       draft.doc
                                                                                             elaine hochberg, frank perier, lawrence olanoff, marco
1077   6/30/10 Form 10-Q/Legal Proceedings           8/3/2010      joanne mentz
                                                                                             taglietti, rita weinberger
       Litigation Status Report for 8.9.10 v.2
1078                                                 8/5/2010      FBROWN
       8.5.10.doc
       FW: 2010-08-10 Armenio to Miller re
1079                                                8/10/2010      peter armenio             charles ryan, eric agovino
       DRL settlement agreement
       3622097_2010-08-10 Armenio to Miller
1080                                                8/10/2010      no Author
       re DRL settlement agreement.DOC



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                            Ex. 2 - Documents likely to reflect Forest's subjective state of mind concerning patent issues


No.                 Document Title                  Document Date              Author                               All Recipients
       Re: Fw: Namenda - Mylan Stipulation of
1081                                                  8/25/2010     eric agovino             melanie rupert
       Dismissal
                                                                                             charles ryan, eric agovino, eric stops, f. dominic cerrito,
       Namenda - Mylan Stipulation of
1082                                                  8/25/2010     melanie rupert           gerald flattmann, jack b.blumenfeld, maryellen noreika,
       Dismissal
                                                                                             patrick jochum
1083   Mylan Stipulation of Dismissal.pdf             8/25/2010     no Author
       Re: Fw: Namenda - Mylan Stipulation of
1084                                                  8/25/2010     eric agovino             melanie rupert
       Dismissal
       Re: Fw: Namenda - Mylan Stipulation of
1085                                                  8/25/2010     melanie rupert           eric agovino
       Dismissal
       Fw: Namenda - Mylan Stipulation of
1086                                                  8/25/2010     eric agovino             charles ryan, melanie rupert, michael sohn
       Dismissal
                                                                                             charles ryan, eric agovino, eric stops, f. dominic cerrito,
       Namenda - Mylan Stipulation of
1087                                                  8/25/2010     melanie rupert           gerald flattmann, jack b.blumenfeld, maryellen noreika,
       Dismissal
                                                                                             patrick jochum
1088   Mylan Stipulation of Dismissal.pdf             8/25/2010     no Author
       Fw: Namenda - Mylan Stipulation of
1089                                                  8/25/2010     eric agovino             melanie rupert
       Dismissal
       Fw: Namenda - Mylan Stipulation of
1090                                                  8/25/2010     eric agovino             melanie rupert
       Dismissal
       Fw: Namenda - Mylan Stipulation of
1091                                                  8/25/2010     eric agovino             charles ryan, melanie rupert, michael sohn
       Dismissal
1092   Mylan Stipulation of Dismissal.pdf             8/25/2010     no Author
       Re: Namenda - Mylan Stipulation of
1093                                                  8/25/2010     michael sohn             eric agovino
       Dismissal
       Fw: Forest / Cobalt 08-21 - Stipulation of
                                                                                             charles ryan, eric agovino, gerald flattmann, patrick
1094   Dismissal (Mylan) (D.I. 498) and Ltr to        8/26/2010     melanie rupert
                                                                                             jochum
       Judge Sleet (D.I. 499)
       Letter to JPML Panel Withdrawing                                                      charles ryan, eric agovino, eric stops, f. dominic cerrito,
1095                                                  1/19/2010     andres sawicki
       Motion to Consolidate Namenda Actions                                                 gerald flattmann, melanie rupert, patrick jochum




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